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                 EXHIBIT 13
                  PART 1
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                                                                           Page 1
 1               UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF FLORIDA
 2
 3   JANE DOE NO. 2,                         Case No: 08-CV-80119
 4         Plaintiff,
 5   Vs
 6   JEFFREY EPSTEIN,
 7         Defendant.
     ___________________/
 8
     JANE DOE NO. 3,                         Case NO: 08-CV-80232
 9
            Plaintiff,
10   Vs
11   JEFFREY EPSTEIN,
12         Defendant.
     ___________________/
13
     JANE DOE NO. 4,                         Case No: 08-CV-80380
14
            Plaintiff,
15
     Vs.
16
     JEFFREY EPSTEIN,
17
           Defendant.
18   ___________________/
19   JANE DOE NO. 5,                         Case No: 08-CV-80381
20         Plaintiff,
21   Vs
22   JEFFREY EPSTEIN,
23         Defendant.
     ___________________/
24
25


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                                                                     Page 2                                                                    Page 4
1    JANE DOE NO. 6,      Case No: 08-CV-80994                                 1             VIDEOTAPED
2        Plaintiff,                                                            2             DEPOSITION
3    Vs                                                                        3                 of
4    JEFFREY EPSTEIN,                                                          4             ALFREDO RODRIGUEZ
5        Defendant.                                                            5
     ___________________/                                                      6       taken on behalf of the Plaintiffs pursuant
6                                                                              7   to a Re-Notice of Taking Deposition (Duces Tecum)
     JANE DOE NO. 7,             Case No. 08-CV-80993                          8
7                                                                              9                   ---
          Plaintiff,                                                          10   APPEARANCES:
8                                                                             11
     Vs                                                                                      MERMELSTEIN & HOROWITZ, P.A.
9                                                                             12             BY: STUART MERMELSTEIN, ESQ.
     JEFFREY EPSTEIN,                                                                        18205 Biscayne Boulevard
10
                                                                              13             Suite 2218
         Defendant.
                                                                                             Miami, Florida 33160
11   ___________________/
                                                                              14             Attorney for Jane Doe 2, 3, 4, 5,
12   C.M.A.,          Case No: 08-CV-80811
                                                                                             6, and 7.
13       Plaintiff,
                                                                              15
14   Vs
15   JEFFREY EPSTEIN,
                                                                              16             ROTHSTEIN ROSENFELDT ADLER
16       Defendant.                                                                          BY: BRAD J. EDWARDS, ESQ., and
     ___________________/                                                     17             CARA HOLMES, ESQ.
17                                                                                           Las Olas City Centre
     JANE DOE,                 Case No: 08-CV-80893                           18             Suite 1650
18                                                                                           401 East Las Olas Boulevard
          Plaintiff,                                                          19             Fort Lauderdale, Florida 33301
19                                                                                           Attorney for Jane Doe and E.W.
     Vs                                                                       20             And L.M.
20                                                                            21
     JEFFREY EPSTEIN,                                                                        PODHURST ORSECK
21                                                                            22             BY: KATHERINE W. EZELL
        Defendant.                                                                           25 West Flagler Street
22   ___________________/                                                     23             Suite 800
23                                                                                           Miami, Florida 33130
24                                                                            24             Attorney for Jane Doe 101 and 102.
25                                                                            25


                                                                     Page 3                                                                    Page 5
1    JANE DOE NO. II,     Case No: 08-CV-80469                                1
2        Plaintiff,                                                                APPEARANCES:
3    Vs                                                                       2
                                                                              3             LEOPOLD-KUVIN
4    JEFFREY EPSTEIN,
                                                                                            ADAM J. LANGINO, ESQ.
5        Defendant.                                                           4             2925 PGA Boulevard
     ___________________/                                                                   Suite 200
6                                                                             5             Palm Beach Gardens, Florida 33410
     JANE DOE NO. 101,               Case No: 09-CV-80591                                   Attorney for B.B.
7                                                                             6
           Plaintiff,                                                         7             RICHARD WILLITS, ESQ.
8                                                                                           2290 10th Avenue North
     Vs                                                                       8             Suite 404
                                                                                            Lake Worth, Florida 33461
9
                                                                               9            Attorney for C.M.A.
     JEFFREY EPSTEIN,                                                         10
10                                                                                          BURMAN, CRITTON, LUTTIER &
         Defendant.                                                           11            COLEMAN, LLP
11   ___________________/                                                                   BY: ROBERT CRITTON, ESQ.
12   JANE DOE NO. 102,               Case No: 09-CV-80656                     12            515 North Flagler Drive
13       Plaintiff,                                                                         Suite 400
14   Vs                                                                       13            West Palm Beach, Florida 33401
                                                                                            Attorney for Jeffrey Epstein.
15   JEFFREY EPSTEIN,
                                                                              14
16       Defendant.                                                           15
     ___________________/                                                     16
17                                                                                 ALSO PRESENT:
18                                                                            17
19                                                                                   JOE LANGSAM, VIDEOGRAPHER
20                     1031 Ives Dairy Road                                   18
                       Suite 228                                              19
                                                                                                  - - -
21                     North Miami, Florida
                                                                              20
                       July 29, 2009
                                                                              21
22                     11:00 a.m. to 5:30 p.m.                                22
23                                                                            23
24                                                                            24
25                                                                            25


                                                                                                                                       2 (Pages 2 to 5)
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                                                      Page 6                                                Page 8
1              INDEX OF EXAMINATION                             1    Doe right here on the copy you gave me. I'm
2                                                               2    missing which Jane Doe this is.
     WITNESS                DIRECT   CROSS
3
                                                                3       They're all different case numbers. Do
     ALFREDO RODRIGUEZ                                          4    you want me to go through each case number?
4                                                               5       MR. CRITTON: I'm going to note my
     (By Mr. Mermelstein)     12                                6    objection. Obviously if this deposition
5                                                               7    gets played -- not obviously, I'm going to
     (By Mr. Edwards)        157
6
                                                                8    object to the litany of each one so I don't
     (By Mr. Langino)        260                                9    know how we can separate it out. Maybe if
 7                                                             10    and when at the time of trial and depending
 8                                                             11    on how the Court determines what comes in
 9                                                             12    and what doesn't with regard to the
10             INDEX OF EXHIBITS
11   EXHIBITS                 PAGE
                                                               13    consolidated aspects of this. I have no
12   1 Message pad               72                            14    great idea other than just saying Jane Doe
13   2 Documents               115                             15    versus Epstein, et al, or something like
14                                                             16    that, or Jane Doe, et al.
15                                                             17       MS. EZELL: Couldn't we just say and
16
17
                                                               18    those cases which have been consolidated
18                                                             19    with it for Discovery purposes?
19                                                             20       MR. EDWARDS: Although there is cases
20                                                             21    here that have cross noticed this from state
21                                                             22    court that haven't been consolidated so that
22
23
                                                               23    may not work. You may have to read them
24                                                             24    all, if it works out your way that will just
25                                                             25    get edited out, at least he will have read

                                                      Page 7                                                Page 9
 1   Deposition taken before MICHELLE PAYNE, Court              1    that caption, every caption. Right? Is
 2   Reporter and Notary Public in and for the State of         2    there a better suggestion?
 3   Florida at Large, in the above cause.                      3       MR. CRITTON: No. There may be a better
 4                     - - -                                    4    suggestion if he starts this is such and
 5          THE VIDEOGRAPHER: This is the case of               5    such day, it's the deposition of Mr.
 6        Jane Doe No. 2, plaintiff, versus Jeffrey             6    Rodriguez in the case such and such, and we
 7        Epstein, defendant. Jane Doe No. 3,                   7    can almost fill it in depending on which
 8        plaintiff, versus Jeffrey Epstein,                    8    tape it goes, how it fills in, at least
 9        defendant. Jane Doe No. 4, plaintiff,                 9    we'll have the context of the first and
10        versus Jeffrey Epstein, defendant. And Jane          10    depending on whether the Judge reads it in
11        Doe No. 5, plaintiff, versus Jeffrey                 11    from a consolidated or they all come
12        Epstein, defendant. Jane Doe No. 6,                  12    related, I have no great idea.
13        plaintiff, versus Jeffrey Epstein,                   13       MR. EDWARDS: I was thinking if he read
14        defendant. Jane Doe No. 7, plaintiff,                14    every one of them and it was the seventh in
15        versus Jeffrey Epstein, defendant. CMA,              15    line then you just would edit it so you
16        plaintiff, versus Jeffrey Epstein,                   16    would only read that one.
17        defendant. And Jane Doe, plaintiff, versus           17       MR. CRITTON: I'm okay with that too.
18        Jeffrey Epstein, et al, defendant. And Jane          18       THE VIDEOGRAPHER: On page number three
19        Doe -- is there a shorter thing that we can          19    there is something missing on the top here.
20        do here? It's also missing this one right            20       Do you want me to read each case number
21        here.                                                21    separately?
22          MR. MERMELSTEIN: Do we have a problem              22       MR. MERMELSTEIN: I don't think it's
23        with saying Jane Doe 2 and the Epstein and           23    necessary.
24        related cases?                                       24       MR. EDWARDS: I don't think it's
25          THE VIDEOGRAPHER: I'm missing this Jane            25    necessary either.

                                                                                                    3 (Pages 6 to 9)
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                                             Page 10                                                  Page 12
 1     THE VIDEOGRAPHER: So just go through             1       Jeffrey Epstein.
 2   just the names.                                    2         MR. WILLITS: Richard Willits on behalf
 3     MR. MERMELSTEIN: That's sufficient. And          3       of plaintiff C.M.A.
 4   there is a cross notice for one of the state       4         MR. EDWARDS: And Brad Edwards on behalf
 5   cases?                                             5       of plaintiffs E.W. and L.M.
 6     MR. LANGINO: That would be our case.             6   Thereupon,
 7     MR. MERMELSTEIN: So he's got that                7                ALFREDO RODRIGUEZ,
 8   notice? Off the record.                            8   having been first duly sworn or affirmed, was
 9     (Thereupon, a discussion was held off the        9   examined and testified as follows:
10   record.)                                          10                DIRECT EXAMINATION
11     THE VIDEOGRAPHER: This is the case of           11   BY MR. MERMELSTEIN:
12   Jane Doe No. 2, plaintiff, versus Jeffrey         12      Q. Can you state your full name for the
13   Epstein, defendant. Jane Doe No. 3,               13   record, please?
14   plaintiff, versus Jeffrey Epstein,                14      A. My name is Alfredo Rodriguez.
15   defendant. Jane Doe No. 4, plaintiff,             15      Q. And where do you live?
16   versus Jeffrey Epstein, defendant. Jane Doe       16      A. I live in Kendall, 11349 Southwest 86
17   No. 5, plaintiff, versus Jeffrey Epstein,         17   Lane, Miami, Florida 33173.
18   defendant. Jane Doe No. 6, plaintiff,             18      Q. Are you currently employed?
19   versus Jeffrey Epstein, defendant. Jane Doe       19      A. No.
20   No. 7, plaintiff, versus Jeffrey Epstein,         20      Q. Okay. When was the last time you were
21   defendant. CMA, plaintiff, versus Jeffrey         21   employed?
22   Epstein, defendant. Jane Doe, plaintiff,          22      A. December of 2008.
23   versus Jeffrey Epstein, et al, defendant.         23      Q. Was there a time you were employed in
24   Jane Doe 3, plaintiff, versus Jeffrey             24   Palm Beach, Florida?
25   Epstein, et al, defendant. Jane Doe No.           25      A. Yes, I was.

                                             Page 11                                                  Page 13
 1   101, plaintiff, versus Jeffrey Epstein,            1      Q. When was that?
 2   defendant. Jane Doe No. 102, plaintiff,            2      A. I began on September of 2004.
 3   versus Jeffrey Epstein defendant. B.B.,            3      Q. And where were you employed?
 4   plaintiff, versus Jeffrey Epstein,                 4      A. I work -- well, I have several employers
 5   defendant.                                         5   in Palm Beach. One of them was Jeffrey Epstein.
 6      This is in the Circuit Court of the 15th        6      Q. By several employers in Palm Beach you
 7   Judicial Circuit in and for Palm Beach             7   mean --
 8   County, Florida.                                   8      A. Different employers.
 9      This is the deposition of Alfredo               9      Q. At the same time?
10   Rodriguez. Today is July the 29th, starting       10      A. No, different times. From 2005 to 2006 I
11   time -- the year 2009, starting time              11   was employed by Dana Hammond.
12   approximately 11:16 a.m.                          12      Q. Donna Hammond?
13      Will attorneys please state their              13      A. D-A-N-A, Hammond. Or Aimes is her single
14   appearance?                                       14   name. Dana Aimes Hammond.
15      MR. MERMELSTEIN: Stuart Mermelstein for        15      Q. Dana Aimes Hammond?
16   plaintiffs Jane Doe 2, Jane Doe 3, Jane Doe       16      A. Yeah.
17   4, Jane Doe 5, and Jane Doe 6, and Jane Doe       17      Q. That was in Palm Beach?
18   7.                                                18      A. Yes.
19      MR. EDWARDS: Brad Edwards for plaintiff        19      Q. And in September 2004 you were employed
20   Jane Doe.                                         20   by whom?
21      MR. LANGINO: Adam Langino on behalf of         21      A. Jeffrey Epstein.
22   plaintiff, B.B.                                   22      Q. Did Mr. Epstein employ you as an
23      MS. EZELL: Cathy Ezell on behalf of Jane       23   individual or through any business or corporate
24   Doe 101 and 102.                                  24   entity?
25      MR. CRITTON: Bob Critton on behalf of          25      A. As an individual.

                                                                                            4 (Pages 10 to 13)
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                                                 Page 14                                                    Page 16
 1      Q. And what was your position with Jeffrey          1      A. I moved to Florida in 1996.
 2   Epstein?                                               2      Q. Between 1996 and 2006 when you started to
 3      A. I was the household manager.                     3   work for Mr. Epstein did you have household
 4      Q. And what does the household manager do?          4   management jobs in that period?
 5      A. Oversees all aspects of the maintenance          5      A. On and off, yes, in Fisher Island,
 6   of the estate, payroll of the gardeners,               6   Florida.
 7   scheduling staff and security, food, coordinating      7      Q. Fisher Island?
 8   activities with the chef, and pilots, etc.             8      A. Yeah.
 9      Q. I'm sorry, what was the last one?                9      Q. I take it that Barbara Goldberg
10      A. Activities with the pilots.                     10   specializes in placing employees for wealthy
11      Q. Oh pilots.                                      11   households?
12      A. Yes.                                            12      A. Yes.
13      Q. What kind of activities do you coordinate       13      Q. Did you know Mr. Epstein before you began
14   with the pilots?                                      14   to work for him?
15      A. What time Mr. Epstein will arrive, how          15      A. No.
16   many cars will I need and so on and so forth.         16      Q. Did you interview with him?
17      Q. Was there a particular place that you           17      A. Yes, I did.
18   were employed?                                        18      Q. And what did the interview entail?
19      A. Yeah, I was employed by 358 El Brillo           19      A. He asked me what I did before, and he
20   Way.                                                  20   wanted to know where my capabilities of running
21      Q. Did you have any other duties other than        21   his estate, and what was my salary potentials, we
22   what you've mentioned?                                22   discuss the time he was going to be in the Island,
23      A. Driving. Well, I used to prepare coffee         23   et cetera.
24   for Mr. Epstein every morning, 6:30 in the            24      Q. What did he tell you at that time as to
25   morning. Other than that is little problems           25   the time he was going to be in the Island?

                                                 Page 15                                                    Page 17
 1   arise, you know, the maintenance, the                  1      A. He will say he will be traveling on and
 2   electricians, I have to deal with the contractors      2   off, and like when he's in the Island he needs a
 3   on a daily basis.                                      3   lot of attention but when he's off I will be more
 4      Q. Now, what is located at 358 El Brillo Way        4   relaxed.
 5   in Palm Beach?                                         5          MR. EDWARDS: I'm sorry, Stuart, I'm
 6      A. It's called the estate section of Palm           6        missing some of this just because the noise
 7   Beach. It's off North Ocean Boulevard.                 7        on the other end of Richard's phone.
 8      Q. So is it a single-family residence?              8          Richard, do you have a mute or anything?
 9      A. Yes, it is.                                      9          MR. WILLITS: I'm sorry?
10      Q. When you say you were a household               10          MR. EDWARDS: Do you have a mute or
11   manager, you were managing that residence?            11        anything? We're getting a lot of noise
12      A. Yes, sir.                                       12        coming out of the phone.
13      Q. And how did you come about obtaining this       13          MR. WILLITS: I'm sorry.
14   position as household manager?                        14          THE VIDEOGRAPHER: Do you want to go off
15      A. Through an employment agency.                   15        the record?
16      Q. Do you know which employment agency it          16          MR. EDWARDS: Sure.
17   was?                                                  17          (Thereupon, a discussion was held off the
18      A. Barbara Goldberg. She has an agency             18   record.)
19   called Regal Domestics.                               19          THE VIDEOGRAPHER: We're back on the
20      Q. Had you worked in household services            20        record.
21   before September of '04?                              21   BY MR. MERMELSTEIN:
22      A. Yes.                                            22      Q. So Mr. Epstein told you that when he
23      Q. Did you work in Palm Beach before that?         23   wasn't there you would be more relaxed but when he
24      A. Long Island.                                    24   was there it would be more intense, I assume?
25      Q. When did you move from Long Island?             25      A. Yes.

                                                                                                  5 (Pages 14 to 17)
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                                                 Page 18                                                    Page 20
 1      Q. And how often did he indicate he would be        1      A. We have guests that particular day and
 2   in Palm Beach?                                         2   arrange, coordinate with the chef if I have to go
 3      A. He will say once a month, like two weeks         3   buy the groceries, gas the cars. That was a
 4   out of the month, something like that. This is a       4   routine everyday. Relay instructions to the
 5   long time ago so I'm trying to remember the words.     5   housekeepers and the gardeners and the pool
 6      Q. That's all right. You can only answer to         6   people. Arrange meals. This was done by the chef
 7   the extent that you recall the information that's      7   but I was trying to be sure Mr. Epstein was fed at
 8   asked for in the question.                             8   his lunch time. And then of course through the
 9          By the way, have you had your deposition        9   day he will give me instructions.
10   taken before?                                         10      Q. So he would give you instructions himself
11      A. I was subpoena by the State Attorney in         11   personally?
12   Palm Beach but not here.                              12      A. Secretary.
13      Q. Did you give a transcribed statement to         13      Q. Okay. Now, let's go through who the
14   the State Attorney?                                   14   household staff was at the time that you started.
15      A. I believe it was recorded. I don't know         15          Who would you say worked under your
16   with this method but it was recorded.                 16   supervision as the household manager?
17      Q. With a tape machine?                            17      A. It was a Filipino lady by the name of
18      A. Yeah.                                           18   Louella. I don't recall her last name.
19      Q. Now, after you were interviewed did he          19      Q. Louella Rabuyo?
20   give you the job on the spot or did he call you       20      A. Yes, exactly, yes.
21   afterward?                                            21      Q. What did she do?
22      A. He hired me on the spot.                        22      A. She would be the housekeeper in charge of
23      Q. What was your salary?                           23   the laundry, cleaning the household, everything
24      A. 55,000.                                         24   inside the house.
25      Q. And when did you start to work for him?         25      Q. And who else?

                                                 Page 19                                                    Page 21
 1      A. I believe it was the last week of August         1      A. Jerome. Jerome Pierre was the gardener.
 2   of 2004.                                               2      Q. And he was full-time?
 3      Q. Now, I take it your day to day job duties        3      A. Full-time, yes.
 4   were different from when he was there to when he       4      Q. Who else?
 5   wasn't there. Correct?                                 5      A. And then we have a young lady who used to
 6      A. Yes.                                             6   take care of the pool but I don't recall her name
 7      Q. Let's take a day when he's there. What           7   right now. She used to come three times a week,
 8   would your -- what would be your routine, what         8   sometimes four times. Most every day we used to
 9   would your day entail?                                 9   have John Cassidy air conditioner came to the
10      A. Well, coffee at 6:30 in the morning.            10   house because it's hot and it's humid. What
11   Check the cars, you know, see -- he like the          11   contractor that's almost on a daily basis there.
12   cabana to be in his computer, I would be sure that    12      Q. Because there was problems with the air
13   the cabana was clean and, you know, tidy.             13   conditioner?
14      Q. I'm sorry, what does that have to do with       14      A. Well, the house is big, and all the house
15   the computer?                                         15   in Palm Beach need constant attention.
16      A. He would like to work in the cabana so I        16      Q. Okay.
17   would pay attention to that.                          17      A. That's the full -- and the chef, David, I
18      Q. So he would go to the computer in the           18   can't remember his last name.
19   cabana and you would make sure that the cabana was    19      Q. Was it Mullen?
20   clean?                                                20      A. I don't recall, sir, right now.
21      A. Yes, sir.                                       21      Q. Muller. But his first name was David?
22      Q. So he had coffee at 6:30 a.m. Did he            22      A. David, yes.
23   start working immediately after that?                 23      Q. Was there a butler as well?
24      A. Yes.                                            24      A. Well, I used to double as household
25      Q. Continue. What did you do then?                 25   manager slash butler.

                                                                                                  6 (Pages 18 to 21)
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                                                  Page 22                                                    Page 24
 1       Q. Was there a Michael Liffman that was             1   garlic, maybe something like that, you know,
 2   hired as a butler at some point?                        2   personal things.
 3       A. That was before me.                              3       Q. You mentioned Ms. Maxwell?
 4       Q. Okay. Who was the household manager              4       A. Yes.
 5   before you?                                             5       Q. Who is she?
 6       A. I understand there were several in one           6       A. She was her companion.
 7   year. There was Mike Friedman, there is Joe             7       Q. Whose companion?
 8   Alessi. There was a couple of Filipino girls --         8       A. Mr. Epstein.
 9   no, they were from Bangladesh. I can't remember.        9       Q. By companion what do you mean?
10   I used to send his -- I used to forward his mail       10       A. Well, in the beginning I assume they were
11   to Maryland but I can't recall right now, sir.         11   husband and wife but, you know, they were not
12       Q. Okay. And at the time you took the job          12   married, but I treated her as such. Mrs. Maxwell
13   it was open, he didn't have anyone in that             13   was like the lady of the house.
14   position. Is that correct?                             14       Q. Okay. So it was your understanding they
15       A. What I find is the staff from his house         15   were in a romantic relationship?
16   in Manhattan they gave me the briefing on what he      16           MR. CRITTON: Form.
17   likes and what he doesn't like. Belinda Retta          17           THE WITNESS: Something like that.
18   from Mrs. Maxwell, they were due to give me an         18   BY MR. MERMELSTEIN:
19   inside look because it was too much to learn in        19       Q. But they just weren't married?
20   48 hours so they were there handling the house         20       A. No, sir.
21   before me, so there were two couples.                  21       Q. So you took instructions from Ms. Maxwell
22       Q. Two couples. All right. Let's walk              22   as well as Mr. Epstein?
23   through that. So the first day you come to work        23       A. She gave me the instructions of how to
24   you're basically you received some training?           24   run the household directly. In other words, she
25       A. Exactly.                                        25   likes the towels, the sheets and all that so I

                                                  Page 23                                                    Page 25
 1      Q. And tell us who provided that training?           1   give the instructions to Louella how to proceed
 2      A. Joe-Joe is his nickname but he runs Mr.           2   with the cleaning and the upkeep of the house.
 3   Epstein's estate in Manhattan as well as his wife.      3      Q. You went through the employees who worked
 4   They were very nice people telling me because you       4   under you as household manager. Who would you say
 5   have to understand, there is a lot of specifics,        5   was your direct supervisor, was it both
 6   where to park the car, here and there, if the           6   Ms. Maxwell and Mr. Epstein?
 7   plane lands here you have to park the Mercedes,         7      A. Mrs. Maxwell.
 8   you know, very specific details, and he gave me an      8      Q. Was your supervisor?
 9   inside of all of that.                                  9      A. Yes, sir.
10      Q. Okay. So you would pick up Mr. Epstein           10      Q. I think I interrupted you. You were
11   at the airport?                                        11   going through the daily routine, and I'm not sure
12      A. Yes.                                             12   you had completed going through what you would do
13      Q. And how long did this training last?             13   in a day.
14      A. Two or three days.                               14      A. Until noon we have all the -- we knew
15      Q. Okay. And it was Joe-Joe and his wife?           15   that the food that was going to be served for
16      A. Joe-Joe, yes.                                    16   lunch and dinner. And then in the afternoon it
17      Q. You don't remember the last name or full         17   was open to shopping, maybe have to drive him to
18   names?                                                 18   the airport to pick up somebody, or answering the
19      A. No, sir.                                         19   phones.
20      Q. Anything else you can remember that you          20      Q. Was there a procedure or protocol for
21   were told specifically regarding his preferences?      21   answering the phones?
22      A. He likes Columbian coffee, that's the            22      A. Yes, there was.
23   only type of coffee he drinks, and it was shipped      23      Q. And what was that?
24   from New York from Balducci's, stuff like that.        24      A. I couldn't relay the message directly to
25   Where to buy the groceries. And he's allergic to       25   Mr. Epstein but take message on a piece of paper

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 1   with a copy.                                            1      A. Yes. Sometimes very short notice but,
 2      Q. Were you the only one who was allowed to          2   yes, I was.
 3   answer the phone?                                       3      Q. So that varied?
 4      A. Yes.                                              4      A. Yes.
 5      Q. I'm sorry, what would you do --                   5      Q. Who would give you that notice?
 6      A. I would leave it on the counter next to           6      A. Mrs. Maxwell or Sarah or Larry, the
 7   the kitchen so when I find that piece all crumbled      7   pilot.
 8   I knew that Mr. Epstein saw the message, so we          8      Q. And then you would drive to pick them up
 9   communicated like that.                                 9   at the airport?
10      Q. Now, you mentioned Mr. Epstein would give        10      A. Yes.
11   you instructions during the course of the day.         11      Q. And who traveled with him?
12      A. Through his assistant.                           12      A. The three pilots and some guests.
13      Q. And his assistant was whom?                      13      Q. What do you mean by guests?
14      A. Sarah Kellen.                                    14      A. He will have some friends from Harvard,
15      Q. But you didn't view her as your                  15   he will have -- well, very important people that,
16   supervisor?                                            16   you know, friends, acquaintances from New York or
17      A. She take orders from Mrs. Maxwell but she        17   Europe because I was just told the number of
18   will tell me, Alfredo, we need to buy this, we         18   people was coming on the plane.
19   need to do this, and so and so was coming. I           19      Q. Were there people who were employed by
20   couldn't talk directly to Mr. Epstein.                 20   him who came regularly?
21      Q. Okay. So any communications from Mr.             21      A. Yes.
22   Epstein always came through Ms. Kellen?                22      Q. And who would they be?
23      A. Or from the office in New York. Lesley,          23      A. Like I said, they were the pilots, Larry
24   his secretary, or somebody else, the comptroller,      24   Bisosky, George, and I don't remember the flight
25   the architect, any lawyer.                             25   engineer, and he will have two girlfriends.

                                                  Page 27                                                     Page 29
 1      Q. Lawyer, what kind of instructions would           1      Q. The pilot would have two girlfriends?
 2   you get from lawyers?                                   2      A. Mr. Epstein. This is all people coming
 3      A. We used to have a lot of time, for                3   in the plane together.
 4   instance, the dock construction, you need to have       4      Q. Right. What do you mean by girlfriends?
 5   a lot of permits in Palm Beach so they were there       5      A. Friends, you know, that he was always
 6   for that reason.                                        6   having friends that he will befriend in New York,
 7      Q. Okay. Now, so you would interact with             7   I don't know, or some other places.
 8   the staff from New York and that would include I        8          But I was just told -- my concern was how
 9   think you said Lesley?                                  9   many people I have to feed, how many cars do I
10      A. Lesley, Bella.                                   10   need to transport these people from the airport to
11      Q. What was Lesley's position?                      11   the house, and to arrange accommodations in the
12      A. Lesley is the secretary, secretary to Mr.        12   house.
13   Epstein.                                               13      Q. What about Sarah Kellen, did she travel
14      Q. Okay. Is that Lesley Groff?                      14   with him?
15      A. I believe it was, I don't remember the           15      A. Yes.
16   last name.                                             16      Q. So she was on the plane?
17      Q. Bella, who was Bella?                            17      A. Yes.
18      A. Bella was the assistant comptroller.             18          MR. CRITTON: Form.
19      Q. Anyone else that you dealt with in New           19   BY MR. MERMELSTEIN:
20   York?                                                  20      Q. And Ms. Maxwell?
21      A. Doug Shadow was the architect and he used        21          MR. CRITTON: Form.
22   to come to the house in a regular basis because we     22          THE WITNESS: No, she will have different
23   used to have a lot of projects going on.               23        plane.
24      Q. Okay. Would you get advance notice when          24   BY MR. MERMELSTEIN:
25   Mr. Epstein was going to arrive in Palm Beach?         25      Q. Okay.

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                                                 Page 30                                                    Page 32
 1      A. She will rent and Mr. Epstein will fly           1       movies.
 2   his own plane.                                         2   BY MR. MERMELSTEIN:
 3      Q. Did you also go to the airport to pick up        3      Q. Did you drive them to the movies?
 4   Ms. Maxwell?                                           4      A. Yes. Or sometimes they would take one of
 5      A. Yes.                                             5   the cars. Comedy clubs.
 6      Q. Did she travel with anyone on a regular          6      Q. Comedy clubs?
 7   basis when she came in?                                7      A. In Palm Beach, West Palm Beach.
 8      A. No.                                              8      Q. What did they do in the house?
 9      Q. She was usually alone?                           9      A. They will be on the internet most of the
10      A. (Shakes head.)                                  10   time, by the pool. I think they were having a
11      Q. Now, going back to Mr. Epstein when he          11   good time.
12   traveled, these girlfriends that Mr. Epstein had,     12      Q. Could they use any of the computers in
13   you said there were usually two?                      13   the house?
14      A. Two, three, you know.                           14      A. Yes.
15      Q. And did you know who they were or did you       15      Q. About how many computers did he have?
16   ever talk to them?                                    16         MR. CRITTON: Form.
17      A. No, I never seen them before.                   17         THE WITNESS: Five or six and plus
18      Q. So each time he came it would be                18       laptops, you know, more or less.
19   different girls?                                      19   BY MR. MERMELSTEIN:
20          MR. CRITTON: Form.                             20      Q. What about Sarah Kellen, did she stay in
21          THE WITNESS: Yes, sometimes it's the           21   the house during that two week period as well?
22        same.                                            22      A. Yes.
23   BY MR. MERMELSTEIN:                                   23      Q. And they all had their own bedroom?
24      Q. Do you remember any of their names?             24      A. Yes.
25      A. No, sir.                                        25      Q. How many bedrooms were in the house?

                                                 Page 31                                                    Page 33
 1      Q. And would they stay at the El Brillo Way         1      A. Master bedroom plus I think it was four
 2   residence until he left?                               2   extra bedrooms.
 3      A. Yes.                                             3      Q. And when Ms. Maxwell, she would arrive at
 4      Q. So they were given a bedroom?                    4   some point during this two week period?
 5      A. Yes.                                             5           MR. CRITTON: Form.
 6      Q. Did you know how old these girls were?           6           THE WITNESS: Yes.
 7      A. No, sir.                                         7   BY MR. MERMELSTEIN:
 8      Q. Did they appear to be young to you?              8      Q. But she would come and leave at different
 9          MR. CRITTON: Form.                              9   times?
10          THE WITNESS: They were young but, you          10      A. Yes.
11        know, I have two daughters so I believe they     11      Q. And where would she sleep?
12        were over 20.                                    12      A. Sometimes in the master bedroom,
13   BY MR. MERMELSTEIN:                                   13   sometimes in the yellow room.
14      Q. Did you at any point get to know how Mr.        14      Q. Other room?
15   Epstein came to know any of these girls?              15      A. Yellow room.
16      A. No, sir.                                        16      Q. What's the yellow room?
17      Q. You had no idea?                                17      A. We used to give them colors because they
18      A. No.                                             18   will all have different bathrooms so we need to
19      Q. And so Mr. Epstein would typically stay         19   take care of towels and stuff like that.
20   for two weeks or so?                                  20      Q. So each of the four other bedrooms had a
21      A. I will say that.                                21   color?
22      Q. And what did these girls who came with          22      A. Yes. Blue room, yellow room, pink room,
23   him, what did they do during that two week period?    23   some other, I don't remember.
24          MR. CRITTON: Form.                             24      Q. Now, were there individuals who didn't
25          THE WITNESS: They would go to the              25   stay in the house but came to the house during the

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 1   course of the day?                                     1   leave.
 2           MR. CRITTON: Form.                             2      Q. How far in advance would she tell you so
 3           THE WITNESS: Yes.                              3   and so is coming?
 4   BY MR. MERMELSTEIN:                                    4      A. One hour, sometimes half an hour.
 5       Q. And who would these be?                         5      Q. Okay. And would she tell you the
 6       A. The architect, Doug Shadow, some lawyer         6   person's name or would she just say a masseuse?
 7   like I said for some business, masseuse, sometimes     7      A. She will say Johanna is coming, so I will
 8   we have masseuse. We have guests, you know,            8   meet Johanna at the door and I will show her
 9   sometimes David Copperfield would go to the house      9   inside the house because we used to have a code to
10   and have dinner.                                      10   get inside the house and I would leave and go to
11       Q. David Copperfield. So David Copperfield        11   the staff house or do my duties.
12   obviously is a famous person. Right?                  12      Q. Is Johanna a particular name that you
13       A. Yes.                                           13   remember?
14       Q. He would stay in the house?                    14      A. Yeah, she was a very nice masseuse.
15       A. No, just for the day, you know, he             15      Q. Would she come with her own massage
16   wouldn't stay overnight.                              16   table?
17       Q. Any other famous guests you recall?            17      A. No, we used to have our own.
18       A. Larry Dershowitz. Before my time I know        18      Q. Okay. So you mentioned that there was a
19   President Clinton was in the house but --             19   code to get in the house?
20       Q. You would say a masseuse would come over?      20      A. Yes.
21       A. Yes.                                           21      Q. Okay. And so --
22       Q. Who was the masseuse?                          22      A. I will open the door for them.
23       A. Some lady that would give massage.             23      Q. Okay. How would they get to the house;
24       Q. Was it a particular lady or more than          24   do you recall?
25   one?                                                  25          MR. CRITTON: Form.

                                                 Page 35                                                    Page 37
 1      A. They were different ones.                        1          THE WITNESS: What do you mean?
 2      Q. Did they have -- or did Mr. Epstein make         2   BY MR. MERMELSTEIN:
 3   appointments?                                          3      Q. How would the masseuse arrive at the
 4           MR. CRITTON: Form.                             4   house?
 5           THE WITNESS: Sarah did the appointments.       5          MR. CRITTON: Form.
 6   BY MR. MERMELSTEIN:                                    6          THE WITNESS: They drive their own car.
 7      Q. Okay. So Sarah Kellen would make                 7   BY MR. MERMELSTEIN:
 8   appointments for massages?                             8      Q. Would they come in a particular entrance?
 9      A. Yes.                                             9      A. Yes, the main entrance, that means the
10      Q. Was there like a schedule of appointments       10   big gate.
11   for the house?                                        11      Q. Okay. And then you would have to enter a
12      A. Not for the -- just for employees, we           12   code for them to enter?
13   have a schedule who was working.                      13      A. I will tell them to wait at the kitchen
14      Q. You mean -- the employees as to who would       14   that Sarah will get them from there.
15   be there and who would not be there?                  15      Q. And then you would leave?
16      A. Yes.                                            16      A. Yes.
17      Q. Were you advised as to, you know, from          17      Q. I think you said there were a lot of
18   people coming from outside the house coming to the    18   difference masseuses?
19   house what times they would be there?                 19      A. They have preferences but a few.
20      A. No, I didn't do that.                           20          MR. CRITTON: Form.
21      Q. Okay. And it's your understanding that          21   BY MR. MERMELSTEIN:
22   Ms. Kellen would arrange for Mr. Epstein's            22      Q. I'm sorry. Do you remember the names of
23   appointments?                                         23   the ones he preferred?
24      A. She will tell me so and so is coming, so        24      A. No, sir.
25   I will open the door, greet them, and then I would    25      Q. How often would Mr. Epstein get massages?

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 1      A. I would say almost on a daily basis.             1   drink and I will leave them.
 2      Q. Would he get one a day or more than one a        2      Q. Do you remember any of them telling you
 3   day?                                                   3   anything personal about themselves?
 4      A. Sometimes there were two.                        4      A. No.
 5      Q. Were there times when they were more than        5      Q. These were -- were these sometimes men,
 6   that?                                                  6   sometimes women?
 7      A. No, I don't think so.                            7      A. Women.
 8      Q. And the routine was always the same, they        8      Q. They were always women?
 9   come to the door, you would let them in and bring      9      A. Yes.
10   them to the kitchen?                                  10      Q. Did you know how old these women were?
11      A. Yes, sir.                                       11      A. No, sir.
12      Q. And then Ms. Kellen would greet them?           12      Q. You mentioned before you had -- because
13      A. Yes.                                            13   you have a daughter. Correct? How old is your
14      Q. And you always walked out?                      14   daughter?
15      A. Yes, I would go to the staff house or I         15      A. 20.
16   will be on my phone, you know.                        16      Q. So you have a sense as to, you know --
17      Q. Is the staff house a separate house?            17      A. They were 20 something, you know.
18      A. Yes.                                            18      Q. You think they were 20 something, these
19      Q. You didn't live on the premises; did you?       19   girls who came over?
20      A. Yes, I did.                                     20      A. (Shakes head.)
21      Q. You lived on the premises. And so who on        21          MR. CRITTON: You need to answer out
22   the staff lives on the premises?                      22        loud. Yes, no?
23      A. I was the only one.                             23   BY MR. MERMELSTEIN:
24      Q. Were there days you had off?                    24      Q. You need to answer out loud, you shook
25      A. Yes. When Mr. Epstein will leave we'll          25   your head.

                                                 Page 39                                                     Page 41
 1   clean the house and he will tell me, Alfredo, take     1       A. I'm sorry. I think they were 20 years
 2   the Mercedes go to Miami for the weekend or four       2   old.
 3   days.                                                  3       Q. And what do you base that on?
 4       Q. But that would be when he wasn't there?         4       A. They were very tall to begin with, the
 5       A. Exactly.                                        5   way they talk, some they told me about college,
 6       Q. But when he was there you would always be       6   something you learn past high school.
 7   living there in the staff house?                       7       Q. Some would tell you about college?
 8       A. Yes.                                            8       A. Yes.
 9       Q. Where was the staff house in conjunction        9       Q. So you did have personal discussions with
10   with the main house?                                  10   some of them?
11       A. It's adjacent right next to each other.        11       A. While I was driving with them they would
12       Q. So you could enter the main house without      12   tell me they were from Minnesota, for instance,
13   going outside from the staff house?                   13   they will tell me I want to go to this college or
14       A. Yes.                                           14   Miami this college.
15       Q. Okay. So you don't ever recall being           15       Q. So on what occasions would you have to
16   there at the time that Sarah Kellen would greet       16   drive with them?
17   this person in the kitchen, the masseuse?             17       A. Almost on daily basis because I was doing
18       A. I was there sometimes, yes, we meet but        18   most of the driving for them to go shopping or
19   she will take over that and I would leave the         19   pick them up.
20   house.                                                20       Q. Okay. Now I'm a little confused. Are we
21       Q. On those occasions while you were waiting      21   talking about the girls who came with Mr. Epstein?
22   for Sarah Kellen would you ever have a                22       A. Yes.
23   conversation with the masseuse?                       23       Q. On the plane?
24       A. Not really. I was busy to do a lot of          24       A. Yes.
25   things, I will be sure that they have something to    25       Q. No, I'm talking about the masseuses.

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 1      A. No, no, I never drove them.                       1          THE WITNESS: I don't know, sir.
 2      Q. You never drove any masseuse?                     2   BY MR. MERMELSTEIN:
 3      A. No.                                               3      Q. Did they seem particularly young to you?
 4      Q. And again, so I'm talking about the girls         4          MR. CRITTON: Form.
 5   who would come to give massage to Mr. Epstein. Do       5          THE WITNESS: They were attractive, sir,
 6   you understand that?                                    6        but, you know, it's hard to say the age.
 7      A. Yes, I do.                                        7   BY MR. MERMELSTEIN:
 8      Q. And these girls, you understand they              8      Q. Okay. You said they were tall you
 9   would drive?                                            9   noticed?
10      A. Yes.                                             10      A. Yes.
11      Q. To the El Brillo house. Correct? They            11      Q. And they were attractive?
12   would enter in the front. Correct?                     12      A. Yes.
13      A. Yes.                                             13      Q. Do you recall the interview that you gave
14      Q. And you would take them to the kitchen?          14   to the police?
15      A. Yes, and I would leave.                          15      A. Yes, I do.
16      Q. Okay. Was there sometimes more than one          16      Q. Do you recall that that was recorded?
17   girl who came at one time?                             17      A. Yes.
18      A. Yes, there were two girls.                       18      Q. Do you recall telling the police that the
19      Q. Okay. And why were there two girls?              19   girls who came to the house were approximately
20      A. I never asked them, I don't know, sir.           20   15 years old?
21      Q. Okay. Did both girls give Mr. Epstein a          21          MR. CRITTON: Form.
22   massage?                                               22          THE WITNESS: No, I don't remember that.
23          MR. CRITTON: Form.                              23   BY MR. MERMELSTEIN:
24          THE WITNESS: I don't know, sir.                 24      Q. You don't remember saying that?
25   BY MR. MERMELSTEIN:                                    25      A. (Shakes head.)

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 1      Q. You don't know what happened after you            1          MR. CRITTON: Form.
 2   walked out of the kitchen?                              2   BY MR. MERMELSTEIN:
 3      A. No.                                               3       Q. Could it be that you said that?
 4          MR. CRITTON: Correct, as to what he              4          MR. CRITTON: Form.
 5        said? I got double negative. I just want           5          THE WITNESS: I don't think so, sir. But
 6        to make certain that the answer is clear.          6        I don't remember saying an age.
 7          Can you read the question back?                  7   BY MR. MERMELSTEIN:
 8          (Thereupon, a portion of the record was          8       Q. Okay. Do you remember telling the police
 9   read by the reporter.)                                  9   detective that these girls, the masseuses,
10          THE WITNESS: No.                                10   appeared very young in age?
11   BY MR. MERMELSTEIN:                                    11          MR. CRITTON: Form.
12      Q. And with respect to these girls who came         12          THE WITNESS: I don't remember, sir.
13   over to give massages, you don't recall having a       13   BY MR. MERMELSTEIN:
14   conversation with them. Correct?                       14       Q. Did you offer them food when they were in
15      A. No, sir.                                         15   the kitchen?
16      Q. And again, I think we're a little bit            16       A. Something to drink, yes, a glass of
17   confused as to which girls we're talking about.        17   water.
18          The girls who came over for massages,           18       Q. Did you offer to feed them anything to
19   what age generally did they appear to be to you?       19   eat?
20          MR. CRITTON: Form.                              20       A. No, sir.
21          THE WITNESS: I don't know, sir.                 21       Q. Do you remember telling the police that
22   BY MR. MERMELSTEIN:                                    22   the girls would eat tons of cereal and drink milk
23      Q. Did it appear some of these girls or all         23   all the time?
24   of them were high school age?                          24          MR. CRITTON: Form.
25          MR. CRITTON: Form.                              25          THE WITNESS: But these are the girls

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 1        that were living in the house.                     1      Q. Who set up the massage table?
 2   BY MR. MERMELSTEIN:                                     2      A. Sarah or some of the girls they will set
 3      Q. Okay. It seems that we may be confusing           3   the table.
 4   that a little bit.                                      4      Q. So was the massage -- the massage table
 5          Did the police ask you about both the            5   was upstairs. Is that correct?
 6   girls who were living in the house and the girls        6      A. Yes.
 7   who came over for massages?                             7      Q. Okay. Where was it upstairs?
 8      A. They never specified that, sir.                   8      A. In the master bedroom.
 9      Q. So what was your understanding as to what         9      Q. Was there more than one massage table?
10   you were telling them about?                           10      A. Yes.
11      A. The girls who living in the house.               11      Q. Which room?
12      Q. Okay. You understood that the police             12      A. One on each master bath.
13   were asking about the girls who were living in the     13      Q. One in each master bath?
14   house, the girls who came with Mr. Epstein --          14      A. Yes.
15      A. Yes.                                             15      Q. There is more than one master bedroom?
16      Q. Let me finish the question.                      16      A. Yes. No, no, there is one master
17          The girls who came with Mr. Epstein on          17   bedroom, two baths.
18   the plane and then left with him on the plane.         18      Q. Okay. I see. And so each bath had a
19   Correct?                                               19   massage table in there?
20          MR. CRITTON: Form.                              20      A. Yes.
21          THE WITNESS: Yes.                               21      Q. And did Mr. Epstein do you know have a
22   BY MR. MERMELSTEIN:                                    22   preference for one massage table or another?
23      Q. You didn't understand that the police            23         MR. CRITTON: Form.
24   were asking about the girls who came over during       24         THE WITNESS: I don't think so.
25   the course of a particular day to give a massage       25   BY MR. MERMELSTEIN:

                                                  Page 47                                                   Page 49
 1   to Mr. Epstein?                                         1      Q. It was just he would use one of those for
 2      A. And leave, no.                                    2   the massage?
 3      Q. As we sit here today you don't remember           3          MR. CRITTON: Form.
 4   anything in particular about the ages of these          4          THE WITNESS: Yes.
 5   girls who came over?                                    5   BY MR. MERMELSTEIN:
 6      A. No, sir.                                          6      Q. And the masseuse would come and open the
 7      Q. Sometimes there were two girls who came?          7   table?
 8      A. I'm sorry?                                        8      A. I don't know, sir, because I send Louella
 9          MR. CRITTON: Form.                               9   to arrange everything, the table was in place
10   BY MR. MERMELSTEIN:                                    10   already so I don't know who set the table.
11      Q. Sometimes there was two girls who came to        11      Q. I'm sorry, when you sent Louella?
12   give a massage to Mr. Epstein?                         12      A. When we clean the house the table was
13      A. Yes.                                             13   already set so it was not neither us, the
14      Q. Do you remember how often it was one girl        14   employees, to go upstairs and set the table, the
15   versus how often it was two girls?                     15   table was already set.
16      A. No, sir.                                         16      Q. The table was set in position to give a
17      Q. Were there times where one girl stayed in        17   massage?
18   the kitchen while another girl gave the massage?       18      A. Yes.
19      A. That I don't know, sir.                          19      Q. It was open?
20      Q. Okay. And that was because you left the          20      A. Yes.
21   kitchen?                                               21      Q. And so it wasn't your understanding that
22      A. Yes. Like I said, I was doing my duties.         22   Louella had done it?
23      Q. Now, was it your understanding that the          23      A. No, I don't think so.
24   massage was given upstairs?                            24      Q. So you think it was either --
25      A. Yes.                                             25          MR. CRITTON: Form.

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 1          THE WITNESS: Somebody, yes.                     1         MR. CRITTON: Form.
 2   BY MR. MERMELSTEIN:                                    2         THE WITNESS: No, I don't remember. They
 3      Q. Okay. You don't know who did it?                 3       took the cars, you know.
 4      A. No, sir.                                         4   BY MR. MERMELSTEIN:
 5      Q. Okay. And what happened after the girl           5      Q. Who drove them?
 6   completed the massage?                                 6      A. He will drive sometimes.
 7          MR. CRITTON: Form.                              7      Q. And you don't know where he went?
 8          THE WITNESS: Sometimes I noticed that           8      A. No, sir.
 9       they leave after awhile because they didn't        9      Q. And what time would he come back?
10       tell me when they were leaving, so I was in       10         MR. CRITTON: Form.
11       the staff house I was not aware what time         11         THE WITNESS: 12, two hours.
12       they leave.                                       12   BY MR. MERMELSTEIN:
13   BY MR. MERMELSTEIN:                                   13      Q. Would he leave any other time during the
14      Q. Sometimes you wouldn't even know that           14   day?
15   they left?                                            15      A. In the afternoon they will go to the
16      A. Exactly.                                        16   movies, early evening.
17      Q. Okay. About how long were they there do         17      Q. So would he go with the girls who came
18   you believe?                                          18   with him on the plane?
19      A. One hour, two hours.                            19      A. Yes, everybody together, yes.
20          MR. CRITTON: Form.                             20      Q. Including Ms. Kellen?
21   BY MR. MERMELSTEIN:                                   21      A. Yes.
22      Q. Didn't you have to be called to let them        22      Q. So about how many people total would go?
23   out?                                                  23         MR. CRITTON: Form.
24      A. No.                                             24         THE WITNESS: Four or five people.
25      Q. I thought there's a code on the door.           25   BY MR. MERMELSTEIN:

                                                 Page 51                                                    Page 53
 1      A. Just to get in, to get out you go.               1      Q. So Mr. Epstein, the two to three girls
 2      Q. Okay. Did you have any duties or perform         2   who came with him in the plane. Correct?
 3   any tasks relating to cleanup after the massage?       3      A. I'm sorry?
 4      A. Yes.                                             4      Q. The two or three girls who came with him
 5      Q. And what was that?                               5   on the plane?
 6      A. We used to go with Louella and see to            6      A. Yes.
 7   replace used towels or sheets in the beds.             7      Q. And Ms. Kellen?
 8      Q. This was after the massage?                      8      A. Yes.
 9      A. Yes.                                             9      Q. Anyone else?
10      Q. Were the beds made in the morning after         10      A. No.
11   Mr. Epstein woke up?                                  11      Q. Ms. Maxwell?
12      A. Yes.                                            12      A. No.
13      Q. Okay. So would the sheets need to be            13      Q. So anyplace else he would go in the car
14   replaced after the massage?                           14   by himself?
15      A. We couldn't go upstairs unless he will be       15      A. He never drove by himself.
16   out of the house. So when he leave we used to         16      Q. You just said sometimes he would drive.
17   find minutes to go upstairs and put everything        17      A. Yeah, but with everybody.
18   tidy again. So it was not always a routine.           18      Q. Okay. But he would never go just by
19      Q. Okay. Well, as generally in your                19   himself?
20   routine, when would he leave during the course of     20      A. No.
21   the day?                                              21      Q. Okay. So either in the morning when he
22      A. 10:00 a.m. I would say, go for a drive, I       22   went out to drive or in the afternoon when he went
23   don't know where they go.                             23   to the movies that's when you and Louella would go
24      Q. So he would typically go some place at          24   upstairs?
25   10:00 a.m.?                                           25      A. Exactly, sir.

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                                                  Page 54                                                    Page 56
 1      Q. Okay. And you would cleanup?                      1      Q. The back massager vibrated?
 2      A. Yes.                                              2      A. Yes.
 3      Q. Again, why did the sheets need to be              3      Q. I started this questioning by asking you
 4   replaced at that particular point in time?              4   about sex toys. Correct?
 5      A. Because they were in disarray so we need          5      A. Yes. Go ahead.
 6   to straighten the bed, the sheets, towels need to       6      Q. What were the sex toys?
 7   be replaced.                                            7      A. In the armoire.
 8      Q. But the bed was made after Mr. Epstein            8      Q. Yes. Okay.
 9   woke up?                                                9      A. I never see them outside laying around.
10      A. Yes, it was.                                     10      Q. You never saw them out of the armoire?
11          MR. CRITTON: Form.                              11      A. I don't think so, sir.
12   BY MR. MERMELSTEIN:                                    12      Q. Do you remember what kind of sex toys
13      Q. Correct?                                         13   they were?
14      A. If he will leave the house we'll do the          14      A. Like spouses, you know, what do you call
15   bed.                                                   15   that? Handcuffs, or a vibrator. They called
16      Q. I see what you're saying. If he didn't           16   dildos?
17   leave the house until the afternoon when he went       17      Q. Yes. Were there many of them?
18   to the movies then the bed wouldn't be made?           18          MR. CRITTON: Form.
19      A. Exactly.                                         19          THE WITNESS: A few.
20      Q. What else did you do when you went               20   BY MR. MERMELSTEIN:
21   upstairs?                                              21      Q. Describe them.
22      A. We need to take a look around, the               22      A. You know, personal vibrators for women.
23   temperature of the A/C. Mostly laundry, sir, you       23      Q. Were they a particular color, a
24   know, because we used to go through a lot of           24   particular size?
25   laundry, that's all.                                   25      A. I don't remember, sir.

                                                  Page 55                                                    Page 57
 1      Q. Did Mr. -- strike that.                           1      Q. You remember he had a few vibrators?
 2         Were there sex toys anywhere in the               2      A. Yes.
 3   master bedroom?                                         3      Q. Any other kind of toys that you can
 4         MR. CRITTON: Form.                                4   remember?
 5         THE WITNESS: Yes, they were in the                5      A. No, sir.
 6       master bedroom.                                     6      Q. And it's your testimony here today that
 7   BY MR. MERMELSTEIN:                                     7   they were always on the shelf?
 8      Q. Okay. Where were they?                            8      A. Yes.
 9      A. In the armoire in front of Mr. Epstein's          9      Q. You never had to do anything with them?
10   bed.                                                   10         MR. CRITTON: Form.
11      Q. In front of his bed?                             11         THE WITNESS: Not me personal, sir, I
12      A. Yes.                                             12       don't know if Louella saw them, but this is
13      Q. Did you ever do anything with the sex            13       what I did and when we went upstairs.
14   toys?                                                  14   BY MR. MERMELSTEIN:
15         MR. CRITTON: Form.                               15      Q. Do you recall telling the police that
16         THE WITNESS: The things I did I cleaned          16   when you cleaned Mr. Epstein's bedroom after the
17       the back -- there is a vibrator to keep            17   massages you would discover a massager, vibrators,
18       massage to your back. We used to wipe them,        18   and sex toys scattered on the floor?
19       put them away, massage creams, put them            19         MR. CRITTON: Form.
20       away, fold the table, folding the massage          20         THE WITNESS: Yeah, what I did was the
21       table.                                             21       back massager, the back rubber, this was
22   BY MR. MERMELSTEIN:                                    22       always on the floor.
23      Q. Okay. You mentioned there was a back             23   BY MR. MERMELSTEIN:
24   massager?                                              24      Q. Okay. But it says sex toys.
25      A. Yes.                                             25         MR. CRITTON: Form.

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 1          THE WITNESS: I don't think so, sir.              1      Q. About how many photos of girls were
 2   BY MR. MERMELSTEIN:                                     2   there?
 3      Q. Okay. You don't recall telling that to            3      A. In the stairwell there were three
 4   the --                                                  4   pictures, one from Havana, one in Mountain, and
 5          MR. CRITTON: Form.                               5   then you have a foyer upstairs it was a big like a
 6          MR. MERMELSTEIN: Why don't we take a             6   beach, and then there was two girl pictures.
 7        break?                                             7      Q. There were two girl pictures in the
 8          (Thereupon, a recess was had.)                   8   foyer?
 9          THE VIDEOGRAPHER: We're back on the              9      A. Yes.
10        record with tape number two.                      10      Q. As you arrive at the top of the stairs?
11   BY MR. MERMELSTEIN:                                    11      A. No, as you cross the foyer.
12      Q. You mentioned before the break that you          12      Q. Okay. Upstairs?
13   would escort these girls who came to the house to      13      A. Yes.
14   the kitchen and then typically you would leave the     14      Q. There is only two floors. Correct?
15   kitchen and Sarah Kellen would meet them there.        15      A. Yes.
16      A. Yes.                                             16      Q. And describe the photos of the girls, the
17      Q. And then to your understanding they would        17   two photos of the girls.
18   provide Mr. Epstein with a massage.                    18      A. There was a young girl pulling her --
19          MR. CRITTON: Form.                              19   pulling her swimsuit a little bit showing her
20          THE WITNESS: Yes.                               20   fanny a little bit and the other one smiling.
21   BY MR. MERMELSTEIN:                                    21      Q. So neither one of them was a girl nude?
22      Q. Now, how would they get upstairs from the        22      A. No.
23   kitchen?                                               23      Q. Okay. There was one girl showing what,
24          MR. CRITTON: Form.                              24   she had her back to the camera?
25          THE WITNESS: There was a stairwell from         25      A. Yes.

                                                  Page 59                                                      Page 61
 1        the kitchen.                                       1      Q. And she was pulling down --
 2   BY MR. MERMELSTEIN:                                     2      A. She was showing one of her cheeks let's
 3      Q. There was a stairwell from the kitchen            3   put it.
 4   upstairs?                                               4      Q. One of her cheeks. Okay. And the other
 5      A. Yes.                                              5   one was a girl --
 6      Q. Okay. And were there any paintings or             6      A. Smiling. You see the face but it was not
 7   drawings or artwork or photos on the stairwell?         7   nudity there.
 8      A. Yeah, there was some art.                         8      Q. And were there other photos of girls?
 9      Q. There was art?                                    9      A. Yes, the only ones in that area.
10      A. Yes.                                             10      Q. The only ones in that area were those
11      Q. Describe the art that was on the                 11   two?
12   stairwell.                                             12      A. Yes.
13      A. Pictures in black and white of places and        13      Q. There were no other photos of girls?
14   some girls.                                            14      A. No.
15      Q. Okay. There were pictures of girls?              15      Q. None on the staircase?
16      A. (Shakes head.)                                   16      A. No.
17      Q. You have to say yes or no.                       17      Q. From the kitchen stairs once you arrived
18      A. Yes.                                             18   in this foyer where was the master bedroom from
19      Q. Were they photos or drawings?                    19   there?
20      A. Photos.                                          20      A. To the west side of the house.
21      Q. Photos of girls. And they were in                21      Q. So you would make a left when you got --
22   frames?                                                22      A. There is two stairwells to go in, one is
23      A. Yes.                                             23   the main and the staircase from the kitchen would
24      Q. And they were on the stairwell?                  24   kind of spiral down. Yeah, you have to make a
25      A. Yes.                                             25   right to go to the master bedroom.

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                                                 Page 62                                                    Page 64
 1      Q. Okay. Did you pass any other bedrooms on         1         THE WITNESS: No, sir.
 2   the way to the master bedroom or was the master        2   BY MR. MERMELSTEIN:
 3   bedroom right there?                                   3      Q. Did they look young to you?
 4      A. As soon as you leave the stairwell there         4         MR. CRITTON: Form.
 5   was a bedroom right in front of that.                  5         THE WITNESS: No, sir.
 6      Q. Which bedroom was there?                         6   BY MR. MERMELSTEIN:
 7      A. That was the yellow bedroom. I can't             7      Q. They did not look young?
 8   remember, sir, but it was one -- I believe it was      8      A. They were young in terms of -- when you
 9   the yellow room.                                       9   say young?
10      Q. And then there was a master suite?              10      Q. Did they appear to be under 18 years old?
11      A. Then you have to make a right, cross the        11      A. No, sir.
12   foyer to go to the master bedroom.                    12      Q. Any other photos of girls in any stage of
13      Q. Is it your understanding that the               13   undress that you recall in the house?
14   massages were always in the master bedroom?           14      A. There were pictures of Mr. Epstein and
15      A. As I understand, yes, sir.                      15   Mrs. Maxwell, but I mean they were adults, I mean,
16      Q. Were there photos of girls elsewhere in         16   they were plus 45.
17   the house that you recall?                            17      Q. No, I understand. There were nude photos
18      A. Mr. Epstein's closet.                           18   of them?
19      Q. In his closet?                                  19      A. Yes.
20      A. Yes.                                            20      Q. Okay. Any nude photos of girls other
21      Q. Were any of those photos were the girls         21   than Ms. Maxwell around the house that you recall?
22   nude or in any stage of undress?                      22      A. Yeah, the one I just mentioned.
23      A. Yes, sir.                                       23      Q. Other than what you've mentioned, are
24      Q. Okay.                                           24   there any others?
25          MR. CRITTON: Object to the form on the         25      A. No, sir.

                                                 Page 63                                                    Page 65
 1        last question.                                    1      Q. You say Sarah Kellen would greet the girl
 2   BY MR. MERMELSTEIN:                                    2   in the kitchen, the girl or girls who were coming
 3      Q. How many of those photos were there?             3   to give the massage. Correct?
 4      A. There was a mosaic of pictures. I don't          4      A. Yes.
 5   know, it had 10, 12, 14.                               5      Q. What would she do while the massage was
 6      Q. I'm sorry, a what?                               6   going on?
 7      A. Mosaic.                                          7          MR. CRITTON: Form.
 8      Q. Mosaic. So it was like in a single               8          THE WITNESS: I don't know, sir.
 9   frame?                                                 9   BY MR. MERMELSTEIN:
10      A. Yes.                                            10      Q. Were you ever in the kitchen when the
11      Q. And there were photos of nude women in          11   girl went upstairs?
12   this frame?                                           12      A. No, sir.
13      A. Yes, sir.                                       13      Q. Never?
14      Q. Okay.                                           14      A. No.
15          MR. CRITTON: Form.                             15      Q. How are these girls paid for their
16   BY MR. MERMELSTEIN:                                   16   services for giving massages?
17      Q. Did you know any of the girls in those          17      A. I pay them.
18   photos?                                               18      Q. You paid them?
19      A. No, sir.                                        19      A. Yes.
20      Q. Do you recall ever seeing any of them           20      Q. Okay. I thought before you said that you
21   before?                                               21   didn't necessarily see them when they left?
22      A. No, sir.                                        22      A. When Sarah told me so and so is going to
23      Q. Did you have any impressions as to how          23   get so much, so not necessarily when they leave,
24   old these girls were in the photos?                   24   they will came the next day, or I leave an
25          MR. CRITTON: Form.                             25   envelope in the kitchen.

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                                                Page 66                                                     Page 68
 1       Q. Okay. Well, what would determine how you       1   my -- he was an employee of Mr. Epstein.
 2   went about paying them?                               2      Q. So he was a regular employee?
 3       A. Sarah told me.                                 3      A. Yes, sir.
 4       Q. Sarah told you to leave an envelope or to      4      Q. So there would be like -- so he would
 5   pay them in person?                                   5   receive a check. Correct?
 6       A. Yes.                                           6      A. Yes.
 7       Q. Okay. When would she tell you this?            7      Q. And there would be withholdings from the
 8           MR. CRITTON: Form.                            8   check, etc. Right?
 9           THE WITNESS: Sometimes in the afternoon,      9           MR. CRITTON: Form.
10         you know. It depends, it varies, you know,     10           THE WITNESS: Yes.
11         because she will call me and say so and so     11   BY MR. MERMELSTEIN:
12         will get paid $300. I never ask, you know.     12      Q. But the girls who gave massages, they
13   BY MR. MERMELSTEIN:                                  13   would just receive cash?
14       Q. Well, how did you know whether to leave       14      A. Yes.
15   it in the kitchen or to hand it to the girl?         15      Q. And how were other household expenses
16       A. She would give me the instructions.           16   paid?
17       Q. She would always give you instructions as     17      A. Food, gas, flowers, gifts.
18   to how the payment was to be made?                   18      Q. How were they paid?
19       A. Yes.                                          19      A. Cash or check, you know. I will buy --
20       Q. Sometimes it wasn't that day?                 20   in a store I will pay with a check, and sometimes
21       A. No, sir.                                      21   I will use cash or credit card, sir.
22       Q. Okay. And because you knew the girl was       22      Q. So you had your own credit card?
23   coming back?                                         23      A. They give me credit card, they give me
24       A. She will probably make arrangements with      24   the checks and they give me the cash.
25   Sarah because I didn't know she was coming back.     25      Q. Okay. What kind of credit card was it?

                                                Page 67                                                     Page 69
 1      Q. And how much did you know to pay?               1      A. It was like -- I don't remember, Visa,
 2           MR. CRITTON: Form.                            2   Master Card.
 3   BY MR. MERMELSTEIN:                                   3      Q. It was like -- was it a debit card or
 4      Q. How much did you know to pay the girl?          4   credit card?
 5      A. It varies, 300, 400, 500.                       5      A. It was a credit and debit card.
 6      Q. And Ms. Kellen would always instruct you        6      Q. It was both?
 7   as to how much it would be?                           7      A. Yes.
 8      A. Yes.                                            8      Q. Was there an account that you had
 9      Q. Did you write a check or how did you make       9   signatory authority on?
10   the payment?                                         10      A. Yes, I did.
11      A. Cash.                                          11      Q. And anyone else have signatory authority
12      Q. It was always cash?                            12   on this account?
13      A. Yes.                                           13      A. No, sir. Yeah, well, Mrs. Maxwell.
14      Q. Do you know why that is?                       14      Q. So there was an account with you and
15      A. I'm sorry?                                     15   Ms. Maxwell had signatory authority on?
16      Q. Do you know why you always paid cash?          16      A. Yes.
17      A. I was supposed to have cash with me, sir,      17      Q. And you would pay expenses of the
18   at all times. The checks were made for paying        18   household from that account?
19   payroll so -- or purchasing items.                   19      A. Yes.
20      Q. Okay. So you used checks for the payroll       20      Q. And you would write checks?
21   for the employees who were under you?                21      A. Yes.
22      A. Jerome the gardener.                           22      Q. You would pay payroll from that account?
23      Q. Okay. Now, was Jerome an independent           23      A. Yes.
24   contractor or an employee?                           24      Q. And did you have an understanding as to
25      A. No, he will be under -- he was under           25   why the girls that gave massages were always paid

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 1   in cash as opposed to check?                            1      A. Not him. I will drive anybody else but
 2          MR. CRITTON: Form.                               2   he would rather eat at home.
 3          THE WITNESS: I was told to pay them              3      Q. So you would drive house guests to
 4        cash, sir.                                         4   restaurants?
 5   BY MR. MERMELSTEIN:                                     5      A. Yes.
 6      Q. Simply you were told and didn't ask why?          6      Q. And when you did that you would -- didn't
 7      A. No.                                               7   you stay with the car or did you eat with them?
 8      Q. Do you recall telling the detective who           8      A. No, I will stay with the car.
 9   interviewed you for the police that you thought of      9      Q. So who did you tip?
10   yourself as a human ATM machine?                       10      A. If you want to park in front of the
11          MR. CRITTON: Form.                              11   restaurant you got to tip the valet otherwise
12          THE WITNESS: Yes.                               12   you're taking one of the spots.
13   BY MR. MERMELSTEIN:                                    13          Sometimes I used to take -- I'm sorry.
14      Q. You recall saying that?                          14   Aviation, you know, you need to go to aviation and
15          MR. CRITTON: Form.                              15   help those guys move your cars around, you need --
16          THE WITNESS: Because I always had cash          16   they carry luggage, so I used to tip those too.
17        in my pocket.                                     17      Q. That would be when you picked up or
18   BY MR. MERMELSTEIN:                                    18   dropped off Mr. Epstein. Correct?
19      Q. And why was there always cash in your            19      A. Yes.
20   pocket?                                                20          MR. MERMELSTEIN: We'll mark this as an
21      A. That was part of my job to have, you             21       exhibit, composite exhibit.
22   know, for emergencies or paying somebody cash.         22          (Composite Exhibit 1 was marked for
23      Q. Okay. What kind of emergencies?                  23       Identification.)
24      A. It's hard to say. I was supposed to put          24          MR. CRITTON: Just out of curiosity, on
25   cash on each Mercedes Benz on each ashtray. The        25       depositions are we going to use instead of

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 1   idea behind this is you get stranded nobody accept      1        doing plaintiff and defendant designations
 2   credit card or check you have cash.                     2        do you just want to run them one, two,
 3       Q. How much did you leave in the ashtray?           3        three, four?
 4       A. 300.                                             4          MR. MERMELSTEIN: That's fine with me as
 5       Q. And did you ever have to replenish that          5        long as we remember where we left off.
 6   money?                                                  6          MR. CRITTON: Well, are we going to do it
 7       A. Yes.                                             7        consecutive with all of the depositions?
 8       Q. Because the Mercedes was stranded?               8        I'm okay with that if someone can keep track
 9       A. No, because when Mr. Epstein will leave I        9        of that.
10   have to collect that money because I will send the     10          MR. EDWARDS: I've had that go wrong
11   cars to the car wash so to avoid that money being      11        before, especially when we have some parties
12   stolen we used to keep track, you know, when to        12        who aren't here, such as Mr. Garcia, he's
13   retrieve that money and then when he's coming put      13        going to join depositions, we have to start
14   it back there again.                                   14        at 27 or whatever.
15       Q. So you use cash for that purpose and you        15          MR. CRITTON: For each deposition one
16   also use cash to pay the masseuses. Correct?           16        through whatever without necessarily giving
17       A. Yes.                                            17        them a plaintiff or defendant.
18       Q. Did you use cash for any other purpose?         18   BY MR. MERMELSTEIN:
19       A. Car wash for the guy who used to came to        19      Q. Mr. Rodriguez, I've marked as Exhibit 1 a
20   the house and wash all the cars. Tipping               20   composite document which includes four per page of
21   sometimes for getting a good spot in the               21   what appear to be message slips.
22   restaurant you have to have cash, something like       22          First of all let me ask you, let me
23   that.                                                  23   direct your attention to the first page of this
24       Q. Okay. Would you drive Mr. Epstein to a          24   exhibit. And the upper left message has initials
25   restaurant?                                            25   at the bottom. Is that correct?

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 1       A. Yes.                                             1   and he told you he owned a modeling agency?
 2       Q. Are those your initials?                         2      A. Yes, sir.
 3       A. Yes.                                             3      Q. Anything else he told you?
 4       Q. And was it the household policy to               4      A. He spoke, you know, five, six languages,
 5   initial messages when they were taken?                  5   always speaking Spanish, Italian.
 6       A. Yes.                                             6      Q. Did the girls who were -- you know, who
 7       Q. Okay. You were instructed to do that?            7   travelled with Mr. Epstein, were they from his
 8       A. Yes.                                             8   agency?
 9       Q. Who instructed you to do that?                   9          MR. CRITTON: Form.
10       A. Ms. Maxwell. There was a manual, sir, in        10          THE WITNESS: I don't know, sir.
11   the house, we had to follow the instructions of        11   BY MR. MERMELSTEIN:
12   the manual.                                            12      Q. You didn't discuss that?
13       Q. There was -- okay.                              13      A. No.
14       A. Estate manager, household manager for all       14      Q. Let's look at the message next to it.
15   the houses, so I will abide to that, you know, so      15          MR. CRITTON: Still on page one?
16   I take message with my initial, the time, who          16          MR. MERMELSTEIN: Still on page one.
17   called.                                                17   BY MR. MERMELSTEIN:
18       Q. So there were all sorts of policies and         18      Q. It appears the one under it is to the
19   procedures in this manual?                             19   same person. Is that correct? Who is that?
20       A. Yes.                                            20      A. Alicia.
21       Q. Who wrote it?                                   21      Q. Who is Alicia?
22       A. It was the estate manager for all the           22      A. I don't know, sir. Please tell Jeffrey
23   properties and so I was --                             23   that I called so I just wrote the name.
24       Q. Who was the estate manager for all the          24      Q. Now, some of these messages if you look
25   properties?                                            25   through appears to be a different handwriting and

                                                  Page 75                                                    Page 77
 1      A. I never met him, sir, he was fired before         1   there is no signature on the bottom.
 2   I came along.                                           2       A. That's not mine, I don't know who's that
 3      Q. But you don't remember his name?                  3   is, sir.
 4      A. No, sir.                                          4       Q. I thought you said earlier you were the
 5      Q. And you remember one of the things that           5   one who was responsible for taking messages.
 6   said in this manual was that every message has to       6       A. Exactly, yes, I was, sir.
 7   be signed?                                              7       Q. But there were other people who took
 8      A. Yes.                                              8   messages as well?
 9      Q. I'm not necessarily going to go through           9       A. Maybe this is after or before my time,
10   every single message. Let me go back to the one        10   sir.
11   on the upper left on the first page. It's from         11       Q. Okay. Because there is no date on it.
12   Jean-Luc. Is that correct?                             12       A. I used to put my dates and I know I used
13      A. Yes, sir.                                        13   to do that all the time, but you know.
14      Q. Who is Jean-Luc?                                 14       Q. These style of message pads. It was a
15      A. He had modeling agency.                          15   pad. Correct?
16      Q. How do you know that?                            16       A. Yes.
17      A. He gave me his card, sir.                        17       Q. And this is the old fashion message pad
18      Q. Was he a frequent guest at the house?            18   that it's like duplicate?
19      A. Yes, sir.                                        19       A. Exactly, the original stays with the
20      Q. Did he stay over?                                20   spiral.
21      A. Sometimes he will stay, sometimes I will         21       Q. Okay. So there was a spiral notebook?
22   drive him to Miami.                                    22       A. Exactly.
23      Q. Do you recall his last name?                     23       Q. And you would write the message on the
24      A. No, sir.                                         24   top copy and then you would take that out and put
25      Q. And so you had a conversation with him           25   it on the counter in the kitchen?

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                                                  Page 78                                                     Page 80
 1      A. Yes, sir.                                         1     A. Probably so, sir.
 2      Q. And Mr. Epstein knew to look there for            2     Q. Okay. Tell me what this was about.
 3   his messages. Correct?                                  3     A. Probably so, sir.
 4      A. Yes, sir.                                         4         MS. EZELL: What was that answer?
 5      Q. Then there was a carbon copy that was             5         MR. CRITTON: He said probably so.
 6   with -- that remained with the spiral notebook.         6         THE WITNESS: Maybe C.
 7   Correct?                                                7   BY MR. MERMELSTEIN:
 8      A. Yes.                                              8     Q. C. So you think that -- would that be
 9      Q. Now, if you look at the way this is               9   C.W.?
10   copied it appears to be that this was taken from       10     A. I didn't know the last name, sir.
11   the spiral notebook. Is that fair to say?              11     Q. Who is C.?
12      A. Yes, sir.                                        12     A. C. was a masseuse.
13      Q. Okay. So it would appear that, for               13     Q. Okay. She was one of the masseuses who
14   example, that these ones that aren't dated are on      14   would come to the house?
15   the same pages as the ones that are dated. Is          15     A. Yes.
16   that fair to say?                                      16     Q. I thought you didn't know any of the
17      A. Yes, sir.                                        17   names.
18          MR. CRITTON: Form.                              18     A. I remember Johanna. There is so many
19   BY MR. MERMELSTEIN:                                    19   names, sir, this is 2004.
20      Q. Does that help at all as to who may have         20     Q. You remember Johanna. I understand. You
21   been the one to take these other messages?             21   remember C.?
22      A. I don't know, sir, I don't know.                 22     A. Yes.
23      Q. But it's your understanding that no one          23     Q. Do you remember any others?
24   else other than you took messages?                     24     A. No, sir.
25      A. Exactly.                                         25         MR. CRITTON: Can I ask, did you all blot

                                                  Page 79                                                     Page 81
 1      Q. There is a fairly distinctive AR                  1        it out or redact it?
 2   signature on many of these message slips. And           2           MR. EDWARDS: The State Attorney's
 3   that's your signature. Correct?                         3        office.
 4      A. Yes, it is.                                       4           MR. MERMELSTEIN: We did not redact it.
 5      Q. Let me direct your attention to a message         5           THE WITNESS: For the record, I can make
 6   that was taken on November 8, 2004.                     6        it out because I know my writing that's why
 7           MR. CRITTON: I think that's page nine.          7        I remember the name.
 8        I just numbered mine.                              8   BY MR. MERMELSTEIN:
 9           MR. MERMELSTEIN: It is page nine,               9      Q. I see. From what we can see here it
10        correct.                                          10   appears to be C.?
11           MS. EZELL: What was the date again?            11      A. Yeah.
12           MR. MERMELSTEIN: November 8, 2004.             12      Q. I see. The message, I have a female for
13   BY MR. MERMELSTEIN:                                    13   him, what was that, what was that about?
14      Q. Now, it appears that there is information        14      A. They tell me that message. I never ask
15   that was redacted from here, meaning that it was       15   them, I never inquired. I mean, I never -- I took
16   whited out or blacked out, one or the other. Do        16   the messages literally and I write it down, that's
17   you see that?                                          17   why I put quotations.
18      A. On the right.                                    18           My job, sir, was to take messages and who
19      Q. Because you would have written down a            19   are you, last names, or, you know, it was never in
20   name and phone number. Correct?                        20   my job descriptions to, you know, if they accept
21      A. Yes.                                             21   the message then they will give me further
22      Q. And the message is, quote, "I have a             22   instructions.
23   female for him."                                       23      Q. So your feeling was it's none of your
24      A. Yes.                                             24   business what this message means. Is that what
25      Q. Do you remember this message?                    25   you're saying?

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                                                Page 82                                                      Page 84
 1     A. Something like that, sir.                        1      A. No.
 2     Q. Did you have an understanding as to what         2      Q. Let me direct your attention to page 13.
 3   she meant?                                            3         MR. CRITTON: When you reference a page
 4          MR. CRITTON: Form.                             4       you may want to tell him what the message is
 5          THE WITNESS: Yes.                              5       and the date, if he's got it, that's fine.
 6   BY MR. MERMELSTEIN:                                   6         MR. EDWARDS: It needs to be cleaner on
 7     Q. What was that?                                   7       the record anyway.
 8          MR. CRITTON: Form.                             8   BY MR. MERMELSTEIN:
 9          THE WITNESS: That she had a female.            9      Q. There is a message on the upper left
10       It's self-explanatory.                           10   dated November 20, 2004.
11   BY MR. MERMELSTEIN:                                  11      A. Yes.
12     Q. Female for what?                                12      Q. That's a message that you took. Correct?
13     A. I don't know, sir. Maybe a massage,             13      A. Yes, sir.
14   maybe to go out as his companion.                    14      Q. Ms. B. Do you recall who that is?
15          MR. CRITTON: Form, and move to strike         15      A. No, sir.
16       the answer as speculation.                       16      Q. You have no recollection?
17   BY MR. MERMELSTEIN:                                  17      A. No.
18     Q. And the 561 area code is Palm Beach.            18      Q. That was the message you took for Sarah?
19   Correct?                                             19      A. Yes.
20     A. Yes.                                            20      Q. It was your understanding that Sarah made
21     Q. Was C. there often to your recollection?        21   the appointments for the massages?
22     A. I don't think so, sir.                          22      A. Yes.
23     Q. You don't remember her coming over to the       23         MR. CRITTON: Form.
24   house?                                               24   BY MR. MERMELSTEIN:
25     A. No, not in the house.                           25      Q. Let me direct your attention to a message

                                                Page 83                                                      Page 85
 1     Q. Let me direct you to page 11, two pages        1     dated 12/4/04.
 2   in.                                                 2             MR. CRITTON: Page 15.
 3       A. Where do you see the page number?            3     BY MR. MERMELSTEIN:
 4       Q. Just go down two pages. I'm just             4        Q. On the bottom right that's your
 5   counting in my head.                                5     signature. Correct?
 6           Now, other than the message on the upper    6        A. Yes.
 7   left, that's your signature at the bottom.          7        Q. And Johanna is the name?
 8   Correct?                                            8        A. Yes.
 9       A. Yes.                                         9        Q. And is that the same Johanna you
10       Q. Did you take these other messages?          10     testified to earlier was the one you remember?
11       A. No.                                         11        A. Yes, I believe so, sir.
12       Q. Now, was there a different system or        12        Q. Can you describe Johanna for us?
13   protocol at night?                                 13        A. Johanna, she was -- I remember she was
14       A. No, it's the same.                          14     pregnant at the time, so very sweet lady, she live
15       Q. So if you were in the staff house would     15     in West Palm Beach, always talkative.
16   the phone ring in there and you would pick it up   16        Q. What kind of things did you talk about?
17   in there?                                          17        A. How are you doing and everything, but
18       A. Yes, I will take the information and        18     cheerful person, you know, nothing specific, but
19   transfer to this, this was in the main house.      19     she will always greet me cheerfully, nice person
20       Q. Okay. But the phone would ring in the       20     to be around.
21   staff house?                                       21        Q. Did she go to school, did she have
22       A. Yes.                                        22     another job?
23       Q. So as we sit here today you have no         23        A. I think she was a professional masseuse.
24   explanation as to why someone else is writing down 24        Q. Now, it was your understanding that
25   messages on this pad?                              25     generally the girls who came to the house for

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                                                Page 86                                                      Page 88
 1   massages were not professional masseuses. Is that     1      A. Correct.
 2   correct?                                              2      Q. Do you recall who Lesley Wexner is?
 3         MR. CRITTON: Form.                              3      A. He's the owner of Victor Secret, the
 4         THE WITNESS: I don't know, sir.                 4   Limited.
 5   BY MR. MERMELSTEIN:                                   5      Q. Okay. What was his association with Mr.
 6      Q. How do you know Johanna was a                   6   Epstein?
 7   professional?                                         7      A. He was Mr. Epstein's boss.
 8      A. She tell me all the time that she was           8      Q. He was Mr. Epstein's boss?
 9   coming from another work so she -- or she will        9      A. Yes.
10   mention that I have to leave because I have to be    10      Q. How did you know that?
11   in another place.                                    11      A. I think it's public domain through
12      Q. Okay. But you mentioned that she was a         12   internet I did my research who he was.
13   professional masseuse, that indicated to me that     13      Q. Okay. Before you went to work for Mr.
14   your understanding was that the others may not       14   Epstein you did your research of who he was?
15   have been professional masseuses.                    15      A. No.
16         MR. CRITTON: Form.                             16      Q. At what point did you do your research?
17         THE WITNESS: I think she was more busy         17      A. During working you get curious so you
18       than the others giving masseuse -- massage.      18   went to Google the name and it's there.
19   BY MR. MERMELSTEIN:                                  19      Q. So you would Google the names --
20      Q. Again, why do you say that the others          20      A. Lesley Wexner.
21   were not busy giving massages?                       21      Q. In other words, you Google names
22      A. They didn't have the scheduled                 22   generally of --
23   appointments like Johanna did.                       23      A. No, not necessarily, not all the time,
24      Q. How do you know that?                          24   but he used to call all the time and so I want to
25      A. Johanna was always -- let's say I need to      25   know who this gentleman was.

                                                Page 87                                                      Page 89
 1   leave by five, and she will leave at five. Like I     1      Q. Did you Google Jean-Luc?
 2   mentioned, she was, you know, probably she was        2      A. No.
 3   going to have a kid in two months or something        3      Q. Okay. You talked to him that's --
 4   like that because she was like --                     4      A. It never occurred to me, sir.
 5       Q. How do you know the other girls didn't         5      Q. Who else do you recall Googling?
 6   have appointments of that nature?                     6      A. Prince of -- Prince Andrew, or Barak, the
 7       A. They seemed more relaxed, sir.                 7   Prime Minister of Israel because he used to call.
 8       Q. Go to the message dated December 7, 2004.      8   Donald Trump.
 9   Do you see that on the upper left?                    9      Q. Go to the next page, there is a message
10       A. Yes.                                          10   dated December 9th from Ms. Svetlana.
11          MR. CRITTON: That's page 17.                  11      A. Yes.
12          MR. MERMELSTEIN: Thank you.                   12      Q. Who is that?
13          MR. CRITTON: Who is it just so I know         13      A. I don't know.
14        because there is others December 7th?           14      Q. You don't recall?
15          MR. MERMELSTEIN: I'm sorry, N.                15      A. No.
16          MR. CRITTON: That's page 18.                  16      Q. Do you recall a masseuse by the name of
17   BY MR. MERMELSTEIN:                                  17   Svetlana?
18       Q. You took that message. Correct?               18      A. I don't recall that, sir, I don't
19       A. Yes.                                          19   remember.
20       Q. Do you recall who N. is?                      20      Q. You look at the next page there is a
21       A. No, I don't remember, sir.                    21   message on the upper left corner with the name
22       Q. And the message next to it is Lesley          22   redacted again. Do you see that?
23   Wexner. Is that correct?                             23      A. Yes, sir.
24       A. Yes.                                          24      Q. That's a message you took?
25       Q. And that's your signature as well?            25      A. Yes.

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                                                 Page 90                                                     Page 92
 1     Q. Is that C. again?                                 1   as well?
 2     A. It looks like it is, sir.                         2      A. What happened, she being too close to Mr.
 3     Q. So that was a message from C.?                    3   Epstein she will -- it's no big deal to take a
 4     A. Yes.                                              4   message, but I mean, I was the only one who
 5     Q. You don't recall what she was calling             5   supposed to take message, but I don't know, for
 6   about on December 15, 2004?                            6   instance, who took this message, who wrote it, I
 7     A. No, sir.                                          7   don't know.
 8     Q. If you look at a message dated January 8,         8      Q. You're referring to the message from
 9   2005.                                                  9   Nadia?
10         MR. CRITTON: In the upper left hand             10      A. Nadia, yes.
11       corner?                                           11      Q. So I'm trying to understand when you said
12         MR. MERMELSTEIN: Yes.                           12   that she was a coordinator.
13         MR. CRITTON: I think it's page 25.              13      A. She will give me sometimes orders, like
14         MR. MERMELSTEIN: Right.                         14   Alfredo, can you give me ice cream, or send me to
15   BY MR. MERMELSTEIN:                                   15   the store, or buy some clothes.
16     Q. Ms. Amya?                                        16      Q. Okay. Did the other girls who would fly
17     A. Yes.                                             17   with Mr. Epstein and stay in the house, would they
18     Q. Who is that?                                     18   give you orders as well?
19     A. A friend and acquaintance, sir.                  19      A. No.
20     Q. The message next to it is from Nadia.            20      Q. Okay. But it was your understanding that
21     A. Yes.                                             21   she was -- that you were supposed to follow her
22     Q. Who is Nadia?                                    22   orders. Correct?
23     A. Mr. Epstein girlfriend.                          23      A. I knew it was coming from the boss.
24     Q. Okay. Nadia Marcenacova?                         24      Q. Okay. And how did you know that?
25     A. Yes.                                             25      A. Because she told me.

                                                 Page 91                                                     Page 93
 1      Q. And when you say girlfriend, what do you         1      Q. Okay.
 2   mean by that?                                          2      A. Mr. Epstein says he wants you to do this.
 3          MR. CRITTON: Form.                              3   I didn't contest that so I will do that.
 4          THE WITNESS: She used to be more times          4      Q. Okay. Did she have her own bedroom or
 5        than the other girls with her -- with him.        5   did she sleep in the master bedroom?
 6   BY MR. MERMELSTEIN:                                    6      A. She used to have her own bedroom.
 7      Q. Would she arrive on a plane with Mr.             7      Q. Okay. I'm not sure what page this is but
 8   Epstein?                                               8   there is a message dated January 11, 2005. Do you
 9      A. Yeah.                                            9   see that?
10      Q. And the time that you worked for Mr.            10      A. Yes.
11   Epstein how often was Nadia with him?                 11      Q. That's your signature. Correct?
12      A. Half the time I would say.                      12      A. Yes, sir.
13      Q. Did you ever have a discussion with her         13      Q. From Cecilia, the New York office.
14   or talk to her about personal matters?                14      A. Yes.
15      A. No.                                             15      Q. Who is that?
16      Q. Did she have any duties or functions at         16      A. Cecilia is another secretary, she works
17   the house?                                            17   in the New York office.
18      A. For awhile she was like a coordinator or        18      Q. Would you have any contact or interaction
19   assistant or something.                               19   with Cecilia?
20      Q. What did she coordinate?                        20      A. She used to call me sometimes when Lesley
21      A. Phone calls.                                    21   was not available.
22      Q. Would she take messages like you would?         22      Q. Okay. And so it was your understanding
23      A. Yeah, sometimes.                                23   she worked under Lesley?
24      Q. Okay. So again, I'm a little confused.          24      A. Yes.
25   So she was authorized to take -- to give messages     25      Q. What was her last name?

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                                                Page 94                                                     Page 96
 1       A. I don't remember, sir.                         1      Q. Okay. Do you recall on any occasion who
 2       Q. The next page is a message in the upper        2   would travel with him to the Virgin Islands?
 3   left dated January 13, 2005, from C.W. Correct?       3          MR. CRITTON: Form.
 4       A. Yes.                                           4          THE WITNESS: No, sir.
 5       Q. That's the same C. that we've been             5   BY MR. MERMELSTEIN:
 6   talking about. Correct?                               6      Q. I think we were talking about the money
 7       A. Yes.                                           7   before, the household account, sometimes you gave
 8       Q. That was at 7:30 p.m. Correct?                 8   gifts?
 9       A. Yes.                                           9      A. Yes, I was told to buy some gifts.
10       Q. And you don't recall what that particular     10      Q. For whom?
11   call was about. Right?                               11      A. For the guests.
12       A. No, sir.                                      12      Q. Okay. And what kind of gifts?
13       Q. The message dated January 20, 2005, from      13      A. Shoes, sweaters, clothes.
14   Maria. Do you see that on the bottom right?          14      Q. So were you instructed to buy something
15       A. Yes.                                          15   in particular at a particular store?
16       Q. Do you know who that is?                      16      A. They would go to the store, if they like
17       A. I think I have a different page.              17   something I will go after and pay them and
18       Q. You're a little ahead of me. January 20,      18   retrieve it.
19   2005.                                                19      Q. Okay. So would this be a girl who was
20          MR. CRITTON: I think that's page 31.          20   staying at the house?
21          THE WITNESS: I don't remember who she         21      A. Yes.
22        was, sir.                                       22      Q. Okay. This was one of the girls who
23   BY MR. MERMELSTEIN:                                  23   travelled with Mr. Epstein to Palm Beach.
24       Q. You don't recall what that message was        24   Correct?
25   about?                                               25      A. Yes.

                                                Page 95                                                     Page 97
 1      A. No, sir.                                        1       Q. And so Mr. Epstein would instruct you to
 2      Q. What about the next page there is a             2   go shopping with this girl?
 3   message that Eva called?                              3       A. Yes.
 4      A. Yes.                                            4       Q. And instructed you to pay for whatever it
 5      Q. Dated January 21, 2005?                         5   is she wanted to buy?
 6      A. Yes.                                            6       A. Yes.
 7      Q. Do you know who Eva is?                         7       Q. Was there a price limit or anything of
 8      A. Yes.                                            8   that nature?
 9      Q. Who is Eva?                                     9       A. No, sir.
10      A. The assistant comptroller from the New         10       Q. So when the girl decided what she wanted
11   York office.                                         11   you would --
12      Q. Do you remember her last name?                 12       A. I would write them a check.
13      A. Polish last name I guess. She was              13       Q. In that instance you would pay by check?
14   Russian. She is Russian actually.                    14       A. Yes.
15      Q. Did you ever travel to any other               15       Q. Any other instances where you gave gifts
16   residences that Mr. Epstein had?                     16   to girls at the instruction of Mr. Epstein?
17      A. No.                                            17       A. No. I was just told, you know, when they
18      Q. Are you aware he had a residence in the        18   told me I will buy the item.
19   Virgin Islands?                                      19       Q. I'm sorry?
20          MR. CRITTON: Form.                            20       A. You know, when I was told to purchase
21          THE WITNESS: Yes.                             21   this item for them, you know, I will do that, but
22   BY MR. MERMELSTEIN:                                  22   not on any other occasions.
23      Q. And would he sometimes travel to that          23       Q. What do you mean not in any locations?
24   residence from Palm Beach?                           24       A. Any other occasions.
25      A. Yes.                                           25       Q. Not any other occasions. Okay. Did you

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                                                   Page 98                                                     Page 100
 1   ever buy flowers for a girl?                             1      Q. Now, you said you never went inside the
 2      A. Yes, sir.                                          2   theatre?
 3      Q. Tell me about that.                                3      A. No, sir.
 4      A. I was told to buy flowers and roses for a          4      Q. Okay. How did you get to the flower
 5   girl performing in high school.                          5   store?
 6      Q. Which girl was that?                               6      A. I called the girl to her cell and she
 7      A. I don't remember the name, sir.                    7   will come to the back door and I give her the
 8      Q. What was Mr. Epstein's relationship to             8   flowers.
 9   this girl?                                               9      Q. Was anyone else around at the time?
10          MR. CRITTON: Form.                               10      A. No, sir.
11          THE WITNESS: I think she was an                  11      Q. And you mentioned this was a girl you had
12        acquaintance, friend.                              12   seen before?
13   BY MR. MERMELSTEIN:                                     13      A. Yes.
14      Q. She was a friend?                                 14      Q. Was this girl who had come to give
15      A. Yes, sir.                                         15   massages to Mr. Epstein?
16      Q. Now, she was performing at the high               16          MR. CRITTON: Form.
17   school in what capacity?                                17          THE WITNESS: I don't know if she was
18      A. There was like a -- like a play in the            18        doing massages but she was at the house.
19   graduation for high school.                             19   BY MR. MERMELSTEIN:
20      Q. A play for graduation?                            20      Q. What would she have been there for?
21      A. Yes, in the high school theatre there was         21      A. To visit him.
22   some kind of performance.                               22      Q. This was a high school girl who was
23      Q. Was it like a theatre production?                 23   coming to visit Mr. Epstein at the house?
24      A. Yeah, something like that. I didn't go            24      A. She came to the house, I open the door
25   inside so I didn't know what was going on inside.       25   and I left, you know.

                                                   Page 99                                                     Page 101
 1      Q. Why do you say it was for graduation?              1       Q. Did you take her to the kitchen like you
 2      A. Because everybody was the graduation               2   did --
 3   outside, there were parents, there were a lot of         3       A. Yes.
 4   people at the school.                                    4       Q. So you brought her to the kitchen just
 5      Q. Okay. A lot of high schools have theatre           5   like you did for the girls who gave him massages.
 6   production companies and they put on plays.              6   Correct?
 7   Correct?                                                 7       A. Yes, sir.
 8          MR. CRITTON: Form.                                8       Q. Did you ever pay her?
 9          THE WITNESS: It was towards the end of            9       A. I don't remember, sir, but probably I
10        the year. Well, I think I overheard that           10   did.
11        there was a graduation performance of some         11          MR. CRITTON: Form, move to strike,
12        kind.                                              12        speculation.
13   BY MR. MERMELSTEIN:                                     13   BY MR. MERMELSTEIN:
14      Q. But you didn't go in so you don't know?           14       Q. Why do you say you probably did?
15      A. No, sir.                                          15       A. Because I was the only one paying --
16      Q. But this was a high school student you            16   well, not the only one but, you know, but chances
17   were bringing the flowers to. Is that correct?          17   are I paid her but I don't remember that
18      A. Yes.                                              18   particular instance that I gave her money.
19      Q. Had you seen this girl before at the El           19       Q. Is it fair to say that the girls who came
20   Brillo Way property?                                    20   to the Palm Beach residence, these are not the
21      A. Yes, sir.                                         21   girls who are staying there, the girls who came --
22      Q. You had seen her a number of times?               22   were there to give massages. Correct?
23      A. Yes, sir.                                         23          MR. CRITTON: Form.
24      Q. Do you recall her name?                           24          THE WITNESS: Yes.
25      A. I don't remember her name, sir.                   25   BY MR. MERMELSTEIN:

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 1      Q. And to the extent that this girl had come        1   masseuse -- they get a massage or they went to --
 2   to the estate that's most likely what it would         2   I don't know what they did. Anything that
 3   have been for, to give a massage. Correct?             3   happened upstairs in the house we didn't know it.
 4          MR. CRITTON: Form.                              4   I'm talking we the staff.
 5          THE WITNESS: I didn't see the massage           5      Q. Okay. But this girl who you gave the
 6        was occurring, sir.                               6   flowers to was a girl that came to the front door
 7   BY MR. MERMELSTEIN:                                    7   and you brought into the kitchen and Sarah then
 8      Q. I understand that. But can you think of          8   met her there. Correct?
 9   any other reason why this girl would have come to      9      A. Yes.
10   the Palm Beach residence?                             10      Q. Just like the girls who would come for
11          MR. CRITTON: Form.                             11   massages. Correct?
12          THE WITNESS: To visit, you know. You           12      A. Yes.
13        can get visits from these ladies so I don't      13      Q. As we sit here today you don't know of
14        know if they were giving the massage to be       14   any girls who just came to visit for no other
15        honest to you because if I say all the girls     15   reason other than to visit?
16        who gave a massage that would be -- I don't      16          MR. CRITTON: Form.
17        know, I don't think.                             17          THE WITNESS: For me they were visitors
18   BY MR. MERMELSTEIN:                                   18       as I treat as a massage, you know. And like
19      Q. Were there high school girls who just           19       I say, I cannot say so and so came just for
20   came to visit him?                                    20       this or this purpose.
21          MR. CRITTON: Form.                             21   BY MR. MERMELSTEIN:
22          THE WITNESS: I don't know if they were         22      Q. Did you ever recall any of these girls
23        in high school, sir, except this one that I      23   saying that they were coming to work?
24        give flowers.                                    24          MR. CRITTON: Form.
25   BY MR. MERMELSTEIN:                                   25          THE WITNESS: No, sir.

                                                Page 103                                                   Page 105
 1      Q. Okay. Were there girls who just came to          1   BY MR. MERMELSTEIN:
 2   visit and then came and then left during the same      2      Q. Did you ever refer to that term or
 3   day? Who weren't there to perform any service?         3   expression, do you recall any girl ever using
 4      A. I'm sorry?                                       4   that?
 5      Q. Were there girls who just came to visit          5      A. No.
 6   who weren't there to perform any service during        6      Q. Do you recall any girl ever calling the
 7   the course of a day?                                   7   house and saying she wanted to work?
 8          MR. CRITTON: Form.                              8      A. No, sir, I don't remember.
 9          THE WITNESS: Yes, there were masseuses.         9      Q. You don't recall that?
10   BY MR. MERMELSTEIN:                                   10      A. No.
11      Q. Masseuses came there to give a service;         11         MR. MERMELSTEIN: All right. Let's take
12   didn't they?                                          12       a break.
13      A. Yes.                                            13         (Thereupon, a recess was had.)
14      Q. Was there any girls who came to the Palm        14         THE VIDEOGRAPHER: Back on the record
15   Beach residence just to visit, not to perform a       15       with tape number three.
16   service during the course of a day?                   16   BY MR. MERMELSTEIN:
17          MR. CRITTON: Form.                             17      Q. Mr. Rodriguez, at some point --
18          THE WITNESS: I don't know, sir. I don't        18         (Thereupon, an interruption was had.)
19        know.                                            19   BY MR. MERMELSTEIN:
20   BY MR. MERMELSTEIN:                                   20      Q. Mr. Rodriguez, at some point you spoke to
21      Q. You don't recall that ever happening; do        21   a Palm Beach Police Detective.
22   you?                                                  22      A. Yes.
23      A. Well, sir, I brought them into the house,       23      Q. Is that correct?
24   my duties was to call Sarah, Sarah will get them      24      A. Yes.
25   from the kitchen. I don't know if they get a          25      Q. He was asking you questions about Mr.

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 1   Epstein?                                                 1   among them contractors. And because this is five
 2       A. Yes.                                              2   years ago, you know, I don't exactly remember
 3       Q. And you had an interview with him?                3   that.
 4       A. Yes.                                              4       Q. Okay. Did you include in this list of
 5       Q. Did you also hand him documents at some           5   people who came into the house the girls who had
 6   point?                                                   6   come to give massages?
 7       A. Yes.                                              7       A. Probably there were some names there,
 8       Q. What did you give to him?                         8   sir.
 9       A. I'm sorry?                                        9       Q. Why were there only some names?
10       Q. What did you give to him? What did you           10           MR. CRITTON: Form.
11   hand him?                                               11           THE WITNESS: Because it was an informal
12       A. A list of -- let me -- it was a list of          12        list, you know, it was not like A to Z
13   -- it was like a yellow, what you call it, pad          13        thing, I just write it down sometimes.
14   like that, my own writings of contractors, people       14   BY MR. MERMELSTEIN:
15   who used to go there and phones.                        15       Q. Did Sarah Kellen or Mr. Epstein or
16          And I don't remember exactly what I give         16   Ms. Maxwell instruct you to maintain a list of the
17   him but, you know, I have it with me and say can I      17   people who came into the house?
18   have them and say can I borrow them and to this         18       A. No, I do this, this is my job, you know.
19   day I gave it to Detective Joe something.               19   I do this in another place I used to work to have
20       Q. Was it Detective Recarey?                        20   those telephone numbers handy because it's
21       A. Yes.                                             21   basically day to day, you know, you want to have
22       Q. Okay. Was this a journal of some kind            22   some reference.
23   that you maintained?                                    23       Q. Okay. So this list included a person's
24       A. Not necessarily, no. It was just my own          24   name?
25   notes and I had it with me so he asked me can I         25       A. Yes.

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 1   borrow this from you.                                    1      Q. And their telephone number?
 2      Q. You had it with you?                               2      A. Yes.
 3      A. Yes.                                               3      Q. Did it have any other information?
 4      Q. With you for what; your interview?                 4      A. I don't remember.
 5      A. No, because I was subpoena with the                5      Q. How many pages was it? You mentioned it
 6   District Attorney and I had some notes and so I          6   was like a legal pad?
 7   had it with me.                                          7      A. Yes. I put it in the file probably,
 8      Q. So you brought the notes with you to the           8   there were four or five pages.
 9   interview?                                               9      Q. Was it single spaced, you had a name and
10      A. Yes.                                              10   a phone number on each line?
11      Q. Okay. And when you were there you were            11      A. Yeah, they were single spaced.
12   interviewed -- and this is the interview you            12      Q. Did you write anything about who that
13   mentioned was tape recorded?                            13   person was, what their relationship to Mr. Epstein
14      A. Yes.                                              14   was?
15      Q. And when you arrived for the interview            15      A. No.
16   during the course of the interview did Mr. Recarey      16      Q. Just a name and a phone number?
17   ask you to hand over these papers?                      17      A. A name and phone number and sometimes
18      A. He saw me going through my papers and             18   dates.
19   said can I have those.                                  19      Q. What were the dates for?
20      Q. And you handed it to him right there?             20      A. It was for me to know that this person
21      A. You know, I was -- yes.                           21   was in the house a week ago.
22      Q. Okay. And describe again what was on              22      Q. Okay. So it indicated when they were
23   these papers.                                           23   there?
24      A. As far as I remember they were my                 24      A. These people were familiar because I was
25   personal notes of people coming to the house,           25   in charge of security, I need to see if these

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 1   people, they were sometimes, you know, you need to     1   information on this pad? If someone came to the
 2   have some kind of reference to yourself because        2   front door you would escort them to the kitchen.
 3   you have too many information in your head, so it      3   Correct? What point would you get their name and
 4   was like a cross reference for me that these           4   phone number?
 5   people were in the house before so I used to jot       5           MR. CRITTON: Form.
 6   around telephone numbers and names.                    6           THE WITNESS: At the end of each day I
 7      Q. And this was a reference you kept for            7        will have to prepare stuff for the next day
 8   yourself?                                              8        so I will always make this is what happened
 9      A. Yes, it was personal.                            9        today because sometimes it's very hectic so
10      Q. Okay. And that way if you were ever             10        I make notes for tomorrow, this is what
11   asked by Mr. Epstein or Ms. Kellen or Ms. Maxwell     11        we're going to do, so I used to for my own
12   about someone who had come into the house you         12        information give these numbers and names,
13   would have it on your pad?                            13        like I said, they were not only masseuses
14      A. Yes.                                            14        they were, you know, names of contractors
15      Q. Were there entries there for each day           15        that need to get back in the house. Notes
16   that people came?                                     16        for myself that was basically instead of
17      A. No, not necessarily.                            17        having a personal computer I used to have
18      Q. People come to the house every day.             18        that.
19   Right?                                                19   BY MR. MERMELSTEIN:
20      A. Yes.                                            20      Q. When you came to the front door to let
21      Q. And on some occasions it was the first          21   someone in you had to enter the code on the wall.
22   time they were there. Correct?                        22   Correct?
23      A. Yes.                                            23      A. Yes.
24      Q. And you would write down their name and         24      Q. Did you have in your hand something to
25   phone number?                                         25   write with and a pen?

                                                Page 111                                                  Page 113
 1          MR. CRITTON: Form.                              1          MR. CRITTON: Form.
 2          THE WITNESS: Yes.                               2          THE WITNESS: No, that was kept in the
 3   BY MR. MERMELSTEIN:                                    3        staff house.
 4      Q. As you indicated this would include girls        4   BY MR. MERMELSTEIN:
 5   who came for massages. Correct?                        5      Q. The note pad you're referring to --
 6      A. Yes.                                             6      A. I used to have my own office, I used to
 7      Q. And wouldn't the list have been longer           7   keep these in my office.
 8   than four or five pages if it recorded all this        8      Q. Okay. Well, I'm trying to -- obviously,
 9   information about who was coming into the house?       9   someone who walked into the house you escorted
10          MR. CRITTON: Form.                             10   them into the kitchen. Correct?
11          THE WITNESS: I don't remember, sir, to         11      A. Yes.
12        be honest with you. He probably have it in       12      Q. You didn't memorize their name and phone
13        his possession but --                            13   number at that point?
14   BY MR. MERMELSTEIN:                                   14      A. No, but I used to go and write it down.
15      Q. Okay. So it could have been longer than         15      Q. Okay. They would give it to you and you
16   four or five pages; is that what you're saying?       16   would go and write it down?
17          MR. CRITTON: Form.                             17      A. No, no, no. I would escort this lady or
18          THE WITNESS: Yes.                              18   this person into the house, go to my staff house
19   BY MR. MERMELSTEIN:                                   19   in my office and write it down.
20      Q. It's in Detective Recarey's possession?         20      Q. Okay. But you wouldn't write down her
21      A. Yes.                                            21   telephone number as she gave it to you?
22      Q. Or you haven't seen it since you gave it        22      A. No.
23   to him?                                               23      Q. You would memorize it then write it down
24      A. No.                                             24   when you got to the staff house?
25      Q. Okay. Now, when would you write down the        25      A. I would get it from this.

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                                                Page 114                                                     Page 116
 1      Q. You would get it from the message pad?           1       must have been cut off by the lightening
 2      A. Yeah. Then I will match the name with            2       strike, I'm not aware of Exhibit 2.
 3   the number as a source of information for me           3          MR. MERMELSTEIN: It's just a compilation
 4   because if somebody walks into the house and says,     4       of papers that I've handed him.
 5   I'm Maria, how you going to know really -- it was      5          MR. WILLITS: Okay.
 6   a source of -- it was a tool for making my job         6          MR. CRITTON: The question is did he give
 7   easier.                                                7       any of the documents in Exhibit 2 to
 8      Q. Okay. So if someone walks in the house           8       Detective Recarey?
 9   and says they're Maria, then you could always          9          MR. MERMELSTEIN: Yes.
10   cross reference them with a message?                  10          THE WITNESS: I believe there were these
11      A. Yes.                                            11       notes.
12      Q. Okay. It would always be a message              12   BY MR. MERMELSTEIN:
13   indicating their name and phone number on it?         13      Q. Okay. I got to go through this exercise
14      A. Yes.                                            14   because it was helpful on Exhibit 1, but I'm going
15          MR. CRITTON: Form.                             15   to number the pages.
16   BY MR. MERMELSTEIN:                                   16          MR. CRITTON: You got twelve pages. Is
17      Q. And then you would take that and put it         17       that right?
18   on your pad?                                          18          MR. MERMELSTEIN: Yes.
19      A. Yes.                                            19   BY MR. MERMELSTEIN:
20      Q. Okay. So if I understand the                    20      Q. Okay. You started to say that you did
21   progression, you would -- the person would come to    21   turn over certain of the pages in this Exhibit 2
22   the door, you would escort them into the kitchen,     22   to Mr. Recarey and you're referencing page five?
23   they would say I'm Maria, you would then at some      23      A. Yes.
24   point during the day you would go to your message     24      Q. Okay. And what about page six?
25   pad that we looked at was Exhibit 1, you would see    25      A. Yes.

                                                Page 115                                                     Page 117
 1   there was a message with the name Maria and her        1      Q. Any other pages in this exhibit?
 2   phone number and then you would write it down on       2      A. No.
 3   your yellow pad?                                       3      Q. Okay. Do you recall giving him anything
 4      A. Yes.                                             4   other than these two pages out of your note pad?
 5      Q. Okay. Did I misstate anything there in           5      A. I don't remember, sir.
 6   terms of how it went?                                  6      Q. Let's look at what's on pages five and
 7      A. No.                                              7   six. What's this referring to? Is that your
 8      Q. Okay. You didn't keep a copy of this             8   handwriting? I'm sorry, strike the first
 9   when you gave it to Detective Recarey?                 9   question.
10      A. No.                                             10          Is this your handwriting on page five?
11      Q. Were there any other papers or documents        11      A. At the bottom is.
12   that you gave to Detective Recarey?                   12      Q. The reference to Dollar Rent a Car?
13      A. There was some other stuff but I don't          13      A. Yes.
14   remember exactly, you know, they were notes that I    14      Q. That's your handwriting?
15   have. Nothing I don't think fan notes or anything     15      A. Yes.
16   of that.                                              16      Q. The handwriting on top is not yours?
17          MR. MERMELSTEIN: Let me mark this as the       17      A. No.
18        next Exhibit 2.                                  18      Q. What's the reference to Dollar Rent a
19          (Exhibit 2 was marked for                      19   Car, what's that there?
20   Identification.)                                      20      A. I rent a car for -- for one of the girls,
21   BY MR. MERMELSTEIN:                                   21   and the rental car was only because when you go
22      Q. Take a look through Exhibit 2 and let me        22   over a month you have to go into a lease contract
23   know if there is any papers or documents in here      23   so the Dollar Rent a Car Company contact me to
24   that you gave to Detective Recarey.                   24   renew that and I can have the car for another
25          MR. WILLITS: This is Richard Willits. I        25   month.

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                                                 Page 118                                                    Page 120
 1      Q. Who was the girl that you rented the car          1      A. No, I don't think so.
 2   for?                                                    2      Q. Okay. Did you have an understanding as
 3      A. I don't remember, sir.                            3   to why Mr. Epstein was renting a car for A.?
 4      Q. If you look at page six, is this your             4      A. No, sir.
 5   handwriting?                                            5      Q. And you understood it was a rental for
 6      A. No.                                               6   over a month. Correct?
 7      Q. That's not your handwriting?                      7      A. Yes.
 8      A. No.                                               8      Q. Now, as I understand, she already had the
 9      Q. Is it Mr. Epstein's handwriting?                  9   car. Correct?
10          MR. CRITTON: Form.                              10      A. Yes.
11          THE WITNESS: I don't think so.                  11      Q. So you just had to go to the rent a car
12   BY MR. MERMELSTEIN:                                    12   place, the Dollar Rent a Car and do the paperwork.
13      Q. Is it Sarah Kellen's handwriting?                13   Is that correct?
14      A. Could be, I'm not sure, sir.                     14      A. Yes.
15      Q. Explain to me what is on page six, what's        15      Q. Okay. So they didn't have to see the car
16   that information?                                      16   again, you didn't have to bring it back?
17          MR. CRITTON: Form. Do you want him to           17      A. No.
18        read what's there? Form.                          18      Q. So, with respect to what's on this page
19          THE WITNESS: To get an extension the            19   six of Exhibit 2, your contact with A. was to hand
20        rental car for another month because it was       20   her the flowers. Correct?
21        not lease it was rental. Then buy bucket of       21      A. Yes.
22        roses from Royal Palm Beach and deliver it        22      Q. Okay. You didn't need her for purposes
23        to Royal Palm Beach High School, here's the       23   of re-renting the car. Correct?
24        name, A.                                          24      A. No.
25   BY MR. MERMELSTEIN:                                    25      Q. Did you go with her to rent the car in

                                                 Page 119                                                    Page 121
 1       Q. So A. would be the girl who you delivered        1   the first instance?
 2   the flowers to?                                         2      A. No, I brought it to the house.
 3       A. Yes.                                             3      Q. Okay. You rented the car and brought it
 4       Q. The girl you testified earlier that you          4   to the house. Correct?
 5   delivered flowers to the high school performance.       5      A. Yes.
 6   Correct?                                                6      Q. Did you list her as a driver on the
 7       A. Yes.                                             7   application?
 8       Q. That was only one time you ever did that.        8      A. I don't remember, sir.
 9   Correct?                                                9      Q. But it's your understanding that only she
10       A. Yes.                                            10   was driving the car. Correct?
11       Q. So this A. must be that girl. Correct?          11      A. Yes.
12       A. Yes.                                            12      Q. Let me go to some of the other pages in
13       Q. Now, there is a one and a two here,             13   this exhibit. If you look at page one, that's
14   number one is it appears that it's whited out but      14   your signature on this check?
15   it says A. car. Is that correct?                       15      A. Yes.
16       A. Yes.                                            16      Q. And this Colonial Bank, is that the
17       Q. Okay. Extension one month. Is that what         17   account where the house account was located?
18   you were just referring to?                            18      A. Yes.
19       A. Yes.                                            19      Q. As you indicated you were a signatory on
20       Q. So it would appear to be the same girl          20   that account and so was Ghislaine Maxwell?
21   you gave the flowers to you extended the rent a        21      A. Yes.
22   car for?                                               22      Q. Okay. And is this how you would obtain
23       A. Yes.                                            23   generally cash from the account, you would write a
24       Q. Was there any other girls that you rented       24   check to cash?
25   cars for while you were --                             25      A. Yes.

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                                                  Page 122                                                   Page 124
 1      Q. I see on this page two you endorsed the            1          MR. CRITTON: Form.
 2   check. Correct?                                          2          THE WITNESS: Probably it came from
 3      A. Yes.                                               3        another account, sir, but I don't know.
 4      Q. And then there is another page three of            4   BY MR. MERMELSTEIN:
 5   the check dated December 8, 2004. Correct?               5      Q. I'm sorry, a what?
 6      A. Yes.                                               6      A. Another account, but the amount why is
 7      Q. And that's also a thousand dollars?                7   that odd, I don't know.
 8      A. Yes.                                               8      Q. You don't recall the reason for that
 9      Q. And one of the uses of this cash would be          9   particular amount?
10   to pay the girls who came to give massages.             10      A. No.
11   Correct?                                                11      Q. And the next, 9,747.32, you don't recall?
12          MR. CRITTON: Form.                               12      A. No.
13          THE WITNESS: Yes.                                13      Q. Okay. Was there like a minimum which
14   BY MR. MERMELSTEIN:                                     14   would trigger you to say I need more money in that
15      Q. That's your endorsement on page four of           15   account?
16   this exhibit. Correct?                                  16      A. Below 2,000, yes, I would have to call
17      A. Yes.                                              17   for more money.
18      Q. Exhibit 2?                                        18      Q. Below 2,000 was the rule. Correct?
19      A. Yes.                                              19      A. Yes, more or less, sir.
20      Q. The page 7 through 11 appear to be                20      Q. Okay. Just look at the last page of the
21   statement history or statement list. Do you see         21   exhibit. Again, is that your handwriting?
22   that?                                                   22      A. Yes.
23      A. Yes.                                              23      Q. On the upper left where it says check
24          MR. CRITTON: Form.                               24   written by Alfredo Rodriguez --
25   BY MR. MERMELSTEIN:                                     25      A. Yes.

                                                  Page 123                                                   Page 125
 1      Q.   And this is for the account that --      1              Q. -- what's the first word there?
 2      A.   Household account.                       2              A. Last check written by.
 3      Q.   That's for the household account?        3              Q. Alfredo Rodriguez. I take it this is the
 4      A.   Uh-huh.                                  4           last check written while you were employed?
 5      Q.   Do you recall why this was printed out   5              A. Something like that, yes.
 6   or --                                            6              Q. Okay. But that's your handwriting?
 7          MR. CRITTON: Form.                        7              A. Yes, it is.
 8          THE WITNESS: I don't remember, sir.       8              Q. And this was a payroll check. Is that
 9   BY MR. MERMELSTEIN:                              9           correct?
10      Q. I notice there are some incoming wires    10              A. Yes.
11   indicated on this dated December 6th and        11              Q. For Jerome Pierre?
12   December 15th. I take it the account was funded 12              A. You know, why I wrote this is because he
13   through the incoming wires. Correct?            13           went until he become under the New York office
14      A. Yes.                                      14           jurisdiction so I didn't pay him after that.
15      Q. Would there be communication that more    15              Q. So he went to New York?
16   money is needed in the account, how would that  16              A. Yes.
17   work?                                           17              Q. And worked for Mr. Epstein?
18      A. I would call Bella in New York and she    18              A. No, no, he work here but his check came
19   would put money into that account.              19           from New York.
20      Q. Okay. Did you say how much you needed or 20               Q. Okay. Now, was it shortly after this
21   you just said you need more money?              21           that you left the employ of Mr. Epstein?
22      A. I will say the amount and she put in the  22              A. I left at the end of February.
23   money.                                          23              Q. Why did you leave?
24      Q. Okay. It seems to be an odd amount        24              A. The reason I was let go because they told
25   $13,551.17, how did you determine that?         25           me I took the wrong Suburban to Miami. Mrs.

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 1   Maxwell called me and said Jeffrey was upset           1          MR. CRITTON: Form of the last question
 2   because you took the wrong Suburban, and it was an     2        as to did he tell you.
 3   excuse to fire me.                                     3          THE WITNESS: No, no, he didn't. I kept
 4      Q. Okay. And Ms. Maxwell gave you the news?         4        getting checks but I knew I was no longer
 5      A. Yes.                                             5        with them.
 6      Q. You never spoke to Jeffrey Epstein about         6   BY MR. MERMELSTEIN:
 7   that?                                                  7      Q. Okay. But you continued to work until
 8      A. No.                                              8   the end of February?
 9      Q. By wrong Suburban I take it he had more          9      A. Yes.
10   than one?                                             10      Q. And this was sometime before that?
11      A. There were two identical black Suburbans.       11      A. Yeah.
12   One had XM radio the other one didn't.                12      Q. Two or three weeks before that?
13      Q. I see. By Suburban you mean Chevrolet           13      A. Could be two weeks, yeah.
14   Suburban?                                             14      Q. Have you had any occasion to speak to Mr.
15      A. Yes, sir.                                       15   Epstein after you've left his employ?
16      Q. SUV?                                            16      A. I called the office and I talk to Lesley
17      A. Yes.                                            17   but not Mr. Epstein.
18      Q. And you had instructions to take the one        18      Q. And what was your occasion to call the
19   with --                                               19   office and speak to Lesley?
20      A. Without the XM radio.                           20      A. I wanted to confirm that I work for him
21      Q. Without the XM radio.                           21   to put in my resume as a reference so Lesley wrote
22      A. But somehow, you know, they're both             22   a letter to me.
23   identical vehicles, you know.                         23      Q. Okay. So Lesley, again, she is in New
24      Q. And do you recall what you were doing on        24   York?
25   this trip with that Suburban?                         25      A. Yes.

                                                Page 127                                                   Page 129
 1      A. I went to my house to Miami.                     1       Q. And she wrote a letter of reference for
 2      Q. So you took it home for a weekend?               2   you at your request?
 3      A. More or less, yes.                               3       A. Yes.
 4      Q. That's when Mr. Epstein wasn't there?            4       Q. What about Mr. Epstein himself, did you
 5      A. He allowed me to go there while he was           5   ever speak to him after you left his employment?
 6   there and he find out that I took the wrong            6       A. No, never.
 7   Suburban.                                              7       Q. What about Sarah Kellen, did you ever
 8      Q. Okay. Was that unusual that he would             8   speak to her after that?
 9   allow you to go to Miami while he was there?           9       A. Never again.
10      A. No.                                             10       Q. Did any investigators contact you for Mr.
11      Q. Okay. Because I thought earlier you             11   Epstein after you left his employment?
12   testified --                                          12       A. Yes.
13      A. He arrived early one day and he wanted to       13       Q. Okay. Tell me about that.
14   have the Suburban there.                              14       A. They went to my house in Miami and they
15      Q. I see. So you didn't know he was going          15   tell me that they work for Mr. Jeffrey Epstein, so
16   to be in Palm Beach at the time?                      16   that we make a meeting in Miami Lakes at Don Shula
17      A. Sarah told me that it's not necessary you       17   Hotel, we spoke for a couple of hours.
18   have to be right here now but you can come here       18       Q. When was this?
19   later, and then they find out I have the wrong        19       A. This was in two years after that,
20   Suburban, something like that.                        20   probably -- 2005, I think.
21      Q. I see. And did he give you like a               21       Q. Well it was --
22   notice, two weeks?                                    22       A. No, no, I'm sorry, 2006. I left in '05
23      A. No, he told me at the end of the month --       23   and this started in 2006.
24   yeah, something like two or three weeks. He paid      24       Q. Okay. Do you recall when in 2006?
25   me for two months, I guess.                           25       A. I can call my wife but I don't remember

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                                                Page 130                                                   Page 132
 1   the month.                                             1      Q. And what do you recall telling them?
 2      Q. Now, why would your wife know?                   2      A. I told them that my job duties, the
 3      A. Because they knock on my door and, you           3   hours, if I remember any names, where did I go.
 4   know, say well we are the head of security Mr.         4      Q. Was this before or after you spoke to
 5   Epstein, and my wife knew where I work and             5   Detective Recarey?
 6   everything and so she called me.                       6      A. Before.
 7      Q. Where were you working at the time?              7      Q. About how long before?
 8      A. I had my own restaurant in Miami.                8      A. Three months before.
 9      Q. What was the name of your restaurant?            9      Q. And for your interview with Detective
10      A. El Cristol.                                     10   Recarey you were subpoenaed. Is that correct?
11      Q. El Cristol?                                     11      A. Yes.
12      A. Yes.                                            12      Q. Had you spoken to Detective Recarey or
13      Q. That's with a C?                                13   anyone from the Palm Beach Police before that
14      A. E-L C-R-I-S-T-O-L.                              14   time?
15      Q. Okay. And you own the restaurant?               15      A. No, he went to my house.
16      A. No, I sold it.                                  16      Q. Did these investigators tell you to
17      Q. But at the time you owned it?                   17   expect that you were going to get contacted by the
18      A. Yes, my wife and I.                             18   Palm Beach Police?
19      Q. So these two people knock on your door          19      A. No.
20   when your wife is there. Correct?                     20      Q. Did they tell you what you should say if
21      A. Yes.                                            21   you were interviewed about Mr. Epstein?
22      Q. And they say they're head of security for       22      A. No.
23   Mr. Epstein. Correct?                                 23      Q. Anything else you can recall them saying
24      A. Yes.                                            24   to you during this conversation during the meeting
25      Q. And do you know what their names were?          25   at the Don Shula Hotel?

                                                Page 131                                                   Page 133
 1      A. I don't remember, sir, right now.                1      A. No.
 2      Q. Okay. And then you met with them at the          2      Q. Did they make any kind of threat to you?
 3   Don Shula Hotel?                                       3      A. No, I don't believe so.
 4      A. Yes.                                             4      Q. You don't believe so?
 5      Q. For approximately two hours?                     5      A. No.
 6      A. Yes.                                             6      Q. Was there anything they knew about you
 7      Q. And what did you discuss?                        7   that you may have been surprised about?
 8      A. They ask me who I talk to and that Mr.           8      A. I'm sorry, what was that?
 9   Epstein wanted to offer me a lawyer, I declined        9      Q. Was there any information that they knew
10   because I was working there, I had nothing to do      10   about you that you were surprised they knew about?
11   with this. My wife told me this but, you know, I      11      A. No, no.
12   don't need a lawyer, why do I need a lawyer.          12      Q. Did you have any other meetings with
13      Q. Your wife told you you didn't need a            13   them?
14   lawyer?                                               14      A. I saw them twice.
15      A. Yeah, something to that, you know. They         15      Q. Okay. Once was at the Don Shula Hotel?
16   offered me because working for Mr. Epstein maybe I    16      A. Yes. And the other one we met I think
17   had something to do, anything, I haven't done         17   that was outside my house. He came into my house.
18   anything wrong so I said I declined.                  18      Q. Was that a planned meeting?
19      Q. Did they interview you about what you           19      A. No, he just -- my main gate told me that
20   observed while you were working at the house?         20   so and so is -- you know, so he was waiting at my
21      A. I'm sorry, what?                                21   house.
22      Q. Did they interview you about what you           22         MS. EZELL: I'm sorry, who told you?
23   observed while you were working at Mr. Epstein's      23         THE WITNESS: I have security at the
24   residence?                                            24       complex where I live and they told me that
25      A. Yes.                                            25       this gentleman was waiting for me.

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                                                 Page 134                                                    Page 136
 1         MS. EZELL: The main gate, is that what            1      Q. And your understanding of that was that
 2       you said?                                           2   was indefinite, that would last --
 3         THE WITNESS: Yes.                                 3      A. To this day I don't understand the extent
 4   BY MR. MERMELSTEIN:                                     4   of that but, you know, I think I did my job and
 5     Q. Okay. So that was an unplanned visit?              5   I'm out of it, you know.
 6     A. Yes.                                               6          At the moment when these people went to
 7     Q. That was after the meeting at the Don              7   ask me questions I thought I was bound with that
 8   Shula Hotel or before?                                  8   confidentiality agreement but because I was
 9     A. That was before.                                   9   subpoena in Palm Beach County and they asked me if
10     Q. So I understand the sequence, two men             10   you know this and this and the phone numbers, you
11   came to your door when your wife was there.            11   have to tell the truth.
12   Correct?                                               12      Q. All right. I understand. But you
13     A. Actually -- yes, yes, exactly. Then we            13   understand that a confidentiality agreement -- let
14   met at the Don Shula.                                  14   me strike that.
15     Q. So then you met at the Don Shula?                 15          I assume your understanding or is your
16     A. Yes.                                              16   understanding -- let me start again.
17     Q. And when did the man come to your house?          17          Is your understanding that under a
18     A. It was like two weeks before that or              18   confidentiality agreement if you're not outside of
19   something like that.                                   19   a subpoena, outside of a legal obligation to talk
20     Q. Two weeks before you met at the Don               20   with someone you weren't allowed to talk to anyone
21   Shula?                                                 21   about Mr. Epstein?
22     A. Yes.                                              22      A. Exactly.
23     Q. And what did you discuss when he came to          23      Q. When these investigators came to your
24   your house?                                            24   door did you have to verify that they in fact
25     A. The same questions I told the guy in Don          25   worked for Mr. Epstein?

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 1   Shula, and he sit down in a pad in my house and         1      A. They gave me all the information, they
 2   took notes who do I know, the phone numbers, if I       2   told me I'm the head of security for Mr. Epstein.
 3   talk to anybody. That was it.                           3      Q. Okay.
 4      Q. And you hadn't spoken to anybody about            4      A. They identified themselves with a name
 5   Mr. Epstein before that?                                5   and number and everything. I have probably for
 6      A. No.                                               6   awhile a business card, but I don't remember their
 7      Q. The man who came to your house, was he            7   names.
 8   one of the same men that you met with at the Don        8      Q. Okay. You think you still have the
 9   Shula Hotel?                                            9   business cards still?
10      A. Yes.                                             10      A. Yes.
11      Q. And you don't recall his name?                   11      Q. What about the confidentiality agreement,
12      A. No, sir.                                         12   do you still have that?
13      Q. Did he explain to you why he was                 13      A. No, that was kept with Mr. Epstein.
14   conducting this investigation and asking you these     14      Q. He didn't give you a copy?
15   questions and seeking information from you?            15      A. No.
16      A. No. He just wanted to know if I talked           16      Q. Did you have an employment contract?
17   to anybody outside the house. I was bound by a         17      A. No.
18   confidential agreement so I stick to that.             18      Q. Did you ever speak to any lawyer
19      Q. Okay. So you signed a confidentiality            19   representing Mr. Epstein?
20   agreement with Mr. Epstein?                            20      A. Yes.
21      A. Yes.                                             21      Q. Who did you speak to?
22      Q. Okay. When did you sign that?                    22      A. Jack Goldberger.
23      A. When I was hired.                                23      Q. When did you talk to Mr. Goldberger?
24      Q. And what did that agreement provide?             24      A. This was a year ago -- no, two years ago.
25      A. I shouldn't discuss anything, you know.          25      Q. Was this before or after you had spoken

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 1   to the detective --                                     1   speak with you?
 2      A. After.                                            2      A. Yes.
 3      Q. Let me finish the question. Was this              3      Q. So before you spoke with them you called
 4   before or after you spoke to Detective Recarey?         4   Mr. Goldberger?
 5      A. After.                                            5      A. Yes.
 6      Q. And what did Mr. Goldberger say to you,           6      Q. Why?
 7   what did you say to him?                                7      A. Because I wanted to see if I have any --
 8      A. I said to him the FBI is involved now and         8   I don't know, I didn't have a lawyer on my side, I
 9   I want to know what I'm supposed to do.                 9   wanted to see -- I feel like -- I don't know, I
10      Q. Did you contact Mr. Goldberger?                  10   needed legal advice and somehow I call him. I
11      A. Yes.                                             11   should have had my own attorney but, you know, he
12      Q. So he didn't call you, you called him?           12   said it's okay, you know, just speak the truth.
13      A. No, I called him.                                13      Q. Okay. Again, what else do you recall
14      Q. How did you know to call him?                    14   about the conversation that you had?
15      A. Because I looked in the yellow pages.            15      A. With Jack Goldberger?
16      Q. But you knew Mr. Epstein's lawyer was            16      Q. Yes.
17   Jack Goldberger?                                       17      A. That was very brief conversation, you
18      A. Yeah, exactly, because I was looking at          18   know, I ask him this and he said tell the truth.
19   the news. I read the Palm Beach Daily News every       19      Q. Was it by telephone?
20   day so I call him and then the FBI, very nice          20      A. Yes, by phone, I never met him in person.
21   people, they said they wanted to meet with me.         21      Q. And all you recall him telling you was
22      Q. Okay. So this is before you met with the         22   say the truth?
23   FBI agents you spoke with Jack Goldberger.             23      A. Yes.
24   Correct?                                               24      Q. And then you met with the FBI agents?
25      A. Yes.                                             25      A. Yes.

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 1      Q. Okay. And you knew Jack Goldberger was            1      Q. In Palm Beach?
 2   the attorney for Jeffrey Epstein because you read       2      A. In Palm Beach.
 3   that in the newspaper?                                  3      Q. And that was when you were working there?
 4      A. Yes.                                              4      A. I'm sorry?
 5      Q. Again, about how long ago was this?               5      Q. That was when you were working as a house
 6      A. That was -- I was working for the                 6   manager in Palm Beach?
 7   Hammond's so that was in 2006.                          7      A. Yes.
 8      Q. Okay. Had you received a grand jury               8      Q. Any other lawyers you speak to for Mr.
 9   subpoena?                                               9   Epstein?
10      A. No, no. We just -- they asked me, they           10      A. I contacted him.
11   went to my house again.                                11      Q. You contacted Mr. Critton?
12      Q. The FBI again?                                   12      A. Yes.
13      A. Yes. A male and female agents, my wife           13      Q. Okay. When did you do that?
14   told them I was working in Palm Beach and I            14      A. When I find out that Mr. Epstein was
15   couldn't leave so they wanted to meet me there.        15   going to be out and I say, well, I don't know if
16      Q. In Palm Beach?                                   16   anybody was going to contact me or something.
17      A. Yes.                                             17          Like I said before, you know, he was
18      Q. But you found out that they were looking         18   probably on my side that I want to know if I need
19   for you, you called Jack Goldberger?                   19   to do something because I'm a witness, very
20      A. No, no, that was --                              20   important witness in this case and so I told him
21      Q. Go ahead and clarify that, sorry.                21   exactly what I'm telling you today, and he pay for
22      A. Okay. Yeah, I called him before I met            22   my gas because my car was -- and that's it.
23   the FBI I called Jack Goldberger.                      23      Q. Okay. So you called Mr. Critton, he
24      Q. I guess my question is, at the time you          24   didn't call you?
25   called him did you know that the FBI wanted to         25      A. No, I call him.

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 1       Q. Okay. And this was when you found out           1   lawyer, what I'm supposed to do here. And he told
 2   that Mr. --                                            2   me the same thing, to tell the truth, you know.
 3       A. No, I called Jack Goldberger, I'm sorry,        3   It was with his assistant.
 4   and somebody give me his number.                       4      Q. It was with his assistant?
 5       Q. I see. And what prompted you to call him        5      A. Yes.
 6   was you saw that Mr. Epstein was getting out of        6      Q. You didn't speak to him personally?
 7   jail?                                                  7      A. No, we sit down in a room.
 8       A. Yes.                                            8      Q. So you drove up to West Palm Beach?
 9          MR. CRITTON: Him meaning Mr. Goldberger?        9      A. Yeah.
10          MR. MERMELSTEIN: Yes.                          10      Q. Okay. And you had a sit down meeting
11   BY MR. MERMELSTEIN:                                   11   with Mr. Critton?
12       Q. I'll restate the question.                     12      A. Yes.
13          When you called Mr. Goldberger it was          13      Q. About how long did that last?
14   because you had read that Mr. Epstein was getting     14      A. Two hours, something like that.
15   out of jail?                                          15      Q. Any other lawyers did you speak to about
16       A. Yes.                                           16   Mr. Epstein?
17       Q. Why did that prompt you to seek legal          17      A. No.
18   advice or legal counsel?                              18      Q. Any other investigators that you haven't
19       A. Because I know -- I don't have money for       19   mentioned yet today that you spoke to about Mr.
20   lawyers right now, I'm unemployed. So the normal      20   Epstein?
21   thing for me is to say, okay, what I'm supposed to    21      A. No.
22   do here, you know, maybe they can refer me to         22      Q. Okay. Any other person employed by Mr.
23   another lawyer or something.                          23   Epstein did you speak to after --
24       Q. Okay. Was this after you received a            24      A. No.
25   subpoena for the deposition that you're here on       25      Q. Current or former employees, did you

                                                Page 143                                                  Page 145
 1   today, the first subpoena?                             1   speak to anyone else after you left his employ?
 2       A. Before.                                         2      A. No.
 3       Q. Before you were subpoenaed?                     3      Q. You never spoke to Sarah Kellen again?
 4       A. Before.                                         4      A. No.
 5       Q. I'm trying to understand why did you            5      Q. Did you have a cell phone when you worked
 6   think that you would be contacted again as a           6   for Mr. Epstein?
 7   witness because Mr. Epstein was getting out of         7      A. Yes, I did.
 8   jail?                                                  8      Q. Was that a cell phone provided by Mr.
 9       A. I think you're right. I got the                 9   Epstein?
10   subpoena, yes, yes.                                   10      A. Yes.
11       Q. Okay. You got the subpoena for the civil       11      Q. What was the phone number on that?
12   deposition?                                           12      A. Area code 561 but I don't remember.
13       A. Yes, exactly.                                  13      Q. What was the -- do you remember the
14       Q. Which is why we're here today?                 14   service provider?
15       A. Exactly.                                       15      A. AT&T.
16       Q. And after you received that subpoena you       16      Q. That account was in the name of Mr.
17   called Mr. Goldberger?                                17   Epstein?
18       A. Yes.                                           18      A. Yes.
19       Q. And he referred you to Mr. Critton?            19          MR. CRITTON: Form.
20       A. Yes.                                           20   BY MR. MERMELSTEIN:
21       Q. And then you spoke to Mr. Critton?             21      Q. Other than what you turned over to Mr.
22       A. Yes.                                           22   Recarey is there any other papers that you kept
23       Q. And what did you say to him, what did he       23   relating to your employment with Mr. Epstein?
24   say to you?                                           24      A. No.
25       A. I'm going to subpoena -- I don't have a        25      Q. And he never gave anything back to you;

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 1   correct, that you handed to him?                        1       Q. But you don't remember?
 2       A. I'm sorry, who?                                  2       A. I don't remember.
 3       Q. Detective Recarey.                               3       Q. Why do you say probably you did?
 4       A. No, sir.                                         4       A. Because I was the person in charge of
 5       Q. Did you ever give any papers to any of           5   paying and I probably did because if it was not me
 6   the lawyers for Mr. Epstein either Mr. Goldberger       6   it was her.
 7   or Mr. Critton?                                         7       Q. Because what?
 8       A. No.                                              8       A. If it was not me it was Sarah.
 9       Q. What about the investigators, did you            9       Q. If it wasn't you it was Sarah. Okay.
10   give them any papers or documents?                     10          But you were paying girls for massages.
11       A. No.                                             11   Correct?
12       Q. I'm going to ask you some names of girls        12          MR. CRITTON: Form.
13   who are alleged to have come over to the house,        13          THE WITNESS: Yes.
14   Mr. Epstein's residence in Palm Beach and ask you      14   BY MR. MERMELSTEIN:
15   if you recall these girls or what you recall.          15       Q. V., do you recall a girl named V.?
16   H.R.?                                                  16       A. No.
17       A. I believe so.                                   17       Q. V.Z.?
18          MR. CRITTON: I'm sorry?                         18       A. No.
19          THE WITNESS: I believe so.                      19       Q. Does that ring a bell at all?
20   BY MR. MERMELSTEIN:                                    20       A. No.
21       Q. What do you remember about H.R.?                21       Q. How about Y.?
22       A. She used to come to the house.                  22       A. No, sir.
23       Q. And did you bring her into the kitchen?         23       Q. Y.L.?
24       A. All the girls I brought into the kitchen,       24       A. No.
25   it was the same routine.                               25       Q. M.L.?

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 1       Q. Okay. Was it your understanding she came         1      A. No.
 2   to give Mr. Epstein a massage?                          2      Q. What about F.P.?
 3          MR. CRITTON: Form.                               3      A. Who?
 4          THE WITNESS: I don't know, sir.                  4      Q. F.P.
 5   BY MR. MERMELSTEIN:                                     5      A. No, sir.
 6       Q. Did she come with another girl?                  6      Q. You don't recall any of those names. You
 7       A. I don't remember, sir.                           7   indicated you used the computer in the house?
 8       Q. Did she come often?                              8      A. Yes.
 9       A. I'm sorry?                                       9      Q. Did he have a server where all the
10       Q. Would she come to the house often?              10   computers are linked?
11       A. Yes.                                            11      A. We used to Citrix but because there were
12       Q. You don't remember whether she came             12   too many properties we used to have a guy who used
13   alone, with another girl, or two other girls?          13   to take care of the --
14          MR. CRITTON: Form.                              14      Q. Were the computers linked in Florida and
15          THE WITNESS: I don't remember, sir.             15   New York?
16   BY MR. MERMELSTEIN:                                    16      A. I believe so, yes.
17       Q. Did you ever see Mr. Epstein and H.R.           17      Q. Were there data files on the computers --
18   together?                                              18          MR. CRITTON: Form.
19       A. No.                                             19   BY MR. MERMELSTEIN:
20       Q. You would just escort her into the              20      Q. -- in the house?
21   kitchen?                                               21      A. I don't know, sir, because I was using my
22       A. Yes, sir.                                       22   own computer and they have their own computers
23       Q. Did you pay H.R.?                               23   inside the house.
24       A. I don't remember, sir. Probably I did,          24      Q. Okay. So you had your own computer?
25   sir.                                                   25      A. Yes.

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 1      Q. You had a laptop?                                 1      Q. The girls who came to the house for
 2      A. No, it was desktop.                               2   massages, did you ever call a cab to bring any of
 3      Q. Okay. So you had your own desktop in the          3   the girls home?
 4   staff house?                                            4      A. Probably on a few occasions.
 5      A. Yeah. Exactly.                                    5      Q. So is it your understanding that they
 6      Q. And you don't know what was -- what was           6   would have arrived by cab as well?
 7   the files in that computer versus on the other          7          MR. CRITTON: Form.
 8   computers?                                              8          THE WITNESS: Yes.
 9      A. No, sir.                                          9   BY MR. MERMELSTEIN:
10      Q. Did you ever see any pornography on any          10      Q. And how would that come about, were you
11   of the computers?                                      11   given instructions to call a cab by anyone?
12      A. No, sir.                                         12      A. No, I would call the cab, the taxi.
13      Q. Are you sure about that?                         13      Q. How did you know a cab needed to be
14      A. Pornography as in sexual acts, no.               14   called?
15      Q. Pornography as in naked people, men or           15      A. Because Sarah would tell me can you get
16   women.                                                 16   me a taxi.
17      A. Yeah, there were some.                           17      Q. So when the girl was finished what she
18      Q. Okay. And describe to me what that was.          18   was doing Sarah would come to you and say --
19      A. They were like models.                           19      A. She would call me.
20      Q. And where were those in the computer? I          20          MR. CRITTON: Form.
21   mean, how did you access that?                         21   BY MR. MERMELSTEIN:
22      A. They were in the files and some of it            22      Q. She would call you?
23   in -- you mean which file they were, what was your     23      A. Yes.
24   question?                                              24      Q. Okay. You would be in the guest house at
25      Q. Where were they in the computer? There           25   the time?

                                                 Page 151                                                   Page 153
 1   were downloaded files on computer?                      1      A. Yes.
 2       A. They were downloaded, yes.                       2      Q. Do you recall having to do that often?
 3          MR. CRITTON: Form.                               3      A. No, not very often, sir.
 4   BY MR. MERMELSTEIN:                                     4      Q. Did Mr. Epstein keep photograph equipment
 5       Q. Okay. There were photographs of naked            5   in the house?
 6   women?                                                  6      A. I don't remember seeing it.
 7       A. Models.                                          7      Q. Do you recall seeing any video equipment?
 8       Q. And why do you say models?                       8      A. No, sir.
 9       A. Because it was like a catalog so you have        9      Q. Do you recall any video or photograph
10   models, you know.                                      10   equipment in the master bedroom?
11       Q. And what was your understanding as a            11      A. No, sir.
12   source of these photos?                                12      Q. The models that you saw on the computer,
13       A. I don't know, sir. It was just a                13   did you recognize any of them as having been at
14   curiosity on myself and it was -- it was none of       14   the house?
15   my business but, you know, I just happen to see        15      A. No.
16   them there.                                            16      Q. The girls who stayed at the house, did
17       Q. Did these girls appear very young to you?       17   any of them speak with a foreign accent?
18          MR. CRITTON: Form.                              18      A. Yes.
19          THE WITNESS: No, sir. They were young           19      Q. Many of them?
20        but not underage.                                 20          MR. CRITTON: Form.
21   BY MR. MERMELSTEIN:                                    21          THE WITNESS: Some of them.
22       Q. Is there anything in particular that            22   BY MR. MERMELSTEIN:
23   makes you draw that conclusion?                        23      Q. Would any of them not speak any English?
24       A. Because they are developed, you know.           24      A. No.
25   It's hard to say, sir, you know.                       25      Q. They all spoke English?

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                                                 Page 154                                                   Page 156
 1     A.    They all --                                     1      Q. Okay. But you did speculate with Louella
 2     Q.    But some of them had accents?                   2   about the girls who stayed at the house and flew
 3     A.    Yes.                                            3   in with Mr. Epstein. Correct?
 4     Q.    Were they from one place in particular?         4          MR. CRITTON: Form.
 5     A.    Europe.                                         5          THE WITNESS: Sometimes, yes.
 6     Q.    Eastern Europe?                                 6   BY MR. MERMELSTEIN:
 7     A.    Could be.                                       7      Q. Were there rumors that either you or her
 8          MR. CRITTON: Did you say could be, is            8   heard about those girls?
 9        that what you said?                                9          MR. CRITTON: Form.
10          THE WITNESS: Could be.                          10          THE WITNESS: No.
11          MR. CRITTON: Form.                              11   BY MR. MERMELSTEIN:
12   BY MR. MERMELSTEIN:                                    12      Q. Do you remember anything more specific
13       Q. That would be your guess as to where they       13   about things Louella may have observed about these
14   were from?                                             14   girls?
15       A. Yes, but I'm not an expert in languages,        15      A. No.
16   sir, but they had accent.                              16      Q. Anyone else that you spoke to about --
17       Q. Do you know how Mr. Epstein came into           17      A. No, nobody.
18   contact with these girls or became friends with        18      Q. Nobody else on the staff you ever spoke
19   them?                                                  19   to about any of the girls?
20       A. No, sir.                                        20      A. No.
21       Q. Did you ever talk to any of them about          21          MR. MERMELSTEIN: Why don't we break and
22   how they met Mr. Epstein?                              22        I'm going to pass the baton.
23       A. No.                                             23          THE VIDEOGRAPHER: We're off the record.
24       Q. Did you and the other members of the            24          (Thereupon, a recess was had.)
25   staff that worked for you, did you ever talk about     25          THE VIDEOGRAPHER: We're back on the

                                                 Page 155                                                   Page 157
 1   Mr. Epstein?                                            1        record tape with number four.
 2      A. Sometimes.                                        2                   EXAMINATION
 3      Q. What kind of things would you talk about?         3   BY MR. EDWARDS:
 4      A. Where do you think these girls are from,          4       Q. Mr. Rodriguez, my name is Brad Edwards, I
 5   what are they doing, you know, are they going to        5   represent in these cases E.W. who is -- and I'll
 6   college, Louella used to ask me that, but I mean,       6   tell you right now, C.W., we talked about
 7   beyond that we didn't --                                7   earlier --
 8      Q. By these girls which ones are you                 8          (Thereupon, an interruption was had.)
 9   referring to?                                           9          MR. CRITTON: We're ready.
10      A. The one that were coming in the plane.           10   BY MR. EDWARDS:
11      Q. Plane. You didn't have that kind of --           11       Q. I represent L.M., who is T.M., I'm going
12      A. Louella was gone by 5:00. Five p.m. she          12   to ask you some questions about her as well, and
13   was gone. She would work from eight to five. So        13   Jane Doe, S.R.
14   most of the early evening I was there by myself.       14          Are those names that you're familiar
15      Q. Okay. But the question was, did you ever         15   with?
16   talk with Louella about the girls who were coming      16       A. Currently, yes.
17   for massages?                                          17       Q. How about T.?
18      A. No.                                              18       A. How do you spell her?
19      Q. And that would have been before 5:00 as          19       Q. (Off the record.)
20   well. Right?                                           20       A. Yeah, I remember her.
21      A. Yeah.                                            21       Q. You remember what she looks like?
22      Q. So she saw girls coming?                         22       A. If I see her I will remember her.
23      A. Yeah, exactly, but we never -- we didn't         23       Q. During the six month or so period that
24   have a chance because we were busy, you know. But      24   you worked there how often would you see T.?
25   we never had that conversation.                        25       A. Okay, to answer the question, when Mr.

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 1   Epstein was not there obviously the house was shut     1   girl was at Jeffrey Epstein's house, just so the
 2   down. When Mr. Epstein was here probably twice a       2   record is clear, to give a massage, you thought
 3   week.                                                  3   she was a masseuse?
 4      Q. Okay. And going back to C.W., how often          4          MR. CRITTON: Form.
 5   would you see her?                                     5          THE WITNESS: It's hard to answer to say
 6      A. More often.                                      6        yes or no. At that time -- let me put it
 7      Q. More often then T.?                              7        this way. I saw these girls coming into the
 8      A. Yeah.                                            8        house to have a good time. But I didn't
 9      Q. If you saw T. twice a week then how often        9        know or I was not interested if it was going
10   would you see C.?                                     10        to be a massage or something else, that was
11      A. I will say three to four times.                 11        my opinion. Now, they look young but, I
12      Q. Per week?                                       12        mean, I never thought they were underage.
13      A. Yes.                                            13   BY MR. EDWARDS:
14      Q. And do you remember S.R. at all?                14      Q. Okay. Do you recall C. when she would
15      A. She goes under another name?                    15   come to the house she actually had braces when she
16      Q. I wouldn't think so.                            16   was visiting Mr. Epstein?
17      A. No, I don't remember her.                       17          MR. CRITTON: Form.
18      Q. Okay. And when you would see either T.          18          THE WITNESS: I don't remember that.
19   or C., in what context would you see them; at         19   BY MR. EDWARDS:
20   Jeffrey Epstein's house?                              20      Q. Okay. C. when she was coming over the
21      A. Yes. C. used to call me.                        21   house -- I'm using her for an example because it
22      Q. She used to call you directly?                  22   seems you remember her the best of T., C., and S.
23      A. Yeah, no, well, I used to take the              23   Right?
24   message from her, I clearly remember that, but not    24      A. Yes.
25   S. or --                                              25      Q. It seemed like she was relatively the age

                                                Page 159                                                    Page 161
 1      Q. T.?                                              1   of your daughter?
 2      A. T.                                               2          MR. CRITTON: Form.
 3      Q. When C. would call you what would she            3          THE WITNESS: It's hard to say.
 4   typically say to you?                                  4   BY MR. EDWARDS:
 5      A. I just looking at some of the messages I         5      Q. You wouldn't be shocked to know that she
 6   took, that's exactly what it is, I got females for     6   was the age of your daughter though. Right?
 7   him.                                                   7          MR. CRITTON: Form.
 8      Q. Okay. And when C. herself would come to          8          THE WITNESS: No.
 9   Jeffrey Epstein's house, what would she come there     9   BY MR. EDWARDS:
10   to do?                                                10      Q. Okay. And T. the same, I mean, you
11          MR. CRITTON: Form.                             11   wouldn't be surprised if you learned that she was
12          THE WITNESS: I assume they were                12   14, 15, 16 years old going over to Jeffrey
13        massages.                                        13   Epstein's house, that doesn't shock you either.
14   BY MR. EDWARDS:                                       14   Right?
15      Q. Okay. You thought that C.W. was a               15          MR. CRITTON: Form.
16   masseuse?                                             16          THE WITNESS: (Shakes head.)
17      A. Yes.                                            17   BY MR. EDWARDS:
18      Q. Okay. You mentioned earlier you have a          18      Q. For the record, I just need you to answer
19   daughter. Right?                                      19   out loud.
20      A. Yes.                                            20      A. No.
21      Q. And your daughter is 20?                        21      Q. Okay. You mentioned that you knew that
22      A. 20, and I have a 16 year old.                   22   they were coming over, you thought they were
23      Q. C.W. is 21, so back in 2004, 2005, we're        23   coming over to have a -- I'll use your words, to
24   talking about a 15 year old girl.                     24   have a good time.
25          Is that you thought that the 15 year old       25          What made you believe these girls were

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 1   coming over to his house to have a good time? And        1   reclusive and obviously you told us about his vast
 2   then I think you finished by saying I didn't know        2   wealth. Right?
 3   if they were doing massages or something else.           3      A. Yes.
 4   Just elaborate on that, what did you mean by that?       4          MR. CRITTON: Form.
 5           MR. CRITTON: Form.                               5   BY MR. EDWARDS:
 6           THE WITNESS: Because they were cheerful,         6      Q. Are those characteristics things that you
 7        they were happy, like any young girl, you           7   believe he used to get people over to his house
 8        know, they would listen to I-pods, stuff            8   such as these girls, C. and T.?
 9        like that. I think they were having a good          9          MR. CRITTON: Form.
10        time.                                              10          THE WITNESS: Yes.
11   BY MR. EDWARDS:                                         11   BY MR. EDWARDS:
12       Q. Okay. Other than being cheerful, happy,          12      Q. Okay. And when C. or T. -- and just so
13   and listening to I-pods, what else do you remember      13   that we're not only talking about C. and T., those
14   about them that indicated to you that they were         14   are two of the girls, but there were also many
15   there to have a good time?                              15   other girls that were relatively the same age as
16       A. I will say that knowing Jeffrey Epstein          16   C. and T. that came over to his house to have a
17   everybody that will met him he was -- because he        17   good time. Right?
18   was a reclusive mysterious man, getting to know         18          MR. CRITTON: Form.
19   him that close it was like a matter that you're         19          THE WITNESS: Can you rephrase that?
20   going to get advance in life as modeling or acting      20   BY MR. EDWARDS:
21   career or something like that. Even so for men          21      Q. Yes. I mean, you told me that T. came
22   that used to go there they will have the probably       22   over roughly twice a week, and C. came over three
23   doing business with him. Girls like that, the           23   to four times a week. In addition to C. and T., I
24   girls like including I'm talking about my girls,        24   mean, obviously there is other attorneys in this
25   they like danger, so not danger with him but, I         25   room right now that represent other girls, there

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 1   mean, that's my opinion, you know, they were             1   were many other girls roughly or approximately the
 2   having a good time, that's what I can say.               2   same age as you would observe as C. and T. that
 3      Q. And when you said you're talking about             3   came to his house frequently to have a good time?
 4   your girl, did that mean for that minute you were        4         MR. CRITTON: Form.
 5   thinking about your own daughter?                        5         THE WITNESS: Yes.
 6      A. Yes.                                               6   BY MR. EDWARDS:
 7      Q. And that she would be impressed by                 7     Q. During the six month period of time that
 8   somebody like Mr. Epstein?                               8   you were there, can you give us your best
 9          MR. CRITTON: Form.                                9   approximation as to the number of girls that would
10          THE WITNESS: Yes, exactly.                       10   come to Jeffrey's house in that age group of C.
11   BY MR. EDWARDS:                                         11   and T. that were there to have a good time?
12      Q. And somebody -- and that was common of            12         MR. CRITTON: Form.
13   visitors of Mr. Epstein to be impressed by him and      13   BY MR. EDWARDS:
14   hope that he could reward them by modelling or          14     Q. As you've classified it.
15   something else?                                         15         MR. CRITTON: Form.
16          MR. CRITTON: Form.                               16         THE WITNESS: I would say eight.
17          THE WITNESS: Yes.                                17   BY MR. EDWARDS:
18   BY MR. EDWARDS:                                         18     Q. There is eight that you remember?
19      Q. And getting to know him as well as you            19     A. Eight, ten.
20   did, did that seem typical of the clientele or          20     Q. Could be more, could be less?
21   guests that would visit his house?                      21         MR. CRITTON: Form.
22          MR. CRITTON: Form.                               22   BY MR. EDWARDS:
23          THE WITNESS: I would say yes.                    23     Q. But that's your best approximation?
24   BY MR. EDWARDS:                                         24     A. (Shakes head.)
25      Q. Okay. And you called him mysterious and           25     Q. Do you have the names of these people

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 1   written down anywhere?                                  1   for now we'll call it a massage -- as well as
 2      A. No.                                               2   anybody who brought that person over to the house,
 3      Q. It's my understanding that C. and T.              3   they would both get paid cash. Are you familiar
 4   either came to his house alone to visit with Mr.        4   with that?
 5   Epstein or brought other girls in their age group       5          MR. CRITTON: Form.
 6   to Mr. Epstein.                                         6          THE WITNESS: No.
 7          Were you familiar with that type of              7   BY MR. EDWARDS:
 8   recruitment process of girls bringing other girls?      8      Q. If C. brought another girl over to the
 9          MR. CRITTON: Form.                               9   house and C. stayed downstairs but this other girl
10          THE WITNESS: Yes.                               10   went upstairs with Mr. Epstein, which one would
11   BY MR. EDWARDS:                                        11   you pay?
12      Q. Can you tell me more about what you know         12      A. I don't know because I was told who to
13   about girls bringing other girls that are              13   pay.
14   relatively the same age to come to Jeffrey             14      Q. And Sarah Kellen always told you?
15   Epstein's house and to use your words, have a good     15      A. Sarah told me pay so and so.
16   time?                                                  16      Q. So if we were going to ask anybody else
17          MR. CRITTON: Form.                              17   about the exact method in terms of who would get
18          THE WITNESS: It's hard to know who they         18   paid and for what, who would the people be? I
19        knew. But I think that was -- they feel           19   mean, other than Mr. Epstein who else could we ask
20        better themselves when they're in a group         20   these questions?
21        than going by themselves, but I don't know        21      A. Sarah.
22        somebody recruiting.                              22      Q. Sarah Kellen?
23   BY MR. EDWARDS:                                        23      A. Yes.
24      Q. Okay. And you've talked about, at least          24      Q. She would know this?
25   referred to yourself I believe to the police and       25      A. Yes.

                                                 Page 167                                                    Page 169
 1   as well today as a human ATM machine. Right?            1      Q. What about Ghislaine Maxwell?
 2           MR. CRITTON: Form.                              2          MR. CRITTON: Form.
 3           THE WITNESS: Something like that. I was         3          THE WITNESS: You're talking about the
 4        supposed to carry cash at all times.               4       boss. I don't know.
 5   BY MR. EDWARDS:                                         5   BY MR. EDWARDS:
 6      Q. One of the primary reasons why you                6      Q. To your knowledge was Ghislaine Maxwell
 7   carried cash was to pay the girls in this age           7   aware of these girls that are in the age group of
 8   group of C. and T. for whatever happened at the         8   C. and T. coming to Jeffrey Epstein's house to
 9   house. Right?                                           9   have a good time?
10           MR. CRITTON: Form.                             10          MR. CRITTON: Form.
11           THE WITNESS: Yes.                              11          THE WITNESS: I have to say something.
12   BY MR. EDWARDS:                                        12       Mrs. Maxwell called me and told me not to
13      Q. That's a fair statement. Right?                  13       ever discuss or contact her again in a
14           MR. CRITTON: Form.                             14       threaten way.
15           THE WITNESS: Yes.                              15   BY MR. EDWARDS:
16   BY MR. EDWARDS:                                        16      Q. When was this?
17      Q. Okay. And when C., let's use her for             17      A. Right after I left because I call one of
18   example, would bring somebody else to the house,       18   the friends for a job and she told me this, but,
19   did you pay C. as well as whomever she brought to      19   you know, I feel intimidated and so I want to keep
20   the house, pay them both?                              20   her out.
21      A. No, I pay only one person.                       21      Q. What exactly did she say? First of all,
22      Q. Okay. My understanding, and tell me if           22   was this a telephone call?
23   this is wrong or you can corroborate this, is that     23      A. Yes, she was in New York.
24   Mr. Epstein would pay the girl that was actually       24      Q. She called you on your cell phone?
25   performing whatever was happening in the room --       25      A. Yes.

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 1      Q. Is this the cell phone that was issued to         1   precisely did she say?
 2   you by Mr. Epstein?                                     2       A. She said I forbid you that you're going
 3      A. No, it was my personal phone. I was               3   to be -- that I will be sorry if I contact any of
 4   already --                                              4   her friends again.
 5      Q. Gone?                                             5       Q. Okay. Other than you will be sorry if
 6      A. Yeah, this is three, four months down the         6   you contact any of my friends again did she say
 7   road.                                                   7   anything else about what you know about Mr.
 8      Q. So if you left in --                              8   Epstein and/or what goes on at his house?
 9      A. February, March -- it was May or June.            9       A. She said something like don't open your
10      Q. Of 2005?                                         10   mouth or something like that. But you have to
11      A. Yes.                                             11   understand, I'm a civil humble, I came as an
12      Q. And you got a call from Ghislaine Maxwell        12   immigrant to service people, and right now you
13   out of the blue?                                       13   feel a little -- I'm 55 and I'm afraid. First of
14      A. Yes.                                             14   all, I don't have a job, but I'm glad this is on
15      Q. And do you know what prompted that               15   tape because I don't want nothing to happen to me.
16   telephone call?                                        16   This is the way they treat you, better do this and
17      A. Because I contact somebody in New York to        17   you shut up and don't talk to nobody and --
18   get a job.                                             18       Q. When you say this is the way they treat,
19      Q. Who was that person?                             19   who specifically are you talking about when you
20      A. I contact Jean-Luc and I contact Eva, the        20   say the word they?
21   Swedish girl, she used to be very good friends         21       A. Maxwell.
22   with Mr. Epstein because she asked me she need         22       Q. And usually when you say the word they,
23   somebody in New York.                                  23   you're not only talking about one person --
24      Q. What does Eva do?                                24       A. Wealthy people.
25      A. Eva was a model many years ago and he            25       Q. Are you also putting Jeffrey Epstein in

                                                 Page 171                                                     Page 173
 1   married -- Eva is the mother of the girl who was        1   that category?
 2   on the wall.                                            2          MR. CRITTON: Form.
 3      Q. Who is on the wall of Mr. Epstein's               3          THE WITNESS: I didn't talk to him
 4   house?                                                  4        directly most of the time.
 5      A. Yeah.                                             5   BY MR. EDWARDS:
 6      Q. All right. There is a younger girl model          6      Q. What's the reason why if you were his
 7   that's on the wall of Mr. Epstein's house and this      7   head of security that you wouldn't have more
 8   lady Eva is her mother?                                 8   direct contact with him? Why is that?
 9      A. Yes.                                              9          MR. CRITTON: Form.
10      Q. And at some point in time you called her         10          THE WITNESS: He wanted that way, you
11   in New York to get a job?                              11        know, so, yeah, I have to talk to Sarah,
12      A. That's right.                                    12        Sarah is not available talk to Lesley in New
13      Q. And you also called Jean-Luc Bernell?            13        York. He didn't want to be disturbed.
14   That's his name. Right?                                14   BY MR. EDWARDS:
15      A. Jean-Luc, yeah, I don't remember his last        15      Q. Even while you were in the same house
16   name.                                                  16   with him he still had other people you could talk
17      Q. Does that sound familiar to you, Jean-Luc        17   to directly but he was not one of them?
18   Bernell?                                               18      A. Yeah.
19      A. Yeah.                                            19      Q. When you were fired you were not fired
20      Q. What did Eva and/or Jean-Luc say about           20   directly by him?
21   employing you?                                         21      A. No.
22      A. No, they said they're going to find out          22      Q. It was through somebody else?
23   and obviously the first thing they did was talk to     23      A. Ms. Maxwell.
24   Mrs. Maxwell.                                          24      Q. Okay. But it was for upsetting him for
25      Q. She made a telephone call to you and what        25   taking the wrong car?

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 1       A. Yes.                                            1         this. Because I went through -- the first
 2       Q. Okay. Ever since this communication that        2         time I went to the deposition I was in Palm
 3   Ms. Maxwell made to you where she called you           3         Beach and I did my duty, I mean, I tell what
 4   sometime in May or June of 2005, and have you felt     4         I know, but now I know there is more
 5   threatened?                                            5         digging, all I want is this to be to get on
 6       A. Yes.                                            6         with my normal life and stuff.
 7           MR. CRITTON: Form.                             7   BY MR. EDWARDS:
 8   BY MR. EDWARDS:                                        8       Q. So when you come here today to testify,
 9       Q. Have you felt reluctant to come forward         9   your main objective is to get back to your normal
10   and give truthful, honest, and full disclosure of     10   life and get out of the spotlight of this case.
11   all information that you know about this case?        11   Yes?
12           MR. CRITTON: Form.                            12       A. Yes.
13           THE WITNESS: I said this off the record       13       Q. And in doing so have you held back some
14         but I will say it on the record, being in       14   of the details that you know about that happened
15         the Epstein case for me resulted in two         15   in this case to remove yourself from the
16         years I have -- I won't bring the names but     16   spotlight?
17         I was in the third interview to get hired as    17            MR. CRITTON: Form.
18         a household manager in Palm Beach and they      18            THE WITNESS: No, sir.
19         told me you are the Jeffrey Epstein guy.        19   BY MR. EDWARDS:
20         Not in the sense I did something wrong          20       Q. Okay. Have you ever talked to Ghislaine
21         because of the scandal, so they shun the job    21   Maxwell after that telephone call where she called
22         away from me. And so I was afraid that --       22   you and you felt threatened?
23         this is very powerful people and one phone      23       A. No.
24         call and you finish, so I'm the little guy.     24       Q. Okay. So going back to where we started
25         Even I'm wearing a tie I'm a -- I'm talking     25   here was, does Ghislaine Maxwell have knowledge of

                                                Page 175                                                   Page 177
 1        from my heart. This is the way it is.             1   the girls that would come over to Jeffrey
 2   BY MR. EDWARDS:                                        2   Epstein's house that are in roughly the same age
 3       Q. I feel for you, I'm sorry that you have         3   group as C. and T. and to have a good time as you
 4   to be in this position.                                4   put it?
 5          MR. CRITTON: Move to strike this.               5           MR. CRITTON: Form.
 6   BY MR. EDWARDS:                                        6           THE WITNESS: Yes.
 7       Q. Well, when you applied for these jobs and       7   BY MR. EDWARDS:
 8   they turned you down and gave you the reason that      8      Q. And what was her involvement and/or
 9   you're the person involved in the Jeffrey Epstein      9   knowledge about that?
10   scandal, was it that they are associated or           10           MR. CRITTON: Form.
11   friends with Jeffrey Epstein or is it that you        11           THE WITNESS: She knew what was going on.
12   have information and you have this confidentiality    12   BY MR. EDWARDS:
13   but you're revealing some certain information that    13      Q. You referred to her at one point in time
14   Mr. Epstein would not like?                           14   as Jeffrey Epstein's companion. But then later on
15          MR. CRITTON: Form.                             15   you said that if she flew she flew on a different
16          THE WITNESS: Both.                             16   airplane and oftentimes or sometimes she slept in
17   BY MR. EDWARDS:                                       17   a different bed from Mr. Epstein. Did that seem
18       Q. Both?                                          18   unusual to you?
19       A. Both.                                          19           MR. CRITTON: Form.
20       Q. And since then given what you just told        20           THE WITNESS: It was odd but, I mean, and
21   us about these people being very powerful, are you    21        again, everything is odd in Palm Beach.
22   afraid for your life given the fact that you're       22   BY MR. EDWARDS:
23   involved to some extent in this case?                 23      Q. Okay, I don't mean to laugh.
24          MR. CRITTON: Form.                             24      A. Mr. Epstein fly to Jet Aviation, she fly
25          THE WITNESS: I just start thinking about       25   to Galaxy Aviation, but they never flew the same

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                                                Page 178                                                   Page 180
 1   plane, I don't know why.                               1   BY MR. EDWARDS:
 2      Q. And did you ever find out why?                   2      Q. Who heard who?
 3      A. No.                                              3      A. I heard Sarah going to be coming to give
 4      Q. You never really inquired why?                   4   a massage.
 5      A. No.                                              5      Q. Okay. When the girls would come in to
 6      Q. That wasn't your job?                            6   Mr. Epstein's house, would you be the first one to
 7      A. (Shakes head.)                                   7   meet them and greet them or would that be Sarah?
 8      Q. You were just there to do your job?              8      A. Me.
 9      A. Exactly.                                         9      Q. And if C. came would she normally come
10      Q. Obviously at some point in time you see         10   alone or with somebody else?
11   these girls coming over to Mr. Epstein's house to     11      A. Sometimes she had a companion sometimes
12   have a good time and over time you start wondering    12   she was by herself.
13   what is going on with Mr. Epstein and these girls.    13      Q. Given C.'s age you never truly believed
14   Right?                                                14   she was there as a masseuse; did you?
15          MR. CRITTON: Form.                             15          MR. CRITTON: Form.
16          THE WITNESS: Yes.                              16          THE WITNESS: From the father point of
17   BY MR. EDWARDS:                                       17        view, no.
18      Q. And you understand that Mr. Epstein is a        18   BY MR. EDWARDS:
19   wealthy person that could have the best masseuse      19      Q. And that in conjunction with the fact
20   in the world come to his house. Yes?                  20   that when she called she gives you messages such
21          MR. CRITTON: Form.                             21   as I have girls to bring for Mr. Epstein lead you
22          THE WITNESS: Yes.                              22   to believe that there was something more going on
23   BY MR. EDWARDS:                                       23   then massages at Mr. Epstein's house with these
24      Q. These were not professional masseuses           24   girls?
25   that were coming to his house to give massages.       25          MR. CRITTON: Form.

                                                Page 179                                                   Page 181
 1   Right?                                                 1          THE WITNESS: When I was working I didn't
 2          MR. CRITTON: Form.                              2        have the time to realize that, but now
 3          THE WITNESS: Yes.                               3        you're out and you start -- yes, it is more
 4   BY MR. EDWARDS:                                        4        than that.
 5      Q. They were not?                                   5   BY MR. EDWARDS:
 6          MR. CRITTON: Form.                              6       Q. And when C. would come over and she would
 7          THE WITNESS: They were not the best but         7   bring a companion, who would lead them to the area
 8        they say they were masseuses.                     8   -- I guess it's the upstairs bedroom, who would
 9   BY MR. EDWARDS:                                        9   lead them up there, would it be Sarah or would it
10      Q. They said that or Sarah Kellen said that?       10   be yourself?
11   Who is they? Is it Sarah Kellen and Jeffrey           11          MR. CRITTON: Form.
12   Epstein or is it C. and T. that would come and        12          THE WITNESS: Sarah.
13   announce themselves as masseuses?                     13   BY MR. EDWARDS:
14          MR. CRITTON: Form.                             14       Q. Let's say two of them come over, I know
15          THE WITNESS: We wanted to put the title        15   that there is numerous times that she is coming
16        masseuse.                                        16   three or four times a week for the six month
17   BY MR. EDWARDS:                                       17   period that you're there, but if it is C. and
18      Q. Who is we?                                      18   another companion, and that other companion would
19      A. We the staff and Sarah.                         19   usually be roughly her age. Right?
20      Q. Who taught you that these girls that are        20          MR. CRITTON: Form.
21   in T. and C. age group should be referred to as       21          THE WITNESS: It was something like that.
22   masseuses? Who taught you that title?                 22   BY MR. EDWARDS:
23          MR. CRITTON: Form.                             23       Q. I mean, there were not people bringing
24          THE WITNESS: I just heard them, you            24   over massage tables to give him a massage, these
25        know.                                            25   were girls who were C. and T. age, approximately,

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                                                 Page 182                                                    Page 184
 1   all of them?                                            1      Q. You didn't?
 2           MR. CRITTON: Form.                              2      A. No.
 3           THE WITNESS: They were not carrying             3      Q. I'm going to go to the police report that
 4        massage tables, no.                                4   we have that mentions your name in it in several
 5   BY MR. EDWARDS:                                         5   places. All right. I think the first time that
 6       Q. So when C. and a friend would be lead            6   we find your name is page 50 at the bottom. This
 7   upstairs would they go into the room with Mr.           7   is not a transcript of any statement that you gave
 8   Epstein together?                                       8   so I want to read some of it and you tell me is
 9       A. I was not there.                                 9   this accurate or does it accurately reflect what
10       Q. All right. So that's when you exited to         10   you told Detective Recarey. Okay.
11   the other house?                                       11      A. Okay.
12       A. I escorted them to the kitchen and they         12           MR. CRITTON: Just object to the
13   went through the stairwell upstairs.                   13        procedure. I think that's improper, if
14       Q. All right. Sometimes you went in after          14        you're trying to accredit him it's improper,
15   the massages to clean up the room. Is that right?      15        if you're trying to impeach him it's
16       A. Right, when Mr. Epstein go out of the           16        improper. But go, do what you want.
17   house.                                                 17           MR. EDWARDS: I said it's not a
18       Q. After he was out of the house?                  18        statement. Do you want to give me the
19       A. Yes.                                            19        statement?
20       Q. What other indications besides their age,       20   BY MR. EDWARDS:
21   what other indications were there that there was       21      Q. Mr. Rodriguez stated he had worked with
22   something more than a massage going on in the          22   Epstein for approximately six months after the
23   room?                                                  23   previous houseman left. Correct?
24           MR. CRITTON: Form.                             24           MR. CRITTON: Form.
25           THE WITNESS: I don't know.                     25           THE WITNESS: Yes.

                                                 Page 183                                                    Page 185
 1   BY MR. EDWARDS:                                         1   BY MR. EDWARDS:
 2       Q. Just your fatherly instinct told you             2      Q. He stated that it was his responsibility
 3   that; is that it?                                       3   to keep the identity of the masseuses private.
 4          MR. CRITTON: Form.                               4      A. Yes.
 5          THE WITNESS: Yes.                                5          MR. CRITTON: Form.
 6   BY MR. EDWARDS:                                         6   BY MR. EDWARDS:
 7       Q. And when T. would come over would she            7      Q. And is that something that you told Mr.
 8   normally bring others with her?                         8   -- Detective Recarey that it was your
 9       A. Usually they came in couples, but                9   responsibility to keep the identity of the
10   sometimes I wouldn't say never happened but            10   masseuses private?
11   probably they were by themselves.                      11      A. That was part of my job.
12       Q. Okay. But your feeling was when they            12      Q. Who delegated that particular
13   came in groups was because they felt more              13   responsibility, is that Sarah Kellen or Jeffrey
14   comfortable in a group?                                14   Epstein?
15       A. Yes.                                            15      A. Sarah Kellen.
16          MR. CRITTON: Form.                              16      Q. What specifically did she tell you about
17   BY MR. EDWARDS:                                        17   keeping the identity of the masseuses private?
18       Q. Were you ever aware or am I the first to        18      A. Everything in the house was confidential.
19   tell you that Mr. Epstein would offer them money       19   And we didn't -- several times, you know, whatever
20   for their services in the bedroom as well as money     20   was going on in the house Sarah told me, you know
21   for every single girl that they brought him? Am I      21   you're not suppose to say this, we know because I
22   the first to tell you that?                            22   signed 27 pages of confidentiality agreement.
23          MR. CRITTON: Form.                              23      Q. The confidentiality agreement that you
24          THE WITNESS: No, I didn't know that.            24   referred to earlier was 27 pages long?
25   BY MR. EDWARDS:                                        25      A. Yes, something like that.

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                                                Page 186                                                  Page 188
 1      Q. You've worked for other people in a              1   duties and then I started work for Mrs. Hammond.
 2   similar fashion in terms of being a housekeeper.       2      Q. And where was that?
 3   Right?                                                 3      A. In Palm Beach.
 4      A. Yes.                                             4      Q. How long did you work there?
 5      Q. And with each of those people did you            5      A. For Mrs. Hammond on and off for two or
 6   have to sign a confidentiality agreement?              6   three years.
 7      A. No.                                              7      Q. In any of those other places did any of
 8      Q. That's something that only applied to            8   the people that you worked for ever get massages
 9   your position with Jeffrey Epstein?                    9   at their house?
10      A. Yes.                                            10      A. Yes.
11      Q. Who did you work for? I'm going to come         11      Q. Which of those people?
12   back to this. Who did you work for just prior to      12      A. Mrs. Hammond.
13   Mr. Epstein?                                          13      Q. And who would usually give the massages
14      A. Mr. Arturo Torres in Fisher Island.             14   at her house?
15          MR. EDWARDS: Do you need a spelling?           15      A. She would call somebody from West Palm
16          THE WITNESS: T-O-R-R-E-S.                      16   Beach.
17   BY MR. EDWARDS:                                       17      Q. And did you see the masseuse that would
18      Q. Okay. Did you have to sign a                    18   show up?
19   confidentiality agreement with him?                   19      A. Yes.
20      A. No.                                             20      Q. Male or female?
21      Q. Were your duties fairly similar?                21      A. Female.
22      A. Same thing.                                     22      Q. And what age group was that masseuse?
23      Q. Manage the house?                               23      A. Actually she was older, 40's.
24      A. Yes, sir.                                       24      Q. Did she bring a massage table or was
25      Q. This is another wealthy person that             25   there one in the house?

                                                Page 187                                                  Page 189
 1   needed someone to manage the house?                    1      A. There was one in the house.
 2      A. Yes.                                             2      Q. There was one?
 3      Q. And how long did you work for him?               3      A. Yeah.
 4      A. Four years and two different occasions.          4      Q. And what about that person told you that
 5      Q. One in Fisher Island?                            5   that is a legitimate masseuse when they showed up
 6      A. One in Fisher Island, the other one in           6   at Ms. Hammond's house?
 7   his ranch in Texas.                                    7           MR. CRITTON: Form.
 8      Q. Why did you leave him and start with Mr.         8           THE WITNESS: Nothing, just maybe
 9   Epstein?                                               9        Ms. Hammond tried it the first time and she
10      A. His health declined and he didn't need          10        liked it, you know, nothing indicated to me,
11   anybody like me so he moved back to Spain, he came    11        I didn't see her license or anything.
12   once in awhile, I used to take care of his car,       12   BY MR. EDWARDS:
13   and then finally he passed away two years ago.        13      Q. Was this specific responsibility that
14      Q. After you were relieved of your duties          14   we're talking about your responsibility to keep
15   with Mr. Epstein where is the next place where you    15   the identity of the masseuses private, was that
16   were employed?                                        16   something that Sarah Kellen told you more than
17      A. I worked for Sidney Goldman, a gentleman        17   once after you signed the confidentiality
18   in Fort Lauderdale, a wealthy individual also, he     18   agreement?
19   was in his 80's, and I did some functions.            19      A. I believe so.
20      Q. Okay. How long did you work for him?            20      Q. And why would that subject matter come up
21      A. Probably six months.                            21   to where she would need to reiterate that?
22      Q. And why did you stop there?                     22           MR. CRITTON: Form.
23      A. Because he also 83 or 84 at the time and        23           THE WITNESS: Maybe for directions from
24   they start reducing staff. He used to go out, he      24        the boss.
25   didn't need a chauffeur so they slash one of my       25           MR. CRITTON: Move to strike a guess.

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                                                Page 190                                                    Page 192
 1   BY MR. EDWARDS:                                        1   is not a professional masseuse that's showing up
 2      Q. When you were at his house, I think you          2   at his house, they're showing up in a taxicab.
 3   said earlier that he would get one or two massages     3   Right?
 4   everyday he was there. Is that right?                  4          MR. CRITTON: Form.
 5      A. Yes.                                             5          THE WITNESS: Yes.
 6      Q. And each of the massages, just so we're          6   BY MR. EDWARDS:
 7   clear, that you're talking about are given by the      7       Q. So that's something else that you as
 8   girls that are in the age group of C. and T. that      8   somebody who has common sense had told you that
 9   were at his house to have fun. Right?                  9   these are young girls that are at his house to
10           MR. CRITTON: Form.                            10   have fun and that has very little, if anything, to
11           THE WITNESS: I didn't know who was            11   do with a massage.
12        giving the massages but obviously the            12          MR. CRITTON: Form.
13        massages was going on. But I don't know how      13   BY MR. EDWARDS:
14        to answer your question. I don't know if         14       Q. Right?
15        these girls giving the massage itself.           15          MR. CRITTON: Form, argumentative.
16   BY MR. EDWARDS:                                       16          THE WITNESS: In fairness it's hard to
17      Q. No, no, no. You're misunderstanding my          17        say.
18   question, or I'm just not communicating well with     18   BY MR. EDWARDS:
19   you.                                                  19       Q. What was going on behind closed doors?
20           I'm not saying there was a massage or not     20       A. Exactly.
21   a massage going on. I'm saying that you were          21       Q. Why earlier did you say you had the
22   taught to label these girls as masseuses. Right?      22   feeling that there was something more going on
23      A. Yes.                                            23   than a masseuse?
24           MR. CRITTON: Form.                            24       A. In terms of fun. You don't know if it's
25   BY MR. EDWARDS:                                       25   -- I have to say this. Some of this lawsuit is

                                                Page 191                                                    Page 193
 1      Q. And when we're talking about these girls,        1   because forceful violation or something of a girl,
 2   we are talking about the group of girls that would     2   I mean a rape. Okay. So it's hard to say if it
 3   come to his house that are roughly in the age          3   was nothing except having fun.
 4   group of C. and T. Right?                              4          MR. CRITTON: Let me put an objection in,
 5          MR. CRITTON: Form.                              5        move to strike, I'm not sure what that was
 6          THE WITNESS: More or less.                      6        responsive to.
 7   BY MR. EDWARDS:                                        7   BY MR. EDWARDS:
 8      Q. We're not talking about some professional        8      Q. We're talking about a time period when
 9   massage service that would show up at his house to     9   Mr. Epstein is 50 years old plus, and we're
10   give a massage, that's not what we're talking         10   talking about these girls coming over to his house
11   about. Right?                                         11   that are 14, 15, or 16 years old, and you're
12          MR. CRITTON: Form.                             12   categorization is they're just there to have fun.
13          THE WITNESS: It's hard to say. It's            13   Right?
14       hard to say because there are young               14          MR. CRITTON: Form.
15       masseuses too. It's hard to say.                  15          THE WITNESS: Is that what you asked me?
16   BY MR. EDWARDS:                                       16   BY MR. EDWARDS:
17      Q. Well, you testified that some of them           17      Q. Yes.
18   would show up in taxicabs. Right?                     18      A. Yes.
19      A. Yeah.                                           19      Q. Okay. And that in your mind was okay or
20      Q. That's a little odd for a masseuse.             20   that was strange or that was it's none of my
21   Right?                                                21   business?
22          MR. CRITTON: Form.                             22          MR. CRITTON: Form.
23          THE WITNESS: (Shakes head.)                    23          THE WITNESS: I have to say yes or no or
24   BY MR. EDWARDS:                                       24        I have to give my opinion on that?
25      Q. I mean, that's one indication that this         25   BY MR. EDWARDS:

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 1      Q. Sure, go ahead and answer however you            1      A. No, exactly.
 2   want.                                                  2          MR. CRITTON: Form.
 3          MR. CRITTON: Form.                              3   BY MR. EDWARDS:
 4          THE WITNESS: I don't think it was right.        4      Q. I think that the next time you're
 5   BY MR. EDWARDS:                                        5   mentioned in the report, I believe it's page 70.
 6      Q. Did you ever voice that opinion that you         6          MS. EZELL: Off the record briefly.
 7   didn't think that it was right that these young        7          (Thereupon, a discussion was had off the
 8   girls were over behind closed doors upstairs with      8        record.)
 9   Mr. Epstein in his bedroom?                            9   BY MR. EDWARDS:
10          MR. CRITTON: Form.                             10      Q. Page 64. It says, Alfredo Rodriguez
11          THE WITNESS: I been asked that question        11   resides in Miami had eluded, meaning you were
12        before.                                          12   trying to evade or avoid service of process
13   BY MR. EDWARDS:                                       13   servers previously and was not served the
14      Q. Excuse me?                                      14   investigative subpoena.
15      A. I been asked that question before.              15          This is an investigator saying you just
16      Q. By whom?                                        16   weren't home or something. Right?
17      A. Palm Beach Police Department.                   17      A. But I never elude anybody.
18      Q. Did you give the same answer that you did       18      Q. You never intentionally tried to avoid
19   not think it was right?                               19   the police officers?
20          MR. CRITTON: Form.                             20      A. No, no, never.
21          THE WITNESS: Yes.                              21      Q. Okay.
22   BY MR. EDWARDS:                                       22          MR. CRITTON: So much for the police
23      Q. And what about it to you aside from the         23        report.
24   fact that you had a daughter roughly the same age,    24   BY MR. EDWARDS:
25   what besides that told you that it wasn't right?      25      Q. All right. The bottom of page 70 says, I

                                                Page 195                                                     Page 197
 1           MR. CRITTON: Form.                             1   brought Mr. Rodriguez to the interview room.
 2           THE WITNESS: Ask me your question again.       2          Were you taken to an interview room, to a
 3   BY MR. EDWARDS:                                        3   room in the police department?
 4      Q. My question is, why is it your opinion           4      A. This was in the District Attorney's
 5   that it wasn't right for these young girls to be       5   Office.
 6   up in Mr. Epstein's --                                 6      Q. Oh, it was at the State Attorney's
 7      A. It wasn't.                                       7   Office?
 8           MR. CRITTON: Form.                             8      A. Yes.
 9   BY MR. EDWARDS:                                        9      Q. Okay. Was a State Attorney there as
10      Q. It wasn't right?                                10   well?
11      A. It wasn't.                                      11      A. Yes, Mrs. Weiss.
12      Q. And why not?                                    12      Q. Daliah Weiss?
13           MR. CRITTON: Form.                            13      A. Young lady, Weiss. D-E-I-S-S.
14           THE WITNESS: Because I'm a father, I          14      Q. Okay. I have D-A-L-I-A-H, Daliah Weiss,
15       have two daughters.                               15   W-E-I-S-S.
16   BY MR. EDWARDS:                                       16      A. Yes.
17      Q. And given Mr. Epstein's wealth and power        17      Q. That's her?
18   and influence, is that something that you as a        18      A. Yeah.
19   father could have seen your daughters doing at        19      Q. Okay. Did she ask you any questions?
20   that age?                                             20      A. Both of them.
21           MR. CRITTON: Form.                            21      Q. Okay. So it was both -- if there is a --
22           THE WITNESS: I don't think that my            22   I think you said earlier there is a taped
23       daughters would be doing that.                    23   statement, there is a tape of this?
24   BY MR. EDWARDS:                                       24      A. Yes.
25      Q. You would hope not.                             25      Q. If we listen to that tape if we ever get

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 1   that tape it's going to be Assistant Attorney          1   friends, I will say, yeah.
 2   Weiss and Detective Recarey asking questions?          2       Q. Then you mentioned that you typed into
 3      A. Yes.                                             3   Google, I guess you Googled Prince Andrew and Bill
 4      Q. It says, during the sworn taped statement        4   Clinton. Why would you pick those names, were
 5   Mr. Rodriguez stated he was employed by Jeffrey        5   they associated with Mr. Epstein?
 6   Epstein for approximately six months.                  6       A. Yes.
 7          I think we already talked about that.           7       Q. And what is your understanding as to how
 8   I'm skipping ahead a little bit.                       8   Prince Andrew is associated with Jeffrey Epstein?
 9          If Rodriguez needed to relay a message to       9       A. Because there were pictures with him
10   Epstein he would have to notify Epstein's             10   together.
11   secretary Lesley in New York who would then notify    11       Q. In the house?
12   Epstein's personal assistant Sarah who would relay    12       A. Yes.
13   the message to Epstein.                               13       Q. Many pictures or are we talking about
14      A. Yeah.                                           14   one?
15          MR. CRITTON: Form.                             15       A. Many pictures.
16   BY MR. EDWARDS:                                       16       Q. Were these pictures that looked that
17      Q. That's pretty much the process you              17   appeared to be at social events, at Mr. Epstein's
18   described?                                            18   house or where?
19      A. Yes, it was normal procedure.                   19       A. Mrs. Maxwell took him to England to
20      Q. Rodriguez stated Epstein did not want to        20   introduce him to the royalty.
21   see or hear the staff when he was in the              21       Q. Is it's your understanding that Ghislaine
22   residence?                                            22   Maxwell knew Prince Andrew and introduced --
23          MR. CRITTON: Form.                             23       A. Yes.
24          THE WITNESS: That's correct.                   24       Q. Is it also your understanding that at
25   BY MR. EDWARDS:                                       25   some point in time Ghislaine dated or had a

                                                Page 199                                                   Page 201
 1      Q. That's something you agree with?                 1   romantic relationship with Prince Andrew?
 2      A. Yes.                                             2         MR. CRITTON: Form.
 3         MR. CRITTON: Form.                               3         THE WITNESS: I don't know that.
 4   BY MR. EDWARDS:                                        4   BY MR. EDWARDS:
 5      Q. Rodriguez advised Mr. Epstein had many           5      Q. Do you know around what time period it
 6   guests.                                                6   was that Mr. Epstein was introduced to Prince
 7         In addition to the girls who are roughly         7   Andrew?
 8   C. and T. age who had come to the house to have a      8      A. 2003, I believe.
 9   good time, who were some of the other guests that      9      Q. How do you know that?
10   you know of, if you know their name?                  10      A. I've heard dates.
11         MR. CRITTON: Form.                              11      Q. From people in the Epstein group?
12         THE WITNESS: I mentioned Alan                   12      A. Yes.
13       Dershowitz.                                       13      Q. Okay.
14   BY MR. EDWARDS:                                       14         MR. CRITTON: Let me note my objection,
15      Q. That's a lawyer from Harvard?                   15       move to strike, it's based on -- his
16      A. Yes. The magician, David Copperfield,           16       testimony is based on hearsay.
17   some other lawyers from New York, you know. There     17   BY MR. EDWARDS:
18   were some other guests.                               18      Q. During the six month period of time when
19      Q. And how frequently would these other            19   you worked directly for Mr. Epstein, how often did
20   guests come over?                                     20   Mr. Epstein get together with or hangout with
21      A. Once a month, something like that.              21   Prince Andrew; if you know?
22      Q. Okay. So if it's only once a month and          22      A. I didn't see him once.
23   you were only there six months you're saying you      23      Q. You never saw Prince Andrew at the house?
24   only saw six guests come over in addition to --       24      A. No, no, he called.
25      A. They have people, you know, they have           25      Q. I'm sorry, how often would he call?

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                                                Page 202                                                   Page 204
 1       A. I will say once a week we used to get a         1      A. Probably is.
 2   call from him.                                         2          MR. CRITTON: Form, move to strike, it's
 3       Q. Did you ever hear or did you ever know of       3        a guess, speculation.
 4   Prince Andrew being involved with any of the same      4   BY MR. EDWARDS:
 5   girls that Jeffrey Epstein was involved?               5      Q. When you say he probably is, what are you
 6       A. No.                                             6   basing that on?
 7       Q. All right. Same question with Bill              7      A. Because he belongs to all the clubs in
 8   Clinton, were you ever aware of him being involved     8   Palm Beach.
 9   with any girls?                                        9      Q. Okay. But you don't have a list of all
10       A. No.                                            10   of the clubs that he belongs to?
11       Q. And David Copperfield?                         11      A. I used to.
12       A. No.                                            12      Q. And on that list --
13       Q. What would he do when he was in town?          13      A. I don't remember, you know.
14       A. He came to the house, played tricks and        14      Q. Okay. Do you know where that list is?
15   he leave.                                             15      A. Probably it's in the house.
16       Q. Did you watch?                                 16      Q. Skipping down on page 71 of the report to
17       A. Yeah. Cards and --                             17   the third paragraph, Rodriguez stated once the
18       Q. That's nice, you get an up close and           18   masseuses would arrive, he would allow them entry
19   personal show from David Copperfield.                 19   into the kitchen area and offer them something to
20           How often would David Copperfield and         20   eat or drink. Do you agree with that?
21   Jeffrey Epstein talk?                                 21      A. Yes.
22       A. When I was there he was maybe two or           22          MR. CRITTON: Form.
23   three times in the house.                             23   BY MR. EDWARDS:
24       Q. Besides those guests have you pretty much      24      Q. They would then be encountered by Sarah
25   listed the guests that you were aware of?             25   or Epstein.

                                                Page 203                                                   Page 205
 1      A. Mr. Dershowitz was there, I took him two         1         MR. CRITTON: Form.
 2   or three times to the airport. And like I say,         2         THE WITNESS: (Shakes head.)
 3   lawyers from New York, business matters.               3   BY MR. EDWARDS:
 4      Q. Okay. And Donald Trump, did you ever see         4      Q. Yes?
 5   him at the house?                                      5      A. (Shakes head.)
 6      A. No, he used to call.                             6      Q. They would then be taken upstairs to
 7      Q. Is it your understanding that -- or              7   provide a massage. Right?
 8   through your knowledge do you know if Donald Trump     8         MR. CRITTON: Form.
 9   owned or runs the Mara Lago Club?                      9         THE WITNESS: Yes.
10      A. Yes.                                            10   BY MR. EDWARDS:
11      Q. Did Mr. Epstein go to the Mara Lago Club?       11      Q. Again, you don't know what happened
12      A. No.                                             12   behind closed doors?
13      Q. Why not?                                        13      A. No.
14          MR. CRITTON: Form.                             14      Q. But you were told to refer to these girls
15          THE WITNESS: He's a very private person.       15   as masseuses?
16   BY MR. EDWARDS:                                       16      A. Yes.
17      Q. So it's your understanding that Mr.             17      Q. Aside from being told that, you have
18   Epstein didn't go to the Mara Lago Club just          18   absolutely no idea what went on up there?
19   because he's private?                                 19      A. No.
20          MR. CRITTON: Form.                             20      Q. All right. I asked Rodriguez any of the
21          THE WITNESS: Yes.                              21   masseuses appeared to be young in age, he advised
22   BY MR. EDWARDS:                                       22   he didn't ask their ages but felt they were very
23      Q. Are you aware, has he ever been there?          23   young.
24      A. That I don't know.                              24      A. Early 20's, you know. They're all very
25      Q. Do you know if he's a member?                   25   young, but I mean, it's hard to say who's underage

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                                                  Page 206                                                    Page 208
 1   now, you know. It's a fine line, you know.               1          THE WITNESS: But he was in the house.
 2      Q. Okay. You didn't ask their ages?                   2   BY MR. EDWARDS:
 3      A. No.                                                3      Q. Okay. You don't know why she was there?
 4      Q. And these are the masseuses where you              4      A. Honestly the truth, you know, I cannot
 5   were told to keep their identities private anyway?       5   say, they all came for the same motive but --
 6          MR. CRITTON: Form.                                6      Q. To have fun?
 7          THE WITNESS: Yes.                                 7      A. To have fun.
 8   BY MR. EDWARDS:                                          8          MR. CRITTON: Form.
 9      Q. Rodriguez stated they would eat tons of            9   BY MR. EDWARDS:
10   cereal and drink milk all the time. Is that true?       10      Q. Okay. Let me try to figure this out
11          MR. CRITTON: Form.                               11   then. They all came over in your mind to have
12          THE WITNESS: Yes.                                12   fun.
13   BY MR. EDWARDS:                                         13          Did you ever see any contact between
14      Q. So the masseuses would come over and              14   Epstein, Mr. Epstein, and any of these girls other
15   either before or after going up to Mr. Epstein's        15   than whatever contact he was having with them in
16   bedroom they would go to the kitchen and eat            16   the bedroom?
17   cereal and milk?                                        17          MR. CRITTON: Form.
18      A. And ice cream.                                    18          THE WITNESS: No, no.
19      Q. That's what the kids would eat?                   19   BY MR. EDWARDS:
20      A. (Shakes head.)                                    20      Q. Okay. So when you say they came over to
21      Q. Yes?                                              21   have fun, you're talking about whatever fun was
22      A. Yes.                                              22   going on behind closed doors in the bedroom?
23          MR. CRITTON: Let me object to the form           23          MR. CRITTON: Form.
24       of the last question.                               24          THE WITNESS: They go to the pool during
25   BY MR. EDWARDS:                                         25        the daytime.

                                                  Page 207                                                    Page 209
 1      Q. Rodriguez stated the girls that would              1   BY MR. EDWARDS:
 2   come appeared to be too young to be masseuses.           2      Q. Without Mr. Epstein?
 3          Is that something you agree with?                 3      A. With Mr. Epstein.
 4          MR. CRITTON: Form.                                4      Q. He would go with them?
 5          THE WITNESS: Some of them, you know.              5      A. (Shakes head.)
 6   BY MR. EDWARDS:                                          6      Q. Do you ever remember C. or T. or A.
 7      Q. Especially when we're talking about C.             7   going to the pool with Mr. Epstein?
 8   and T, those girls, they appeared to be too young        8      A. The pool was used everyday, so probably
 9   to be masseuses. Right?                                  9   they were there, but I cannot -- I cannot say yes,
10          MR. CRITTON: Form.                               10   I saw her, you know.
11          THE WITNESS: Yes.                                11      Q. So you know that some of these girls who
12   BY MR. EDWARDS:                                         12   were -- who you labelled as masseuses that were
13      Q. He stated one time under Epstein's                13   very young in age came over to the house and they
14   direction he delivered a dozen roses to Royal Palm      14   oftentimes used the swimming pool area but you
15   Beach High School for one of the girls that came        15   can't say that any of those girls were C. or T.
16   to provide a massage.                                   16   or A.?
17          And that is the -- that is the girl that         17          MR. CRITTON: Form.
18   we talked about earlier, A.?                            18          THE WITNESS: No, because when they were
19      A. Yes.                                              19        at the pool it was off limits for any of the
20      Q. Okay. And that's a girl who also came             20        staff.
21   over to Mr. Epstein's house and was one of the          21   BY MR. EDWARDS:
22   girls who was up in the bedroom privately with Mr.      22      Q. Why is that? Is that in the rule book?
23   Epstein at times. Right?                                23      A. No, because they were naked. Louella
24      A. I never see them upstairs.                        24   told me to leave them alone, so until they leave
25          MR. CRITTON: Form.                               25   the area we couldn't go, so we couldn't -- I

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 1   didn't see nothing, you know.                          1       Q. Do you know any of these people that I'm
 2      Q. How do you know they were naked?                 2   telling you?
 3      A. Because Louella told me one time.                3       A. I don't remember.
 4           MR. CRITTON: Move to strike, predicate         4       Q. Okay.
 5       with regard to his last testimony.                 5       A. She's a female, what I'm talking about,
 6   BY MR. EDWARDS:                                        6   the pool taker.
 7      Q. How do you know that the young girls that        7       Q. Okay. Janusz Banasiak?
 8   would come over that were labelled as masseuses        8       A. Could be.
 9   were naked in the swimming pool area?                  9       Q. I believe that that's a male but I'm not
10           MR. CRITTON: Form.                            10   sure.
11           THE WITNESS: How do I know, because           11       A. I don't remember.
12       Louella spot them or one other time the girl      12       Q. It lists house manager, I don't know that
13       who takes care of the pool say, Alfredo,          13   that would be somebody you'd categorize as a house
14       I'll come back tomorrow because they are          14   manager but --
15       playing around here and doing this, I mean,       15       A. What's the name?
16       naked.                                            16       Q. Janusz Banasiak?
17   BY MR. EDWARDS:                                       17       A. (Shakes head.)
18      Q. Just naked or doing something more?             18       Q. Michael and Rosalie Friedman?
19      A. No, naked, naked.                               19       A. Yes, Michael Friedman was before me.
20      Q. And who was the girl who takes care of          20       Q. Okay. Is Rosalie Friedman the lady that
21   the pool?                                             21   you're referring to that cleaned the pool?
22      A. I forgot, I don't remember.                     22       A. No.
23      Q. Well, there was a point in time where I         23       Q. Louella Rabuyo?
24   sent interrogatories which are questions under        24       A. Louella is still there, I hired her, the
25   oath to Mr. Epstein in this case and I asked          25   housekeeper.

                                                Page 211                                                    Page 213
 1   specifically what is the current name, address,        1      Q. Is that somebody who would provide
 2   and telephone number of each person that resided       2   information as to what was going on in this house?
 3   or worked within the home located at 358 El Brillo     3      A. Could be.
 4   Way, West Palm Beach, between 2001 to the present.     4      Q. Is that somebody who would also have had
 5          The answer was -- and just so the record        5   to sign this confidentiality agreement?
 6   is very clear in terms of what the answer was          6      A. Yes.
 7   talking about, plaintiff's complaint alleges a         7      Q. And in addition to you signing this
 8   time period of approximately August 2002 and           8   confidentiality agreement is that an agreement
 9   continuing until approximately September 2005, so      9   that you know all of the staff working with
10   the answer is within that time period of 2002 and     10   Jeffrey Epstein had to sign?
11   2005.                                                 11          MR. CRITTON: Form.
12          I'm going to list -- I'm going to tell         12          THE WITNESS: Yes.
13   you all the names that were provided to me and you    13   BY MR. EDWARDS:
14   tell me if any of these people is that person that    14      Q. So anybody that was hired and worked at
15   we're talking about who maintained the pool.          15   this house has had to sign this confidentiality
16   Okay?                                                 16   agreement?
17       A. No.                                            17      A. Yes.
18       Q. Ryan Dionne?                                   18      Q. And are you aware of anybody other than
19       A. No.                                            19   Mr. Epstein having access to this confidentiality
20       Q. David Mullen?                                  20   agreement?
21       A. No.                                            21      A. Ghislaine Maxwell.
22       Q. Brent Tindall?                                 22      Q. Ghislaine Maxwell. Okay. Alfredo
23       A. No.                                            23   Rodriguez, you made the list. Michael Liffman?
24       Q. Mark Tafoya?                                   24      A. Michael, yeah, I think he was before
25       A. (Shakes head.)                                 25   Friedman.

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                                                 Page 214                                                    Page 216
 1       Q. Okay. Adriana Ross?                              1   that worked for Mr. Epstein or at that house?
 2       A. There were two house managers in one year        2       A. Jerome the gardener.
 3   prior to me.                                            3       Q. Okay.
 4       Q. Do you know what Adriana Ross's position         4       A. Jerome Pierre and the staff from New
 5   was at the house?                                       5   York. Once in awhile, Doug Shadow, he was the
 6       A. No.                                              6   architect who used to come in in charge of
 7       Q. There is only a few more names.                  7   renovation.
 8   Brahakmana Mellawa and -- I can't even pronounce        8       Q. What about Nicole Hess?
 9   it. Mr. and Mrs. Mellawa?                               9       A. No.
10       A. Yeah, they are from Bangladesh, they were       10       Q. You don't know who that is. All right.
11   the couple taking care --                              11   The exhibit that I believe is number one right now
12       Q. That's the couple you referred to earlier       12   which is this message pad, there are numerous
13   from Bangladesh?                                       13   messages that have your initials, AR. But there
14       A. Yes.                                            14   are also messages that are on the same pad
15       Q. And Sarah Kellen. And Juan and Maria            15   which --
16   Alessi?                                                16          MR. CRITTON: What date are you looking
17       A. Joe Alessi.                                     17        at?
18       Q. Do you still speak to any of those              18   BY MR. EDWARDS:
19   people?                                                19       Q. The very last day of this compilation
20       A. No. When I was there there was some mail        20   1/30/05 and 2/2/05.
21   that arrive so I contact them and say I have some      21       A. These three are not my writing.
22   mail, but other than that, no.                         22       Q. That's what I was going to ask you. This
23       Q. Okay. Do you know how to get in touch           23   is a message pad that was in the house. Right?
24   with any of these people?                              24       A. In the house, yes.
25       A. They're in the area. Joe Alessi has             25       Q. So you would think that the person that

                                                 Page 215                                                    Page 217
 1   apartments there.                                       1   made that signature whoever that person is was
 2       Q. The lady that you're referring to that at        2   also in the house. Right?
 3   some point in time saw these kids naked by the          3       A. Yes.
 4   pool --                                                 4       Q. Who possibly would that be with the J.,
 5       A. Louella.                                         5   it's just a J.?
 6           MR. CRITTON: Form.                              6       A. I don't know.
 7   BY MR. EDWARDS:                                         7       Q. When you sat down today I remember you
 8       Q. But was there another girl who was in            8   making a statement that something to the effect
 9   charge of cleaning the pool?                            9   of, and I'm going to paraphrase, can you believe
10       A. No, no, the pool lady was a contractor          10   that they pulled these message pads out of the
11   from outside, she used to park the truck outside,      11   trash. Do you remember saying that?
12   and when she see that they're there she will tell      12       A. Yes.
13   me, Alfredo, I'll come back tomorrow because --        13       Q. How did you learn that they pulled the
14       Q. Were you familiar with another husband          14   message pads from the trash?
15   and wife that worked there, Patrick and Eve?           15       A. Because it was in the Palm Beach Daily
16       A. Yeah, I believe so, Patrick, yeah.              16   News.
17       Q. And did he work there the same time you         17       Q. You read it in the paper?
18   worked there?                                          18       A. Yes.
19       A. No, before me.                                  19       Q. So in addition to Googling the various
20       Q. And do you know why they left?                  20   people that were friends of Mr. Epstein you've
21       A. I think everybody quit because of the           21   kept up with what's going on in the investigation?
22   hectic schedule, you know, to be honest with you,      22       A. Yeah, because it was my job so I'm
23   but I don't know.                                      23   working next door to this other lady and I want to
24       Q. All right. But of the names that I              24   know, it was in the news, you know, it's like a --
25   listed is there anybody else that you remember         25           MR. EDWARDS: All right. I have a lot to

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                                                 Page 218                                                     Page 220
 1         go but we can take a break.                       1   there was more going on than just massages with
 2            THE VIDEOGRAPHER: We're off the record.        2   anybody else that worked at the house?
 3            (Thereupon, a recess was had.)                 3      A. No.
 4            THE VIDEOGRAPHER: We're back on the            4      Q. Did you talk about that with anybody
 5         record, tape number five.                         5   else?
 6   BY MR. EDWARDS:                                         6      A. No, nothing. This is the first time that
 7       Q. I stopped with knew the girls -- sorry.          7   I said this openly because I was subpoenaed and
 8            I stopped with the sentence in the police      8   there were these things, you know.
 9   report, page 71, he delivered a dozen roses to          9      Q. Right. And right now is the second time
10   Royal Palm Beach High School.                          10   you said it openly because you're subpoenaed
11            And that's something you told us about        11   again?
12   earlier. Right?                                        12      A. Yes.
13       A. Yes.                                            13           MR. CRITTON: Form.
14       Q. Then it says, he knew the girls were            14   BY MR. EDWARDS:
15   still in high school and were of high school age.      15      Q. Otherwise you have not expressed those
16            Speaking of the girls who were coming         16   feelings to anybody else?
17   over labelled as masseuses, is that something --       17      A. No.
18            (Thereupon, an interruption was had.)         18      Q. What about when you spoke with Mr.
19   BY MR. EDWARDS:                                        19   Epstein's attorneys or investigators, did you talk
20       Q. The statement is, he knew the girls were        20   to them about that?
21   still in high school and were of high school age.      21      A. No.
22   That's something you agree with?                       22      Q. And why did you choose not to tell them
23            MR. CRITTON: Form, out of context.            23   that you felt there were more -- that there was
24            THE WITNESS: I saw them in high school.       24   more going on in the bedroom with these young
25   BY MR. EDWARDS:                                        25   girls than just massages?

                                                 Page 219                                                     Page 221
 1       Q. The girls that we were talking about, and        1          MR. CRITTON: Form.
 2   I'm talking about C. and T. specifically, but           2          THE WITNESS: The only reason I contacted
 3   these are girls that looked of high school age to       3        the attorneys was to see what's my position
 4   you.                                                    4        because I didn't have money to go to an
 5          MR. CRITTON: Form.                               5        attorney myself.
 6          THE WITNESS: It's hard to say.                   6   BY MR. EDWARDS:
 7   BY MR. EDWARDS:                                         7      Q. Why would you feel like you may need an
 8       Q. That wouldn't shock you though?                  8   attorney though if you didn't do anything wrong?
 9          MR. CRITTON: Form.                               9      A. I didn't need an attorney.
10          THE WITNESS: No.                                10      Q. You were just frightened by the process?
11   BY MR. EDWARDS:                                        11      A. The process and the people who was
12       Q. Doesn't surprise you?                           12   involved in this.
13       A. No.                                             13      Q. The people involved meaning Ghislaine
14          MR. CRITTON: Form.                              14   Maxwell and Jeffrey Epstein?
15   BY MR. EDWARDS:                                        15          MR. CRITTON: Form.
16       Q. I asked Rodriguez about the massages, he        16   BY MR. EDWARDS:
17   felt there was a lot more going on than just           17      Q. I'll ask you, which people are you
18   massages.                                              18   talking about?
19          Is that something you told him?                 19      A. Ghislaine Maxwell.
20          MR. CRITTON: Form.                              20      Q. And were you still frightened because of
21          THE WITNESS: Yes.                               21   the threat that she --
22   BY MR. EDWARDS:                                        22      A. I don't think so now, you know, I'm
23       Q. Do you know if it was a feeling that --         23   protected because I'm doing this publicly.
24   well, let me ask you this way.                         24      Q. Okay. Well, going back to my other
25          Did you ever talk about that feeling that       25   question about why didn't you reveal to Mr.

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 1   Epstein's investigators that you felt there was         1        massage with a handle with two rubber things
 2   more going on in the bedroom than just massages?        2        that you can do massage yourself, this was
 3          MR. CRITTON: Form.                               3        always on the floor, maybe one or two.
 4          THE WITNESS: Because they were more              4   BY MR. EDWARDS:
 5        interested in how much I know, they didn't         5      Q. Okay. When you say this is always on the
 6        ask me anything else, and I told them              6   floor, do you mean 24 hours a day it's on the
 7        exactly what I knew and what I was doing.          7   floor?
 8   BY MR. EDWARDS:                                         8      A. No, no, no, after each massage. Because
 9      Q. Okay. You were asked by Mr. Mermelstein           9   I assume the masseuses or anybody they were doing,
10   when he was asking you about the meeting with Mr.      10   they were taken out of the closet wherever they
11   Epstein's investigators he said, did they make any     11   belong and they would leave there. So Louella and
12   threat or did they threaten you, and you paused        12   myself, we always find this on the floor.
13   and said I don't believe so.                           13      Q. And this is a massager that belongs to or
14      A. Yeah, I think they didn't tell me                14   is owned by Mr. Epstein?
15   anything that I will feel -- they told me that         15      A. Yes.
16   they want to know what I know and if I need an         16      Q. This isn't something that these girls
17   attorney.                                              17   would bring over to the house?
18      Q. Okay. Did you find that strange at all           18      A. No, no, it's in the house, it's part of
19   that they offered you an attorney?                     19   the inventory.
20      A. I went to have dinner at my house and I          20      Q. And that statement is a few statements
21   told this to my wife and she told me, Alfredo, you     21   after you felt that there was a lot more going on
22   don't need an attorney, so I called him the next       22   than just massages, is there something about that
23   day and that was it.                                   23   object being left on the ground and the type of
24      Q. You called the investigators?                    24   object that it was that also lead you to believe
25      A. Yes. I declined, I don't need an                 25   that there is something more going on here than

                                                 Page 223                                                   Page 225
 1   attorney.                                               1   just massages?
 2       Q. If we want to know the exact names of the        2           MR. CRITTON: Form.
 3   investigators that you met at Don Shula's and at        3           THE WITNESS: Yes.
 4   your house, how would we get that information, do       4   BY MR. EDWARDS:
 5   you have it somewhere?                                  5      Q. What about it, just tell us?
 6       A. Probably I have it in the house.                 6           MR. CRITTON: Form.
 7       Q. So if we do have to come back here and           7           THE WITNESS: I thought they were having
 8   finish this up, the next time would you be able to      8        a good time, I never thought it was
 9   bring that?                                             9        something done against anybody's will, but
10       A. I think so.                                     10        of course, you know that it's more than
11       Q. Okay. Do you know where in your house           11        massage.
12   that you have it, I mean, have you kept it in a        12   BY MR. EDWARDS:
13   certain place?                                         13      Q. Right, I'm just asking you to explain how
14       A. I have to look.                                 14   you know that.
15       Q. All right. After the sentence that we           15           MR. CRITTON: Let me just move to strike
16   left off it says, he, speaking of Mr. Rodriguez,       16        his last answer as speculation. Form as to
17   would clean Mr. Epstein's bedroom after the            17        your statement.
18   alleged massages and would discover massagers          18           THE WITNESS: You're 50 years old and
19   slash vibrators and sex toys scattered on the          19        it's -- you're an old -- you know, it's just
20   floor.                                                 20        instinct.
21           Can you tell us what types of sex toys         21           MR. CRITTON: Move to strike.
22   that you found scattered on the floor after the        22   BY MR. EDWARDS:
23   massages with these young girls?                       23      Q. It was obvious to you?
24           MR. CRITTON: Form.                             24      A. Yes.
25           THE WITNESS: Like I explain, there was a       25           MR. CRITTON: Form.

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                                                 Page 226                                                     Page 228
 1   BY MR. EDWARDS:                                         1   underwear she brought it to the laundry and we
 2      Q. He also said he would wipe down the               2   used to label it.
 3   vibrators and sex toys and put them away in the         3      Q. Just so that the record is clear as to
 4   armoire.                                                4   what we're talking about with this and that, I
 5          MR. CRITTON: Form.                               5   want you to tell us what Louella would tell you
 6          THE WITNESS: These things have a tip,            6   specifically, I found this and then would she show
 7        they have the cream, they have all kinds of        7   you what it was?
 8        cream for giving massage.                          8      A. No, she didn't show me, she said I
 9   BY MR. EDWARDS:                                         9   cleaned this and I put it away, it was a vibrator.
10      Q. How many of these massagers or vibrators         10      Q. Did she describe the vibrator for you so
11   would you wipe down?                                   11   that you knew which one she was talking about?
12          MR. CRITTON: Form.                              12      A. The vibrator that a female would use for
13          THE WITNESS: This big one all the time.         13   personal use.
14   BY MR. EDWARDS:                                        14      Q. Not the same long one that you've been
15      Q. Right. Other than the big one all the            15   describing?
16   time did you wipe down at any time any of the          16      A. No.
17   other sex toys or vibrators?                           17      Q. One that is a penis shaped vibrator.
18      A. No.                                              18          MR. CRITTON: Form.
19          MR. CRITTON: Form.                              19          THE WITNESS: Yes.
20   BY MR. EDWARDS:                                        20   BY MR. EDWARDS:
21      Q. So if there were any other sex toys or           21      Q. That's what she was talking about?
22   vibrators or I believe you used the term dildo         22      A. Yes.
23   earlier that were ever used, those are items that      23      Q. And did she tell you on how many
24   you did not find on the floor and were put away in     24   occasions after these --
25   the armoire?                                           25      A. Several times.

                                                 Page 227                                                     Page 229
 1          MR. CRITTON: Form.                               1      Q. And can you explain to us why it is that
 2          THE WITNESS: Louella told me I did this,         2   -- and maybe it's just I don't understand the
 3        I did that.                                        3   process of cleaning the room who went in first and
 4   BY MR. EDWARDS:                                         4   second and whatever, but my question is why is it
 5       Q. So tell us what did Louella tell you?            5   that she would always be the one to encounter the
 6       A. She find toys on the floors, she have to         6   penis shaped vibrators and you would encounter
 7   clean them.                                             7   this other longer vibrator?
 8       Q. Did she tell you when she found the toys         8           MR. CRITTON: Form.
 9   on the floor?                                           9           THE WITNESS: Because it was her job to
10       A. After his massages, you know.                   10        clean the room. When she was busy she will
11       Q. With the young girls that we're talking         11        ask me, Alfredo, can you help me carry, I
12   about?                                                 12        have a lot of towels, because there were
13       A. Yes.                                            13        mountains because being an older woman I
14       Q. Okay. And when did Louella tell you             14        help her carry to the -- and put the towels
15   that?                                                  15        downstairs, take it to the laundry. But she
16       A. Almost every other time when she found          16        told me I found these things, I clean it, I
17   it, you know, Alfredo I found this thing again         17        put it in that armoire, they're over there.
18   because she despised to clean this, she had to put     18           So she will give me -- we used to
19   the gloves or whatever.                                19        communicate all those little details, but it
20       Q. Okay. So it sounds like you had an              20        was her job to be in the room first.
21   actual conversation about this where she's             21   BY MR. EDWARDS:
22   describing she doesn't want to clean it.               22      Q. And what did she say about liking or
23       A. Because I told her to tell me up to date        23   disliking the fact that she had to clean these
24   on things that are not normal, so she told me, you     24   vibrators?
25   know, I found this, I found that, or some              25      A. She didn't like to clean those.

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                                                 Page 230                                                   Page 232
 1      Q. Did she tell you why?                             1       a lack of respect. So, you know, she was
 2      A. Because, you know, she knew what they             2       shocked. So obviously she needed a job but
 3   were for and probably she despised to clean             3       she expressed her --
 4   objects.                                                4         MR. WILLITS: I'm sorry, I did not hear
 5      Q. Did she ever make any comments about how          5       that, could the witness repeat that?
 6   young the girls were that were in the room with         6         THE WITNESS: I was just talking about
 7   Mr. Epstein just before she had to go in and clean      7       Louella, deeply religious staff member that
 8   these vibrators?                                        8       worked with me and she told me one occasion
 9          MR. CRITTON: Form.                               9       that she was crying because the picture of
10          THE WITNESS: No.                                10       the Pope was next to a naked girl.
11   BY MR. EDWARDS:                                        11         MR. WILLITS: Okay.
12      Q. Is the age of the girls that were coming         12   BY MR. EDWARDS:
13   over and going behind closed doors with Mr.            13      Q. Okay. Besides Louella did you ever have
14   Epstein a subject that ever came up between you        14   a conversation with anybody else that works in the
15   and Louella?                                           15   house about the young age of the girls and Mr.
16      A. Sometimes.                                       16   Epstein being in the bedroom and the fact that
17      Q. And what would the conversation consist          17   there are sex toys on the floor afterwards being
18   of?                                                    18   wrong?
19      A. She will be surprised and say some of the        19         MR. CRITTON: Form.
20   girls are too young, and I said -- we just wonder,     20         THE WITNESS: Nobody else inside the
21   you know, but we comment each other.                   21       house was allowed except just the two of us,
22      Q. Did it ever -- as a father did it ever           22       so I never commented on this with anybody.
23   occur to you that maybe I should say something or      23   BY MR. EDWARDS:
24   I shouldn't be here or I shouldn't be apart of         24      Q. All right. The next sentence starts a
25   this considering how young they are and how old he     25   new paragraph, Epstein ordered Rodriguez to go to

                                                 Page 231                                                   Page 233
 1   is?                                                     1   the Dollar Rent a Car and rent a car for the same
 2          MR. CRITTON: Form.                               2   girl he brought the roses to.
 3          THE WITNESS: Yes.                                3          I guess we're talking about A.
 4   BY MR. EDWARDS:                                         4          So that she could drive herself to
 5      Q. Is that something that on more than one           5   Epstein's house without incident. Rodriguez said
 6   occasion you thought to yourself this is just           6   the girl always needed rides to and from the
 7   wrong?                                                  7   house.
 8          MR. CRITTON: Form.                               8          Are those statements you agree with?
 9          THE WITNESS: Yes.                                9          MR. CRITTON: Form.
10   BY MR. EDWARDS:                                        10          THE WITNESS: I took her a few times to
11      Q. And did you ever have a conversation with        11        her house.
12   Louella about the fact that that's not right?          12   BY MR. EDWARDS:
13      A. We had.                                          13      Q. You took A. to and from her house?
14      Q. And Louella stayed there and she's still         14      A. In Royal Palm Beach.
15   employed there?                                        15      Q. Okay. Did she say anything in the car to
16      A. I believe she was.                               16   you about what was going on in the bedroom with
17      Q. And did she ever mention to you that she         17   Mr. Epstein?
18   thought that the situation was wrong and that she      18      A. I always try to keep the conversation to
19   was contemplating --                                   19   a minimum when I was with them because it was my
20      A. She was a deeply religious --                    20   job, you know, I didn't want to talk so the
21          MR. CRITTON: Form to the last question.         21   conversation was minimal.
22          THE WITNESS: -- Catholic Filipino girl          22      Q. And these are girls that you're talking
23       -- lady, and one day she came crying because       23   to that are roughly the same age as a daughter
24       she found a picture of the Pope next to            24   that you have?
25       naked girl, both pictures, and she said it's       25      A. Yeah.

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                                                Page 234                                                   Page 236
 1          MR. CRITTON: Form.                              1         Epstein.
 2   BY MR. EDWARDS:                                        2   BY MR. EDWARDS:
 3      Q. And so you never inquired of them as to          3       Q. Okay. But this is talking about a
 4   what was going on behind closed doors?                 4   situation where girls come to the house, and these
 5      A. Never.                                           5   young girls come to the house and Mr. Epstein is
 6      Q. Other than A. did you take any of the            6   not at the house at all. That happened?
 7   other girls to or from -- and the girls I'm            7           MR. CRITTON: Form.
 8   talking about are these young girls that are           8           THE WITNESS: Well, they left and --
 9   roughly the same age as C. and T. that you             9   BY MR. EDWARDS:
10   labelled masseuses.                                   10       Q. Wait. Who are you talking about?
11          Did you take any of them to or from their      11       A. Mr. Epstein, the girls, and Sarah, they
12   homes on any occasion?                                12   go away.
13          MR. CRITTON: Form.                             13       Q. You're talking about a different set of
14          THE WITNESS: Probably a couple of times.       14   girls now, now you're talking about the girls that
15   BY MR. EDWARDS:                                       15   fly with him on the airplane.
16      Q. Do you remember if you ever took C. or T.       16       A. Exactly. But they're out of the house.
17   to or from their homes?                               17   But Sarah will call me and leave me instructions
18      A. I don't remember but if it was somewhere        18   on my phone that I have to pay so and so and they
19   in West Palm Beach or Royal Palm Beach, probably,     19   will be there this evening or this afternoon,
20   yes.                                                  20   that's why there was nobody in the house but I
21      Q. All right. And the homes you would take         21   still have to pay them.
22   these girls to, can you describe the neighborhood?    22       Q. Okay. Would these girls usually arrive
23      A. They were blue collar neighborhoods.            23   by taxicab and you would have to pay them?
24      Q. Much different than Mr. Epstein?                24           MR. CRITTON: Form.
25          MR. CRITTON: Form.                             25           THE WITNESS: Sometimes taxi and

                                                Page 235                                                   Page 237
 1          THE WITNESS: Very different.                    1        sometimes their own cars.
 2          MR. CRITTON: Argumentative.                     2   BY MR. EDWARDS:
 3   BY MR. EDWARDS:                                        3      Q. And you mentioned that you would
 4      Q. Did any of the girls ever talk to you in         4   sometimes be the person to call them a cab.
 5   the car about anybody else that they ever gave a       5   Right?
 6   massage to?                                            6      A. Yes.
 7      A. No, they were very private.                      7      Q. How did you know which cab service to
 8      Q. Rodriguez referred to himself as a human         8   use?
 9   ATM machine and was ordered by Epstein to maintain     9      A. We used to have in the house two or three
10   a minimum balance of $2,000 on him at all times.      10   numbers and people knew the house because
11          That's something you've told us already.       11   sometimes it was hard to -- it was easy to get
12   Right?                                                12   lost to get to the house.
13          MR. CRITTON: Form.                             13      Q. So were there certain taxicab drivers
14          THE WITNESS: Yeah.                             14   that you would ask to come specifically?
15   BY MR. EDWARDS:                                       15      A. Yes.
16      Q. When a girl would come by the house and         16      Q. Who?
17   Mr. Epstein was either not in the residence or was    17      A. I don't remember, but they knew the house
18   not at home at the time Rodriguez was to provide      18   right away, it's like Joe, come here, I need you.
19   the girl, in parenthesis, masseuse, several           19      Q. Would you have that name of that person
20   hundred dollars for their time and to notify          20   that would typically drive these girls, you know,
21   Epstein the amount they were given.                   21   in taxicabs to and from the house anywhere?
22          MR. CRITTON: Form.                             22          MR. CRITTON: Form.
23          THE WITNESS: Well, I have to give this         23          THE WITNESS: I don't think so.
24       report to the comptroller in New York to          24   BY MR. EDWARDS:
25       keep track of the cash. I never talk to Mr.       25      Q. Do you remember whether it was Yellow Cab

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 1   Cab Company?                                           1       A. Nadia was the number one girlfriend for
 2       A. West Palm Beach Taxi. No, it's not              2   Mr. Epstein. Very sweet girl, and she was always
 3   Yellow. Could be Yellow, but I don't know.             3   -- she would come over to the house but different
 4       Q. Would Mr. Epstein have the names or the         4   girls with her all the time.
 5   list?                                                  5       Q. Okay. But Nadia, that's somebody who
 6       A. Probably.                                       6   lives in New York?
 7          MR. CRITTON: Form.                              7       A. Nadia, I believe, yes, her address is in
 8   BY MR. EDWARDS:                                        8   New York.
 9       Q. Anybody else?                                   9       Q. So how often would she stay at 358 El
10       A. Sarah.                                         10   Brillo?
11       Q. Sarah would have?                              11       A. Very often.
12       A. Yes.                                           12       Q. Usually every time when Mr. Epstein was
13       Q. In addition to Mr. Epstein obviously           13   there?
14   knowing who's coming to and from the house, would     14       A. Yes.
15   Sarah also be familiar with the names of the girls    15       Q. And she would for the most time fly on
16   and who they were?                                    16   the plane with Mr. Epstein?
17       A. Yes.                                           17       A. Yes.
18       Q. In addition to Sarah and Mr. Epstein           18       Q. And it would be her and Mr. Epstein and
19   would Ghislaine Maxwell be familiar with the names    19   oftentimes some other girls?
20   of some of these girls?                               20       A. Exactly.
21          MR. CRITTON: Form.                             21       Q. Where some points I think earlier when
22          THE WITNESS: Yes.                              22   Mr. Mermelstein was asking you questions where
23   BY MR. EDWARDS:                                       23   there was some confusion was we're talking about
24       Q. Are these names kept in a database in a        24   two different sets of girls, the girls that would
25   computer system?                                      25   come over and be labelled masseuses from the Palm

                                                Page 239                                                   Page 241
 1      A. Could be.                                        1   Beach area, and the girls that would fly on the
 2         MR. CRITTON: I'm sorry, did you say              2   plane with Mr. Epstein and Ms. Marcenacova.
 3       could be?                                          3           So, what I'm asking you is what, if any,
 4         THE WITNESS: Yeah.                               4   involvement did Nadia Marcenacova have with the
 5         MR. CRITTON: Move to strike as                   5   girls that would arrive and be labeled as
 6       speculation.                                       6   masseuses behind closed doors with Mr. Epstein?
 7   BY MR. EDWARDS:                                        7           MR. CRITTON: Form.
 8      Q. When you say could be, why do you say            8           THE WITNESS: He was the second -- the
 9   that?                                                  9        first role was Sarah and she was always --
10      A. Because there were too many and they were       10        Nadia is a very shy person so she will be in
11   very organized and there is nothing you write on a    11        the background.
12   piece of paper.                                       12   BY MR. EDWARDS:
13      Q. When you say they were very organized,          13      Q. Did you ever know of Nadia Marcenacova to
14   are we talking --                                     14   engage in -- to be in the room with Mr. Epstein
15      A. Mr. Epstein and Sarah.                          15   while any of these young girls were up there?
16      Q. Anybody else beside Mr. Epstein and             16           MR. CRITTON: Form.
17   Sarah, I guess beside Sarah that would do the         17           THE WITNESS: Yeah.
18   scheduling to coordinate the times these girls        18   BY MR. EPSTEIN:
19   would come to the house?                              19      Q. How often do you remember Nadia and Mr.
20      A. I'm sorry, anybody else you say?                20   Epstein being in the room with any of these young
21      Q. Right, aside from Sarah.                        21   girls?
22      A. No, no.                                         22      A. I would say most of the time.
23      Q. And do you know what role, if any, Nadia        23      Q. Nadia would go up there too?
24   Marcenacova ever played in any of what would go on    24      A. Yeah.
25   behind the bedroom door with Mr. Epstein?             25      Q. Did you ever believe that Nadia was

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                                                Page 242                                                   Page 244
 1   engaging in sex acts with these young girls?           1   page 72, Rodriguez stated the amount of girls that
 2          MR. CRITTON: Form.                              2   came to the house was approximately 15.
 3          THE WITNESS: No, I don't know.                  3           That's the estimate that you gave back --
 4   BY MR. EDWARDS:                                        4      A. All the girls that I saw coming in and
 5      Q. No one ever told you that?                       5   out.
 6      A. No.                                              6      Q. Well, when I read this, you can tell me
 7      Q. Well, since you've been keeping up with          7   what it actually means, when I read this I
 8   what's been written in the newspapers, at some         8   interpreted that as because they were talking
 9   point in time you've read that Nadia Marcenacova       9   about masseuses I interpreted that as the number
10   joined in some of these sex acts with some of         10   of girls of the Palm Beach area that came over and
11   these girls. Right?                                   11   you labeled masseuses. Is that correct?
12          MR. CRITTON: Form.                             12           MR. CRITTON: Form.
13          THE WITNESS: I believe so.                     13           THE WITNESS: Yes.
14   BY MR. EDWARDS:                                       14   BY MR. EDWARDS:
15      Q. I'm not the first person telling you            15      Q. Okay. Could you name -- I mean, I know
16   that?                                                 16   that we've named T. and C., could you name any of
17      A. No, no, no, I read it in the newspaper.         17   the other --
18          MR. CRITTON: He read your press release.       18      A. C. comes all the time, you know, I
19          MR. EDWARDS: Long before I ever had            19   remember her.
20        anything to do with this case.                   20      Q. Okay. No other names pop out though?
21   BY MR. EDWARDS:                                       21      A. To be honest with you, no.
22      Q. Were you surprised when you read that?          22      Q. A.?
23          MR. CRITTON: Form.                             23      A. Yeah, because I remember because the car.
24          THE WITNESS: No.                               24      Q. All right. It goes on to say, when asked
25   BY MR. EDWARDS:                                       25   to identify these girls, so somebody else asked

                                                Page 243                                                   Page 245
 1      Q. Were you surprised when the story started        1   you the same question I just did, Rodriguez stated
 2   coming out that these girls that were coming over      2   he could not at the moment but knew he wrote their
 3   to the house were under the age of 18 and Mr.          3   names down on a journal he kept during his employ
 4   Epstein was engaging in sex acts with them?            4   with Mr. Epstein. Is that true?
 5           MR. CRITTON: Form.                             5      A. Yes.
 6           THE WITNESS: No.                               6          MR. CRITTON: Form.
 7   BY MR. EDWARDS:                                        7   BY MR. EDWARDS:
 8      Q. When was the first time that you knew for        8      Q. Did you ever find that journal?
 9   sure 100 percent that -- well, let me say it this      9      A. Probably has some pages at home.
10   way.                                                  10      Q. Because later on it seems like you met up
11           When was the first time that you read         11   with the police officer and produced a green
12   that information?                                     12   folder that contained documents, but that's not
13      A. Underage?                                       13   the same thing as the journal. Right?
14      Q. Yes.                                            14      A. No, this is my writings.
15      A. When this scandal broke out when the Palm       15      Q. Okay. So if we want to obtain that
16   Beach Police Department --                            16   journal from you what's the best way to go about
17      Q. Contacted you?                                  17   getting it?
18      A. Yeah.                                           18      A. I probably have to look in my house.
19           MR. CRITTON: Why don't you let him            19      Q. Okay. Well, it looks like we're going to
20        finish his answer instead of suggesting or       20   come back for a second part of this, so by next
21        giving him the answer.                           21   time maybe you could find it. Right?
22           THE WITNESS: The West Palm Beach Police       22      A. Okay.
23        Department got involved.                         23      Q. All right. Mr. Mermelstein asked you if
24   BY MR. EDWARDS:                                       24   anybody had contacted you about this case that was
25      Q. Skipping to the second paragraph of             25   either an -- that was an investigator with Mr.

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 1   Epstein. Right?                                        1   Right?
 2       A. Yes.                                            2      A. Yeah, exactly, we talked before, yes.
 3       Q. And the first thing that I wrote was that       3      Q. So this is before the subpoena --
 4   two investigators met you for a couple of hours at     4      A. Yes, yes.
 5   Don Shula's. Is that right?                            5      Q. And you called him and said the FBI is
 6       A. Yes.                                            6   wanting to talk to me, what should I do?
 7       Q. How did that whole meeting come together,       7      A. Yeah. He told me, you know, tell them
 8   did they call you?                                     8   the truth. And so actually he didn't call me back
 9       A. Well, they came to my house and then we         9   but he know the FBI sat down with me in the
10   agreed for a more detailed meeting, and halfway       10   morning in Green's Pharmacy in Palm Beach.
11   through -- I was in the area something he said I      11      Q. Where?
12   can meet you there, so he suggest Don Shula Hotel.    12      A. In Green's Pharmacy, it's in front of the
13       Q. How long did you talk with them at your        13   church.
14   house?                                                14      Q. How long did you talk to the FBI?
15       A. Probably an hour or two.                       15      A. From 8 to 12, more or less.
16       Q. So there was an hour or two at your            16      Q. So another four hour talk?
17   house?                                                17      A. More or less, yes. It was the same thing
18       A. Yes.                                           18   as the Palm Beach Police Department but they told
19       Q. And then they decided you weren't              19   me this is a new investigation because the same
20   finished talking with them yet and they talked        20   questions that Palm Beach Police Department ask me
21   with you two more hours at Don Shula's?               21   they start with the same thing, what was going on,
22       A. Yes.                                           22   this and that, and so -- but in a different -- in
23       Q. So you spent up to four hours with these       23   a different character they ask me the same
24   investigators for Mr. Epstein?                        24   questions but they went on and on and on.
25          MR. CRITTON: Form.                             25      Q. Okay. When did you have your sit down

                                                Page 247                                                   Page 249
 1          THE WITNESS: Yes.                               1   meeting with Mr. Critton?
 2   BY MR. EDWARDS:                                        2       A. In his office.
 3      Q. And I know that you told us a couple of          3       Q. When?
 4   things, they wanted to know what you knew, but did     4       A. Oh when? Last week.
 5   they suggest a way for you to testify to help Mr.      5       Q. Last week?
 6   Epstein?                                               6       A. Or I believe two weeks ago, something
 7          MR. CRITTON: Form, asked and answered.          7   like that, before this.
 8          THE WITNESS: The way the meeting went is        8       Q. So you received the subpoena for your
 9       he took notes and asked me questions how do        9   deposition that was scheduled for last week --
10       you know, he asked me about -- it's like I'm      10       A. Exactly.
11       going to a job, what do you know about this,      11       Q. -- but you had car problems. And you
12       running this, who is this person, so it was       12   called Jack Goldberger again?
13       like questions and answers, questions and         13       A. Yeah. And he told me he was out of town,
14       answers.                                          14   and then one guy came to my house -- actually, one
15   BY MR. EDWARDS:                                       15   of the securities from Epstein.
16      Q. Okay.                                           16       Q. A security guard for Epstein?
17      A. And that was it, you know, but mostly the       17       A. No, security expert.
18   questions from their side.                            18       Q. So an investigator?
19      Q. Okay. And then the next contact that you        19       A. An investigator, sorry. And he said get
20   had was with Jack Goldberger?                         20   in touch with Mr. Critton.
21      A. Yeah.                                           21       Q. Do you remember who that is?
22      Q. And you called Jack Goldberger --               22       A. I have his card at home.
23      A. Yeah, because the subpoena.                     23       Q. Do you remember what the card looks like?
24      Q. Okay. Well, the first time you call Jack        24       A. It's a yellow card, security or
25   Goldberger had something to do with the FBI.          25   investigation or something.

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 1       Q. Would you know the name if I said it?            1       A. We discuss -- he asked me a lot of
 2       A. Yeah.                                            2   questions, obviously he didn't know a lot of
 3       Q. Bill Riley?                                      3   things about the case, and I told him who I was,
 4       A. Yes.                                             4   what I did in the house.
 5       Q. Okay. Have you ever spoken with an               5       Q. He told you he didn't know a lot about
 6   investigator Paul Lavery?                               6   the case?
 7       A. Could be, I'm not sure.                          7       A. No, no, no. He asked me questions about
 8       Q. Okay. So Bill Riley came by your house           8   so I got the feeling that Mr. Critton didn't know
 9   personally?                                             9   as much as other lawyers.
10       A. Yes.                                            10       Q. Okay. Did you tell him what you told us
11       Q. And how long did you meet with him?             11   here today?
12       A. Five minutes. He gave me his card, he           12       A. No. He asked me tell the truth, you
13   gave me Mr. Critton telephone number, he said          13   know, just go over there, you know, he advise me
14   don't talk to Mr. Goldberger.                          14   like you're on your own, Alfredo, just tell the
15       Q. Did he tell you why you should call Mr.         15   truth, you know. He didn't give me any advice.
16   Critton?                                               16          He paid for my gas. Thank you very much.
17       A. No. I assume that he was not on the case        17   And that's it, you know.
18   anymore, but I didn't ask questions but --             18          The main thing I wanted to have a lawyer
19       Q. You assumed that who wasn't on the case         19   on my side but then I keep going to the first
20   anymore?                                               20   instance when my wife told me you don't need a
21       A. Mr. Goldberger, Jack Goldberger.                21   lawyer, and I'm here today to say that, I'm here,
22       Q. Okay. But what I'm asking you, I guess,         22   I'm speaking the truth.
23   is did this investigator, Mr. Riley, tell you why      23       Q. Okay. You mentioned there were five or
24   it was important for you to call any attorney          24   six computers in the house?
25   that's associated with Mr. Epstein, why was that       25       A. Yes.

                                                 Page 251                                                   Page 253
 1   important?                                              1       Q. And do you know what happened to the
 2       A. He didn't say that. He didn't say that.          2   computers?
 3   He just said that get in touch and that's it.           3       A. No.
 4   Because I said what am I going to do, because I         4       Q. You don't know where they are?
 5   said I thought this was -- you know, but I didn't       5       A. (Shakes head.)
 6   know I was going to be subpoena. And like I said        6       Q. Nobody has told you?
 7   in the beginning of this deposition, I don't have       7       A. No.
 8   an attorney so I don't have money, first of all,        8       Q. You also mentioned there were photographs
 9   to pay for an attorney. First of all, I don't           9   in the house?
10   think I'm in trouble, but every time you hear high     10       A. In the computers in the files.
11   powered lawyers you feel intimidated so I said,        11       Q. Okay. But there were also still
12   listen, what am I going to do, and that was my         12   photographs around the house?
13   basic question.                                        13       A. Oh yes, yes.
14       Q. Okay. So then you spoke with somebody at        14       Q. Some of the girls have made the
15   Mr. Critton's office and arranged to meet with him     15   allegation that there were photographs of them
16   personally?                                            16   nude in the house. Do you remember seeing that?
17       A. Yes. I called his secretary and we sit          17       A. In the closet, yeah, in a mosaic. It was
18   down with his assistant, the three of us.              18   one frame with probably 15 pictures, small
19       Q. So it was Mr. Critton, yourself, and            19   pictures.
20   somebody else?                                         20          MR. CRITTON: Repeat the question back.
21       A. Yes.                                            21   BY MR. EDWARDS:
22       Q. And you sat down for another two hour           22       Q. Okay. Some of the girls that have
23   period of time?                                        23   lawsuits against Mr. Epstein with allegations
24       A. Yes.                                            24   similar to the allegations that C. and T. have
25       Q. And what did you go over in that meeting?       25   made, which is that they were underage when Mr.

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 1   Epstein was engaging in sex or sex acts with them,      1   those photos?
 2   also say that they have seen pictures of                2      A. One was a Columbian lady and one was --
 3   themselves in frames in Mr. Epstein's house naked.      3   one from Spain, beautiful girls, that, you know,
 4       A. In his closet.                                   4   but they were not -- not the ones the girls we're
 5       Q. Other than the picture -- and these are          5   talking about here.
 6   girls who are making the allegation that they were      6      Q. Okay. When you were hired were you hired
 7   underage and there were pictures of them nude in        7   by Mr. Epstein or were you hired by one of his
 8   his house.                                              8   companies?
 9       A. I didn't see pictures of C. there.               9      A. Mrs. Maxwell.
10       Q. I'm not talking about C. I'm saying             10      Q. So it was -- was it a company owned by
11   other girls that were underage or have made            11   Mrs. Maxwell?
12   allegations that they have seen pictures of            12      A. Not directly. My paycheck was Jeffrey
13   themselves in Mr. Epstein's house.                     13   Epstein. I mean, I was hired by Mr. Epstein
14          MR. CRITTON: Form.                              14   but --
15   BY MR. EDWARDS:                                        15      Q. Okay. I just understood you to say you
16       Q. Where would those photos have been, or          16   were hired by Mrs. Maxwell.
17   did you see them?                                      17      A. Exactly, she told me you're hired but
18       A. Yes, I see them inside his closet.              18   you're going to get paid by Mr. Epstein.
19       Q. It's one mosaic?                                19      Q. And he wrote you personal checks?
20       A. Yes, one mosaic.                                20      A. No. The checks that came from New York,
21       Q. Other than there did you see any of these       21   Jeffrey Epstein Companies.
22   pictures of young girls nude anywhere else in the      22      Q. It was out of his company?
23   house?                                                 23      A. Yes.
24          MR. CRITTON: Form.                              24      Q. Which company; do you know?
25          THE WITNESS: Nude with an art, yes, but         25      A. 456 Madison Avenue. It's next to the New

                                                 Page 255                                                   Page 257
 1        not pornography. You know, I saw them, they        1   York Palace now.
 2        were all over the place. For instance, in          2      Q. The name of the company is 456 Madison
 3        the back only showing part of the rear, you        3   Avenue?
 4        know.                                              4      A. No, no, it's -- I got it on the tip of my
 5   BY MR. EDWARDS:                                         5   tongue. Something like Caribbean or island
 6      Q. But the photographs that I'm concerned            6   something investments, something like that.
 7   with --                                                 7           If you call Lesley, her secretary, she
 8      A. Not frontal pictures.                             8   will tell you exactly. Because they answer the
 9      Q. The photographs I'm concerned with are            9   phone like that, you know.
10   photographs of these West Palm Beach girls that        10      Q. What's Lesley's number?
11   were labeled as masseuses that are being displayed     11      A. Lesley, I don't have it. I can find out
12   around the house anywhere in some state of             12   for you.
13   undress.                                               13      Q. Do you think you could get Lesley's
14           MR. CRITTON: Form.                             14   number for us?
15           THE WITNESS: No, I don't remember that.        15      A. Yes. It's in Manhattan.
16   BY MR. EDWARDS:                                        16      Q. Does she work for this company in
17      Q. Okay. The only girls that -- the only            17   Manhattan?
18   photograph that you remember of young girls nude       18           MR. CRITTON: Form.
19   was in a mosaic that is in his closet?                 19           THE WITNESS: Manhattan, yes.
20      A. Yes.                                             20   BY MR. EDWARDS:
21      Q. Nothing that you remember that was on            21      Q. If the check was issued did Jeffrey
22   display?                                               22   Epstein actually sign it himself?
23      A. Downstairs, yes, but they were not these         23      A. No, it came through the comptroller.
24   girls, they were somebody else.                        24      Q. Who was the comptroller?
25      Q. Okay. Do you know who was -- who were in         25      A. Bella was the assistant comptroller and

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 1   there was somebody else. It was so long ago.           1   you also have the name of the company at the house
 2      Q. And the money that you would hold on you         2   which is associated with this person Bella as well
 3   in cash, that's money that came out --                 3   that financed the account that you withdrew money
 4      A. Colonial Bank in 4th Avenue.                     4   from to pay the girls?
 5      Q. And is that Colonial Bank account, is            5      A. Yeah.
 6   that registered to Jeffrey Epstein personally          6      Q. Okay. Do you know what account Sarah
 7   or to his company?                                     7   Kellen was paid out of?
 8      A. No, Ghislaine Maxwell.                           8      A. No.
 9      Q. To Ghislaine Maxwell.                            9          MR. EDWARDS: Somebody else want to go.
10          MR. CRITTON: Did you say it's her              10        I mean, we're obviously not going to finish
11        account?                                         11        so I don't want to take up the rest.
12          THE WITNESS: Well, I was the secondary,        12          MR. LANGINO: I only have about ten
13        you know, because her name was there, but I      13        minutes of question.
14        know it was Jeffrey Epstein's money.             14                   EXAMINATION
15   BY MR. EDWARDS:                                       15   BY MR. LANGINO:
16      Q. Okay. What I'm holding is what's already        16      Q. My name is Adam Langino from the Law Firm
17   been attached to this as Exhibit 2. I'll show you     17   of Leopold Kuvin and we represent B.B. in this
18   again, can you tell me what bank that is?             18   case.
19      A. Yeah, this is Colonial Bank in Palm             19          So you've obviously been here for about
20   Beach.                                                20   six hours so I don't have to reinvent the wheel,
21      Q. And is --                                       21   so I'm going to ask you a couple of questions that
22      A. His name is here.                               22   came to mind.
23      Q. Right. The three names on the account           23          Any of the individuals that provided
24   are Jeffrey Epstein, Ghislaine Maxwell, and           24   massage to Mr. Epstein, were they provided any
25   Alfredo Rodriguez.                                    25   drugs?

                                                Page 259                                                    Page 261
 1      A. Yes.                                             1       A. No, I don't think so.
 2      Q. Is this a company account or a personal          2       Q. Were they provided any alcohol?
 3   account?                                               3       A. No, there was no alcohol in the house.
 4      A. I think it's a personal account.                 4       Q. When they arrived did any of them appear
 5      Q. And do you know what account funds this          5   to be under the influence of drugs?
 6   account?                                               6       A. There was one girl who came and looked
 7      A. The one in New York.                             7   like she was shooting heroin.
 8      Q. The same account that you are paid from          8       Q. Can you describe what that girl looked
 9   in New York --                                         9   like?
10      A. No, no, it's not the same.                      10       A. Very skinny with under mark on her eyes I
11      Q. Different account in New York?                  11   saw a couple of times.
12      A. Yes.                                            12       Q. Do you remember which month that girl
13      Q. All right. Which account in New York            13   came to the house?
14   funds the account that is Exhibit 2?                  14       A. That was December or January of 2005.
15      A. The one Bella knows, she's the assistant        15       Q. Do you know why she was at the house?
16   comptroller.                                          16       A. She asked me when I met her, she said I'm
17      Q. And do you know Bella's number?                 17   looking for a job, I want to help doing the
18      A. I can find out for you.                         18   laundry, so I related this message to Sarah and
19      Q. Do you know the name of that company?           19   Sarah told me I'll take care of her from here, but
20      A. I have in my house.                             20   I don't know.
21      Q. You have the name of that company?              21       Q. Do you know if she gave a massage to Mr.
22      A. Yes.                                            22   Epstein?
23      Q. All right. So you have the name of the          23       A. No, I don't know.
24   company or either you can get me Lesley's number      24       Q. Do you remember any individual who came
25   who has the name of the company that paid you, and    25   to the house to give Mr. Epstein a massage was

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 1   under the influence of alcohol?                        1      Q. Where was that inventory?
 2      A. No, I don't know.                                2      A. It was kept in an armoire in the master
 3      Q. When Mr. Epstein's investigators first           3   bedroom -- master bath.
 4   contacted you, did you want to speak with them?        4      Q. Was that massager that was always found
 5      A. If I wanted to talk to the investigators?        5   after these massages kept in the same armoire with
 6      Q. Did you want to speak with them?                 6   the sex toys?
 7      A. Yes, because I was concerned if I was in         7      A. No, it's a different armoire, different
 8   trouble with Mr. Epstein or I was in trouble with      8   furniture.
 9   anything.                                              9      Q. Were any other massagers kept in that
10      Q. In December 2005, early January 2006 when       10   armoire?
11   you cooperated with the police, how come you          11      A. Yes.
12   cooperated with the police?                           12      Q. Can you describe them?
13      A. They give me an introduction of what was        13      A. Two, two big ones, the two rubber tips,
14   going on, and the investigation, at that time         14   they were kept in the bathroom.
15   nobody knew, the press, nobody, and they told me      15      Q. And where was this armoire in relation to
16   they needed my cooperation and I -- they asked me     16   the one that held the sex toys?
17   we like to know your honest answers, and that's       17      A. The one with the sex toys was in his
18   what I did.                                           18   bedroom in front of his table, in front of his
19      Q. How did you feel about cooperating?             19   bed, and the other ones were inside the bathroom.
20      A. I feel good.                                    20      Q. Did you ever cleanup female clothes after
21      Q. You stated --                                   21   a massage?
22      A. Sorry, go ahead.                                22      A. No.
23      Q. Did you have anything else to add?              23      Q. Did you ever cleanup any towels after a
24      A. No, I hope, I thought I did the right           24   massage?
25   thing.                                                25      A. No.

                                                Page 263                                                   Page 265
 1       Q. You stated that you picked up I guess           1      Q. Did you ever inspect any blood on any
 2   some of the oils and creams that were left over        2   type of item in the massage room after a massage?
 3   after the massage.                                     3      A. No.
 4       A. Yes.                                            4      Q. I know we spoke about pictures, do you
 5       Q. Do you remember the names of any of those       5   know if Mr. Epstein kept any videotapes of any of
 6   products?                                              6   these massages?
 7       A. Names of those products. Spa is one of          7      A. No.
 8   them, like the place spa.                              8      Q. Do you know if he has any videotape of
 9       Q. Any other names?                                9   any of these masseuses?
10       A. And it's a big tube like this, no, I           10      A. No, I don't know.
11   don't remember right now.                             11      Q. Do you hold any significant feeling
12       Q. Do you know if any of those massages or        12   regarding Mr. Epstein finishing his jail sentence
13   oils had any kind of a sexual connotation to the      13   now that he's free?
14   name or the product?                                  14          MR. CRITTON: Form.
15          MR. CRITTON: Form.                             15          THE WITNESS: If he was sentenced for
16          THE WITNESS: No.                               16       solicitation of prostitution and he did
17   BY MR. LANGINO:                                       17       leave before that, you know, I think it's
18       Q. Do you know if any masseuse that came to       18       not -- I don't think he has been doing what
19   Epstein's home ever provided massage to someone       19       he was supposed to do, you know, the full
20   else besides Mr. Epstein?                             20       18 months, and to be monitored after that
21       A. No, I don't know.                              21       and what have you. But I don't think --
22       Q. Before you talked about a massager that        22       answering your question, I don't think it's
23   was always present after a massage and you stated     23       been done justice.
24   that you placed that massager back into inventory.    24          MR. CRITTON: Let me move to strike as
25       A. Yes.                                           25       irrelevant to anything.

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                                               Page 266                                                                  Page 268
 1   BY MR. LANGINO:                                       1     THE STATE OF FLORIDA,                   )
 2       Q. Are you currently in fear of Mr. Epstein?      2     COUNTY OF DADE.                     )
 3       A. Not at this particular moment but it's         3
 4   something I have to be worry about, yes.              4
 5       Q. Are you personally afraid of criminal          5            I, the undersigned authority, certify
 6   prosecution?                                          6     that ALFREDO RODRIGUEZ personally appeared before
 7       A. No.                                            7     me on the 29th day of July, 2009 and was duly
 8       Q. Do you believe that you did anything           8     sworn.
 9   illegal?                                              9
10       A. Illegal, no.                                  10            WITNESS my hand and official seal this
                                                          11     31st day of July, 2009.
11           MR. LANGINO: I have no further
                                                          12
12        questions. Thank you.
                                                          13
13           MR. CRITTON: We're going to break in
                                                          14
14        about 15 minutes. Do you want to start and      15            ______________________________________
15        go for 15 minutes or do you want to -- it's                     MICHELLE PAYNE, Court Reporter
16        up to you.                                      16              Notary Public - State of Florida
17           MS. EZELL: I'll start.                       17
18           MR. WILLITS: When are we going to quit,      18
19        folks?                                          19
20           MR. CRITTON: In 15 minutes.                  20
21           THE VIDEOGRAPHER: Might as well change       21
22        tapes.                                          22
23           MR. EDWARDS: Bob has to get back so          23
24        we've agreed we're going to come back some      24
25        other time.                                     25

                                               Page 267                                                                  Page 269
 1         MR. WILLITS: Why don't we just stop now?       1              CERTIFICATE
                                                          2
 2         MS. EZELL: Okay.                                    The State Of Florida,   )
 3         MR. EDWARDS: Rather than you start.            3    County Of Dade.         )
                                                          4
 4         MS. EZELL: Yeah, I won't get very far.         5             I, MICHELLE PAYNE, Court Reporter and
 5         MR. EDWARDS: Sorry to do this with you,             Notary Public in and for the State of Florida at
                                                          6    large, do hereby certify that I was authorized to
 6       we didn't finish.                                     and did stenographically report the videotaped
 7         MR. CRITTON: So we're stopped?                 7    deposition of ALFREDO RODRIGUEZ; that a review of
                                                               the transcript was requested; and that the
 8         MR. EDWARDS: We're stopped.                    8    foregoing pages, numbered from 1 to 269,
 9         THE VIDEOGRAPHER: Off the record.                   inclusive, are a true and correct transcription of
                                                           9   my stenographic notes of said deposition.
10         (Thereupon, the videotaped deposition was      10        I further certify that said videotaped
11   adjourned at 5:30 p.m.)                                   deposition was taken at the time and place
                                                          11   hereinabove set forth and that the taking of said
12                   - - -                                     videotaped deposition was commenced and completed
13                                                        12   as hereinabove set out.
                                                          13            I further certify that I am not an
14                                                             attorney or counsel of any of the parties, nor am
15                                                        14   I a relative or employee of any attorney or
                                                               counsel of party connected with the action, nor am
16                                                        15   I financially interested in the action.
17                                                        16            The foregoing certification of this
                                                               transcript does not apply to any reproduction of
18                                                        17   the same by any means unless under the direct
19                                                             control and/or direction of the certifying
                                                          18   reporter.
20                                                        19            DATED this 31st day of July, 2009.
21                                                        20
                                                          21        _____________________________________
22                                                                    MICHELLE PAYNE, Court Reporter
23                                                        22
                                                          23
24                                                        24
25                                                        25


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